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  1   Clement S. Roberts (SBN 209203)
  2   croberts@orrick.com
      ORRICK HERRINGTON & SUTCLIFFE LLP
  3   405 Howard Street
  4   San Francisco, CA 94105
      Tel: (415) 773-5700 -- Fax: (415) 773-5759
  5
  6   Alyssa Caridis (SBN 260103)
      acaridis@orrick.com
  7   ORRICK HERRINGTON & SUTCLIFFE LLP
  8   777 South Figueroa Street, Suite 3200
      Los Angeles, CA 90017
  9   Tel: (213) 629-2020 -- Fax: (213) 612-2499
 10
      George I. Lee (pro hac vice forthcoming)
 11   lee@ls3ip.com
 12   Sean M. Sullivan (pro hac vice forthcoming)
      sullivan@ls3ip.com
 13   Rory P. Shea (pro hac vice forthcoming)
 14   shea@ls3ip.com
      J. Dan Smith (pro hac vice forthcoming)
 15   smith@ls3ip.com
 16   LEE SULLIVAN SHEA & SMITH LLP
      656 W Randolph St, Floor 5W
 17   Chicago, IL 60661
 18   Tel: (312) 754-0002 -- Fax: (312) 754-0003
 19   Attorneys for Plaintiff Sonos, Inc.
 20
                         UNITED STATES DISTRICT COURT
 21                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 22
       SONOS, INC.,                                 Case No. 2:20-cv-00169-JAK
 23                                                 (DFMx)
                    Plaintiff,
 24
             v.                                     FIRST AMENDED
 25                                                 COMPLAINT FOR PATENT
 26    GOOGLE LLC,                                  INFRINGEMENT

 27                 Defendant.                      JURY TRIAL DEMANDED
 28
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  1       FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT
  2         1.     Plaintiff Sonos, Inc. (“Sonos” or “Plaintiff”) hereby asserts the
  3   following claims for patent infringement of United States Patent Nos. 7,571,014,
  4   8,588,949, 9,195,258, 9,219,959, 10,031,715, 10,209,953, 10,439,896, and
  5   11,080,001 (“patents-in-suit”; attached hereto as Exhibits 1-5 and 108-110)
  6   against Defendant Google LLC (“Google” or “Defendant”), and alleges as
  7   follows:
  8                                   INTRODUCTION
  9         2.     In the early 2000s, Sonos pioneered what is known as wireless multi-
 10   room audio, bringing its first commercial products to market in 2005. In
 11   recognition of its wide-ranging innovations, the U.S. Patent & Trademark Office
 12   has granted Sonos more than 1,600 patents, including the patents-in-suit. The
 13   innovations captured by these patents cover many fundamental aspects of wireless
 14   multi-room audio devices and systems, including, for example, how to set up a
 15   playback device on a wireless local area network, how to manage and control
 16   groups of playback devices (e.g., how to adjust group volume of playback devices
 17   and how to pair playback devices together for stereo sound), how to synchronize
 18   the play back of audio within groups of playback devices, and how to designate
 19   different roles or responsibilities to the members of a group of playback devices.
 20         3.     Commercial success did not come easy for Sonos as its vision was in
 21   many ways ahead of its time. But year by year, consumers – and the entire
 22   industry – came to appreciate that wireless multi-room audio could not only work,
 23   but could become an essential part of the listening experience. Success required
 24   staying true to Sonos’s disruptive vision, which in turn required enormous
 25   investments in research and development. Indeed, as the pioneer in wireless
 26   multi-room audio, Sonos’s research and development resulted in commercial
 27   products that embodied technology and user experiences that made wireless
 28   multi-room audio successful. While Sonos demonstrated its vision to the market,

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  1   other would-be competitors sat back letting Sonos take the risk and expense with
  2   demonstrating to the market the value of Sonos’s vision. Only after Sonos had
  3   charted this course did competitors, like Google, come out and copy Sonos’s
  4   products and its patented technology.
  5         4.     To this day, Sonos remains focused on innovations that further
  6   enhance the listening experience. Sonos invests heavily in research and
  7   development and, as a result, frequently invents new devices and systems with
  8   new technologies, enhanced functionality, improved sound quality, and an
  9   enriched user experience.
 10         5.     Recognizing Sonos’s success, many competitors have tried to
 11   emulate Sonos’s products, but history has proven that this is not possible without
 12   utilizing Sonos’s patented technologies. For example, as early as 2011, Google
 13   engineers and employees were familiar with Sonos and its products and
 14   recognized Sonos’s commercial success. Just a few years later, when Google set
 15   its sights on developing a suite of smart home products, it copied Sonos’s
 16   products and Sonos’s patented technology. Since 2015, Google’s
 17   misappropriation of Sonos’s patented technology has only proliferated, as Google
 18   has expanded its wireless multi-room audio system to more than a dozen different
 19   infringing products, including, for example, Chromecast, Chromecast Ultra,
 20   Chromecast Audio, Chromecast with Google TV, Google TV Streamer (4K),
 21   Pixel Tablet with the Charging Speaker Dock, Home Mini, Nest Mini, Home,
 22   Home Max, Home Hub, Nest Hub, Nest Hub Max, Nest Audio, and Nest Wifi
 23   Point (individually or collectively, “Google Audio Player(s)” or “Cast-enabled
 24   media player(s)”), all of which can be controlled by, for example, the YouTube
 25   Music app, the Google Play Music app, and the Google Home app (individually
 26   or collectively, “Google App(s)”).
 27         6.     Worse still, Google’s willful infringement of Sonos’s patents has
 28   persisted to this day despite the fact that Sonos warned Google of its infringement

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  1   on at least ten separate occasions dating back to 2016, and initiated this suit, as
  2   well as a parallel suit against Google before International Trade Commission
  3   (ITC) in 2020, the latter of which resulted in a finding that Google infringed all
  4   five of the Sonos patents asserted in the ITC (the same five patents originally
  5   asserted in this case).
  6         7.     Instead of halting its infringing activities after being adjudged an
  7   infringer, Google made changes to its products that are insufficient to avoid
  8   infringement. That is, due to the broad scope of Sonos’s patent portfolio,
  9   Google’s revised products continue to infringe several other of Sonos’s patents,
 10   including three patents that Sonos is adding in this First Amended Complaint.1
 11   Indeed, changes by Google to try to avoid particular patents will not avoid
 12   infringement of Sonos’s wider patent portfolio, which Sonos diligently developed
 13   over the past 20 years and which covers numerous fundamental aspects of a
 14   commercially successful wireless multi-room audio system. Sonos’s patent
 15   portfolio originates from the products Sonos introduced in 2005, nearly 10 years
 16   before Google introduced its first wireless multi-room audio products. And as
 17   evidenced by the ITC rulings, Sonos’s patented technology is still used today in
 18   Sonos’s products as well as being misappropriated by others like Google.
 19         8.     The harm caused by Google’s infringement has been profoundly
 20   compounded by Google’s business strategy of using its multi-room audio
 21   products to vacuum up invaluable consumer data from users to further entrench
 22   the Google platform among its users and to ultimately fuel its dominant
 23   advertising and search platforms. In furtherance of this strategy, Google has not
 24   merely copied Sonos’s patented technology, it has copied Sonos’s products
 25   themselves while subsidizing the prices of Google’s patent-infringing products to
 26   1
       Notwithstanding the ITC’s findings to contrary, Sonos respectfully submits that
 27   Google’s insubstantial “design-arounds” continue to infringe all five of the Sonos
      patents asserted in that investigation either literally or under the doctrine of
 28   equivalents and Sonos reserves the right to pursue such infringement in this case.
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  1   flood the market. These actions have caused and continue to cause significant
  2   damage to Sonos as Sonos has been forced to compete in the marketplace against
  3   its own patented technology being sold by Google at a loss as a part of a broader
  4   strategy to enter every American home.
  5         9.     Sonos has brought this lawsuit to hold Google accountable for its
  6   willful infringement of Sonos’s patent rights.
  7                                SONOS’S INNOVATION
  8         10.    Founded in 2002, Sonos invented what is known today as wireless
  9   multi-room audio. Ex. 6 (2013 NBC News: “If you’re not familiar with Sonos,
 10   this company revolutionized the home audio world a decade ago….”); Ex. 7
 11   (2015 Men’s Journal: “Sonos almost singlehandedly established the stand-alone
 12   wireless home speaker system category….”).
 13         11.     At the time of Sonos’s founding, multi-room audio systems were
 14   dependent on a centralized receiver hard-wired to each individual passive speaker
 15   throughout a home or business. In sharp contrast, Sonos’s system eliminated this
 16   dependency and, instead, relies on intelligent, networked playback devices to
 17   deliver premium sound wirelessly throughout a home or business. While
 18   conquering the challenge of inventing a multi-room wireless audio system was
 19   difficult in its own right, Sonos also built a system that is easy to setup, easy to
 20   use, customizable, readily integrated with other technologies and services, and
 21   effective in delivering outstanding sound quality in any home or business
 22   environment. See, e.g., Ex. 8 (2005 PC Magazine: describing one of Sonos’s first
 23   products as “the iPod of digital audio” for the home and contrasting Sonos with
 24   conventional home audio systems that required “dedicated wiring”).
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  1         12.   An early sketch of Sonos’s wireless multi-room audio architecture is
  2   shown below:
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 14         13.   Sonos launched its first commercial products in 2005 and has since
 15   released a wide variety of wireless multi-room audio products, including, for
 16   example, the Play:1, Play:3, Play:5, One, One SL, Move, Move 2, Roam, Roam
 17   SL, Era 100, Era 300, Playbar, Playbase, Beam, Ray, Sub, Connect, Port,
 18   Connect:Amp, Amp, Five, and Arc. See, e.g., Ex. 9. Sonos’s products can be set
 19   up and controlled by the Sonos app. Id.
 20         14.   A sampling of Sonos’s product lineup is shown below.
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  1         15.    Sonos’s products are consistently hailed as setting the standard for
  2   the industry. See, e.g., Ex. 10 (2018 Digital Trends: “Sonos is the king of
  3   multiroom audio . . . .”); Ex. 11 (2019 What Hi-Fi: “[N]o multi-room offering is
  4   as complete or as pleasurable to live with as Sonos.”).
  5         16.    Sonos’s products are also compatible with many different third-party
  6   music streaming services, and Sonos has entered into partnerships with dozens of
  7   them to integrate their services into the Sonos platform. See, e.g., Ex. 12. For
  8   example, in 2013, Sonos started working closely with Google to integrate the
  9   Google Play Music streaming service, and Google Play Music launched on the
 10   Sonos platform in 2014 (with Google’s YouTube Music service added later). See,
 11   e.g., Ex. 13. As recognized at the time, Sonos’s integration work with Google
 12   was especially “deep” and gave Google a wide aperture through which to view
 13   Sonos’s proprietary technology. Id. (2014 Wired: “Now, Google Play Music will
 14   be available as an option to Sonos owners via the Sonos controller app (iOS,
 15   Android, and web). And, for the first time, the Google Play Music Android app is
 16   getting updated with a button that lets users easily play music from any Sonos
 17   speaker in the house. This is the first time this sort of deep integration has
 18   happened between a third party music service and Sonos.”).
 19         17.    As a pioneer in wireless audio, Sonos has been and continues to be at
 20   the forefront of technological innovation and diligently protects its inventions.
 21   Leading outside organizations have recognized the value of Sonos’s ingenuity.
 22   For example, Sonos earned a spot on the IPO list of “Top 300 Organizations
 23   Granted U.S. Patents” and the IEEE recognized Sonos as having one of “[t]he
 24   technology world’s most valuable patent portfolios.” See Exs. 14, 15. Currently,
 25   Sonos is the owner of more than 1,500 United States patents related to audio
 26   technology. Sonos’s patents cover important aspects of wireless multi-room
 27   audio systems, such as setting up a playback device on a wireless local area
 28   network, managing and controlling groups of playback devices (e.g., adjusting

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  1   group volume of playback devices and pairing playback devices together for
  2   stereo sound), synchronizing playback of audio within groups of playback
  3   devices, and designating roles or responsibilities to the members of a group of
  4   playback devices. These features are covered by the patents-in-suit.
  5         18.    Sonos identifies many of its patents on the “Patents” webpage of
  6   Sonos’s website. See Ex. 16. In addition, Sonos encloses notices of its patents
  7   with its product inserts/manuals, which state that “[o]ur patent-to-product
  8   information can be found here: sonos.com/legal/patents.” See, e.g., Exs. 9, 17.
  9   Sonos also provides a link in the Sonos app to sonos.com/en-us/legal/terms
 10   through which the “Patents” webpage of Sonos’s website can be accessed. See
 11   Ex. 18.
 12                           GOOGLE’S INFRINGEMENT
 13         19.    In 2015, a decade after Sonos’s first product launch, Google released
 14   its “Chromecast Audio” – an audio adapter/dongle that can turn a speaker with an
 15   auxiliary port into a wireless, networked speaker. While the Chromecast Audio
 16   product did not launch with Sonos’s patented multi-room audio functionality,
 17   Google clearly understood the importance of this popular audio feature as it
 18   released a multi-room audio software update only a couple of months after launch.
 19   See Ex. 19 (2015 The Guardian: “Google is also working on multi-room audio
 20   streaming using the Chromecast Audio, but it will not support the popular feature
 21   out of the box.”).
 22         20.    In announcing its multi-room software update, Google explained the
 23   importance of this added functionality:
 24         A couple of months ago we launched Chromecast Audio. . . . Today
 25         we’re starting to add two new features to the latest software update to
 26         elevate your listening experience. . . . Now you can easily fill every
 27         room in your home-bedroom, kitchen, living room, or wherever you
 28         have a Chromecast Audio connected-with synchronous music. Multi-

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  1         room lets you group Chromecast Audio devices together so you can
  2         listen to the same song on multiple speakers.
  3   Ex. 20 (December 2015 Google Chrome Blog).
  4         21.     As observed in a 2015 Variety article entitled “Google’s Chromecast
  5   Audio Adapter Gets Multi-Room Support Similar to Sonos,” Google’s updated
  6   Chromecast Audio was considered a “major” advancement for Google and was
  7   recognized as competing directly with Sonos because of its similar multi-room
  8   capability:
  9         Google’s recently-launched Chromecast Audio adapter is getting a
 10         major feature update this week: Consumers will now be able to group
 11         multiple Chromecast audio adapters to stream their favorite music
 12         simultaneously in more than one room, similar to the multi-room
 13         support available for internet-connected loudspeakers like the ones
 14         made by Sonos.
 15   Ex. 21.
 16         22.     To control the multi-room Chromecast Audio, Google also provided
 17   a Chromecast app with multi-room audio functionality similar to the Sonos app.
 18   As observed in a 2015 article by Pocket-Lint, Google’s multi-room app “can
 19   pretty much do the same thing” as Sonos’s app:
 20         [Chromecast Audio]’s been updated to make it more comparable to
 21         Sonos, a smart speaker system that wirelessly streams all your Hi-Fi
 22         music to any room, or every room. You control your Sonos experience
 23         with one app. Well, thanks to a new software rollout, Chromecast
 24         Audio can pretty much do the same thing.
 25   Ex. 22.
 26         23.     The media comparisons between Google’s Chromecast Audio and
 27   Sonos’s products are a result of the fact that, on information and belief, Google
 28   copied key features from Sonos. These features include, for example, Sonos’s

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  1   patented technology for setting up a playback device on a wireless local area
  2   network, adjusting group volume of playback devices, synchronizing playback of
  3   audio within groups of playback devices, and designating roles or responsibilities
  4   to the members of a group of playback devices.
  5         24.    Moreover, as explained above, Google released the Chromecast
  6   Audio merely two years after partnering with Sonos to integrate Google Play
  7   Music into the Sonos platform. On information and belief, Google exploited the
  8   knowledge of Sonos’s system that it gained from this integration work to develop
  9   its multi-room Chromecast Audio product and infringe Sonos’s patents.
 10         25.    Over the next four years, Google aggressively expanded its line of
 11   multi-room wireless audio products through new product releases and software
 12   updates. On information and belief, with each iteration, Google’s copying of
 13   Sonos’s products and patented technology became even more blatant.
 14         26.    For example, on information and belief, in 2016, a year after Google
 15   launched the Chromecast Audio wireless adapter, Google escalated its copying of
 16   Sonos by releasing the Google Home multi-room audio player (which was
 17   controlled by Google’s rebranded multi-room controller app – the Google Home
 18   app). Unlike the Chromecast Audio, the Google Home added an internal speaker
 19   driver making it an “all-in-one” audio player akin to Sonos’s prior Play:1, Play:3,
 20   and Play:5 products.
 21         27.    As with the Chromecast Audio, the Google Home was recognized as
 22   a direct attack on Sonos. When the Google Home was announced, for example,
 23   The Register observed that “[n]o market is safe from [the] search engine monster”
 24   and that Google was in particular “offering new products to compete with Sonos
 25   in the music streaming market.” See Ex. 23. The Register also further noted the
 26   conspicuous similarity that multiple “Google Homes will work with one another,
 27   allowing music to be spread into different rooms on command - like the very
 28   popular Sonos music system.” Id.

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  1         28.    Like The Register, The Verge also recognized the similarities
  2   between the new infringing Google Home and Sonos’s prior products: “You can
  3   also group multiple Home units together and play music through all of them
  4   simultaneously, similar to how Sonos works.” See Ex. 24.
  5         29.    Again, the media comparisons between Google’s Home and Sonos’s
  6   products reflected a darker truth that, on information and belief, Google had
  7   misappropriated Sonos’s innovations. These innovations include, for example,
  8   Sonos’s patented technology for setting up a playback device on a wireless local
  9   area network, adjusting group volume of playback devices, synchronizing
 10   playback of audio within groups of playback devices, and designating roles or
 11   responsibilities to the members of a group of playback devices. Notably, Google
 12   launched the Google Home product in November 2016 despite Sonos’s prior
 13   warnings of infringement in August and October, as set forth below.
 14         30.    On information and belief, the Google Home proved to be merely
 15   another forerunner to further copying by Google. In 2017, Google released two
 16   additional “all-in-one” wireless multi-room products – the Google Home Max and
 17   the Google Home Mini. Google’s Home Max in particular was seen as a “Sonos
 18   Clone” and a “not-so-subtle copy of the [Sonos] Play:5 speaker . . . .” Ex. 25. As
 19   explained by Gizmodo, “[i]t’s also hard not to see the [Google Home Max] device
 20   as something of a jab at Sonos.” Id.; see also, e.g., Ex. 26 (2017 Android Central:
 21   “You can’t help but look at Google Home Max . . . and come to the conclusion
 22   that Google is sticking its nose where Sonos has been for years.”).
 23         31.    As with Google’s other prior infringing products, on information and
 24   belief, Google also copied Sonos’s patented technology for the Google Home
 25   Max. This patented technology includes, for example, Sonos’s patented
 26   technology for setting up a playback device on a wireless local area network,
 27   adjusting group volume of playback devices, synchronizing playback of audio
 28   within groups of playback devices, and designating roles or responsibilities to the

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  1   members of a group of playback devices. With the Google Home Max, however,
  2   Google copied even more of Sonos’s patented technology than it did with
  3   Google’s previous wireless audio products. For instance, the Google Home Max
  4   also copied Sonos’s patented “pairing” technology, which allows two playback
  5   devices to be paired together for stereo sound.
  6         32.    In contrast to the Google Home Max, which was priced similarly to
  7   Sonos’s comparable products, the Google Home Mini predatorily implemented
  8   Sonos’s valuable patented technology into an all-in-one wireless multi-room
  9   product that Google sells at a subsidized price point or even gives away for free.
 10   Ex. 27 (“At $49, Google Home Mini works on its own or you can have a few
 11   around the house, giving you the power of Google anywhere in your home.”); Ex.
 12   28 (“Google partnered with Spotify to offer Home Minis as a free promotion for
 13   Spotify Premium customers. Spotify’s premium userbase is nearly 90 million, so
 14   if even a fraction of users take the free offer, a massive influx of Google smart
 15   speakers will enter the market.”). As is well understood, Google uses its Home
 16   Mini as a “loss leader” to generate additional revenue from other revenue streams
 17   that are bolstered and/or enabled by the sale of Google’s wireless multi-room
 18   audio products. See, e.g., Ex. 28 (explaining that Google is using its smart
 19   speaker devices as a “‘loss leader’ to support advertising or e-commerce.”).
 20         33.    As explained further below, Google has continued to expand its suite
 21   of infringing products since 2017 including after Sonos initiated this suit and the
 22   parallel ITC investigation.
 23         34.    Google’s pervasive copying of Sonos’s products and patented
 24   technology has resulted in an infringing product line that now includes at least the
 25   Chromecast, Chromecast Ultra, Chromecast Audio, Chromecast with Google TV,
 26   Google TV Streamer (4K), Pixel Tablet with Charging Speaker Dock, Home
 27   Mini, Nest Mini, Home, Home Max, Home Hub, Nest Hub, Nest Hub Max, Nest
 28   Audio, and Nest Wifi Point, all of which can be controlled by, for example, the

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  1   YouTube Music app, the Google Play Music app, and the Google Home app. See,
  2   e.g., Exs. 29-39, 111-113.2
  3         35.    The image below shows a few of the infringing Google Audio
  4   Players on the left and some of Sonos’s prior products on the right.
  5
  6
  7
  8
  9
 10         36.    In addition to providing the various software Google Apps for
 11   controlling the Google Audio Players, Google also offers various infringing
 12   hardware controller devices that are pre-installed with the Google Play Music app
 13   and/or YouTube Music app (and capable of downloading and executing the
 14   Google Apps that are not pre-installed). These infringing hardware controller
 15   devices include, for example, Google’s “Pixel” phones, tablets, and laptops (e.g.,
 16   the Pixel 3, Pixel 3 XL, Pixel 3a, Pixel 3a XL, Pixel 4, Pixel 4 XL, Pixel 4a, Pixel
 17   4a (5G), Pixel 5, Pixel 5a, Pixel 6, Pixel 6 Pro, Pixel 6a, Pixel 7, Pixel 7 Pro, Pixel
 18   7a, Pixel Fold, Pixel 8, Pixel 8 Pro, Pixel 8a, Pixel 9, Pixel 9 Pro, Pixel 9 Pro XL,
 19   and Pixel 9 Pro Fold phones, the Pixel Slate and Pixel Tablet tablets, and the
 20   Pixelbook and Pixelbook Go laptops) (individually or collectively, “Google Pixel
 21   Device(s)”). Google also makes the infringing Google Apps available to be
 22   downloaded and installed on user devices not manufactured by Google itself
 23   including iOS-compatible devices, such as iPhones and iPads, and devices
 24   manufactured by Samsung, such as Samsung mobile phones, among others. See,
 25   e.g., Exs. 40-43.3
 26   2
        Any reference to a “Google Audio Player” or a “Google App” includes each
 27   version and generation of such player/app unless otherwise noted.
      3
        Any reference to a “Google Pixel Device” includes each version and generation
 28   of such device unless otherwise noted.
                                                15
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  1         37.    Herein, “Google Wireless Audio System” refers to one or more
  2   Google Audio Players, one or more Google Pixel Devices, and/or one or more
  3   Google Apps.
  4        FOR YEARS, SONOS ATTEMPTED TO REMEDY GOOGLE’S
  5             INFRINGEMENT WITHOUT TURNING TO THE COURTS
  6         38.    Since 2015, Google’s misappropriation of Sonos’s patented
  7   technology has proliferated. Over the years, Google has expanded its wireless
  8   multi-room audio suite of products to more than a dozen infringing products,
  9   including:
 10               Chromecast
 11               Chromecast Ultra
 12               Chromecast Audio
 13               Chromecast with Google TV
 14               Google TV Streamer (4K)
 15               Pixel Tablet with Charging Speaker Dock
 16               Home Mini
 17               Nest Mini
 18               Home
 19               Home Max
 20               Home Hub
 21               Nest Hub
 22               Nest Hub Max
 23               Nest Audio
 24               Nest Wifi Point
 25               Google Home App
 26               Google Play Music App
 27               YouTube Music App
 28               Pixel phones

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  1               Pixel tablets
  2               Pixel laptops
  3         39.    Google has persisted in its infringement even though Sonos has
  4   warned Google of its infringement on at least ten separate occasions dating back
  5   to 2016.
  6         40.    For example, in 2016 (a year after Google launched the Chromecast
  7   Audio wireless adapter), Google released the Google Home multi-room audio
  8   player (which was controlled by Google’s rebranded multi-room controller app –
  9   the Google Home app). Unlike the Chromecast Audio, the Google Home added
 10   an internal speaker driver making it an “all-in-one” audio player akin to Sonos’s
 11   prior Play:1, Play:3, and Play:5 products.
 12         41.    Sonos raised the issue of infringement as to these products with
 13   Google as early as August 2016. Sonos hoped that Google would respect Sonos’s
 14   intellectual property and Sonos’s extensive investment in developing its products.
 15   But Google did no such thing.
 16         42.    On September 2, 2016, Sonos sent John LaBarre and Allen Lo at
 17   Google a document identifying 24 issued Sonos patents and 4 allowed Sonos
 18   patent applications, including the ‘258 Patent, the ‘949 Patent, the ‘014 Patent,
 19   and the ‘959 Patent asserted here. Ex. 114.
 20         43.    On October 13, 2016, Sonos sent John LaBarre, Allen Lo, and Louis
 21   Sorell at Google a document identifying 22 issued Sonos patents and 6 allowed
 22   Sonos patent applications, including again the ‘258 Patent, the ‘949 Patent, the
 23   ‘014 Patent, and the ‘959 Patent and identifying relevant Google products for
 24   each. Ex. 115.
 25         44.    On October 26, 2016, Sonos sent John LaBarre at Google a
 26   PowerPoint presentation identifying 29 issued Sonos patents and 3 allowed Sonos
 27   patent applications, including yet again the ‘258 Patent, the ‘949 Patent, the ‘014
 28   Patent, and the ‘959 Patent. Ex. 116.

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  1          45.   On January 31, 2018, Sonos sent Matthew Gubiotti at Google a
  2   PowerPoint presentation identifying 16 issued Sonos patents and 1 allowed Sonos
  3   patent application, including the ‘959 Patent and the ‘949 Patent, and identifying
  4   relevant Google products for each, including products accused in this case. Ex.
  5   117.
  6          46.   On July 12, 2018, Sonos sent John LaBarre and Matthew Gubiotti at
  7   Google a document identifying 58 issued Sonos patents, including yet again the
  8   ‘258 Patent, the ‘949 Patent, the ‘014 Patent, and the ‘959 Patent and identifying
  9   relevant Google products for each.
 10          47.   On February 22, 2019, Sonos sent Matthew Gubiotti, Bradley Riel,
 11   and Tim Kowalski at Google a letter enclosing a link to an electronic repository
 12   containing 100 claim charts detailing Google’s infringement of 92 issued Sonos
 13   patents and 8 allowed Sonos patent applications, including the ‘258 Patent, the
 14   ‘949 Patent, the ‘014 Patent, the ‘953 Patent, the ‘959 Patent, and the ‘715 Patent
 15   asserted here.
 16          48.   On June 13, 2019, Sonos sent Bradley Riel and Tim Kowalski at
 17   Google a PowerPoint presentation reiterating the 100 claim charts detailing
 18   Google’s infringement of 92 issued Sonos patents and 8 allowed Sonos patent
 19   applications sent on February 22, 2019 and identifying 6 issued Sonos patents,
 20   including again the ‘258 Patent and the ‘949 Patent and identifying relevant
 21   Google products for each.
 22          49.   On January 6, 2020, Sonos sent Bradley Riel and Tim Kowalski at
 23   Google a pre-filing copy of an International Trade Commission Complaint, and a
 24   pre-filing copy of the Original Complaint for this case, which included claim
 25   charts detailing Google’s infringement of the ‘258 Patent, the ‘953 Patent, the
 26   ‘959 Patent, the ‘949 Patent, and the ‘896 Patent.
 27          50.   However, despite these consistent and repeated warnings of
 28   infringement, Google did not stop infringing or even seriously engage in licensing

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  1   discussions. Instead, Google doubled down and introduced new infringing
  2   products, making use of even more of Sonos’s patented technology.
  3         51.    For example, in 2016 and 2017, nearly eight years after Sonos
  4   introduced its first all-in-one audio player – the Play:5 – Google released its all-
  5   in-one audio players – the Google Home, Google Home Max, and the Google
  6   Home Mini. Google’s Home Max in particular was seen as a “Sonos Clone” and
  7   a “not-so-subtle copy of the [Sonos] Play:5 speaker…” Ex. 25. As explained by
  8   Gizmodo, “[i]t’s also hard not to see the [Google Home Max] device as
  9   something of a jab at Sonos.” Id.; see also, e.g., Ex. 26 (2017 Android Central:
 10   “You can’t help but look at Google Home Max… and come to the conclusion that
 11   Google is sticking its nose where Sonos has been for years.”).
 12         52.    Nothing Sonos did, including filing this suit or the parallel ITC
 13   proceeding described below, deterred Google from expanding its infringement.
 14    GOOGLE’S CONTINUED INFRINGEMENT FORCED THIS SUIT AND
 15                             THE ITC INVESTIGATION
 16         53.    In order to hold Google accountable for its willful infringement of
 17   Sonos’s patents, in January 2020, Sonos filed this suit and a parallel complaint
 18   asking the ITC to institute an investigation into Google’s unlawful importation
 19   into, and sale in, the United States of infringing products. The ITC instituted an
 20   investigation, In re Certain Audio Players and Controllers, Components Thereof,
 21   and Products Containing Same, Inv. No. 337-TA-1191, to determine whether
 22   Google’s audio players and controllers infringe the ‘258 Patent, the ‘953 Patent,
 23   the ‘949 Patent, the ‘959 Patent, and the ‘896 Patent, which are five of the patents
 24   asserted in this case.
 25         54.    This case was stayed pending the completion of the ITC
 26   investigation.
 27         55.    During the ITC Investigation, Google unabashedly continued to
 28   increase its infringement. For example, press reports indicated that Google was

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  1   introducing new products and changes that meant that Google is “one step closer
  2   to replacing your Sonos system.” Ex. 118; see also Ex. 119 (“The new
  3   functionality appears to be the most direct challenge to the likes of Sonos, which
  4   has enjoyed enormous success by creating a series of connected speakers and
  5   soundbars that can play music simultaneously – or individually.”). The press
  6   similarly noted that Google’s new Nest Audio speaker “could be a new rival for
  7   the likes of the Sonos One, the best smart speaker you can buy in 2020.” Ex. 120;
  8   see also Ex. 119 (“Just like Sonos, you can also change the volume on each
  9   speaker individually from the main interface.”). And press reports indicated that
 10   Google expanded its use of Sonos’s stereo pair technology into new smart
 11   speakers even though Google was being sued for infringing Sonos’s ‘959 Patent
 12   directed to this technology. Exs. 119, 121.
 13         56.    Google’s aggressive and deliberate expansion of its use of Sonos’s
 14   patented technology has led observers to conclude that “[n]o market is safe from
 15   [the] search engine monster” and that Google was specifically “offering new
 16   products to compete with Sonos in the music streaming market.” See Ex. 23.
 17         57.    During the ITC investigation, Google developed “redesigned”
 18   versions of its infringing products with minor, insubstantial design changes in an
 19   attempt to avoid an ITC remedy resulting from its infringement of the ‘258 Patent,
 20   the ‘953 Patent, the ‘949 Patent, the ‘959 Patent, and the ‘896 Patent.
 21         58.    The ITC investigation concluded with a final determination that
 22   Google’s original products infringed each of the ‘258 Patent, the ‘953 Patent, the
 23   ‘949 Patent, the ‘959 Patent, and the ‘896 Patent, but that its “redesigned”
 24   versions of the accused products did not infringe any of the ‘258 Patent, the ‘953
 25   Patent, the ‘949 Patent, the ‘959 Patent, and the ‘896 Patent. Further, the ITC’s
 26   final determination concluded that each of the ‘258 Patent, the ‘953 Patent, the
 27   ‘949 Patent, the ‘959 Patent, and the ‘896 Patent were not invalid.
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  1               GOOGLE’S INFRINGEMENT HAS BEEN WILLFUL
  2         59.    Sonos warned Google two more times during and after the ITC
  3   investigation that Google was continuing to infringe the patents Sonos already
  4   told Google about from 2016-2020, as well as many more of Sonos’s patents.
  5         60.    For example, on August 13, 2021, Sonos sent a letter to Renny
  6   Hwang, Patrick Weston, Tim Kowalski, and Bradley Riel at Google explaining
  7   that Google was still infringing the patents Sonos told Google about from 2016-
  8   2020, including the patents charted against Google in 2019, as well as many
  9   others, including the ‘014 Patent, the ‘258 Patent, the ‘959 Patent, the ‘949 Patent,
 10   the ‘896 Patent, the ‘953 Patent, the ‘715 Patent, and the ‘001 Patent. Ex. 128.
 11         61.    And on December 4, 2023, Sonos sent a letter to Patrick Weston and
 12   Tim Kowalski at Google explaining that Google was still infringing the patents
 13   Sonos told Google about from 2016-2021, as well as many others, including the
 14   ‘014 Patent, the ‘258 Patent, the ‘959 Patent, the ‘949 Patent, the ‘896 Patent, the
 15   ‘953 Patent, the ‘715 Patent, and the ‘001 Patent. Ex. 129.
 16         62.    As it had done with Sonos’s prior notices of infringement, Google
 17   ignored these notices and continued to infringe, including by commercially
 18   releasing the redesigned versions of its products.
 19         63.    The final determination by the ITC should have sent a clear message
 20   to Google that Google was misappropriating Sonos’s patents rights and should
 21   stop its willful infringement. Instead, Google commercially released its
 22   “redesigned” products even though Google knew that those “redesigned” products
 23   infringed numerous other Sonos patents, including patents that Sonos had warned
 24   Google it was infringing, such as the ‘715 Patent, the ‘001 Patent, and the ‘014
 25   Patent. And for products that were not subject to the ITC investigation, like iOS
 26   or Samsung versions of the Google Apps, Google made no changes at all, even
 27   though these versions of the Google Apps contained the same features that were
 28   adjudicated as infringing by the ITC.

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  1         64.    More specifically, Google did not introduce “redesigned” versions of
  2   all of its products. Instead, Google only introduced “redesigned” versions of
  3   products that were within the limited scope of the ITC investigation, like versions
  4   of the Google Home App that run on Google’s Pixel phones, tablets, and
  5   computers. This meant that, for example, Google continued to infringe at least
  6   the ‘949 Patent and the ‘896 Patent by providing versions of the Google Home
  7   App designed to run on non-Google manufactured phones, tablets, and computers,
  8   like iOS and Samsung devices. These versions of the Google Home App, for
  9   example, still contained the features that were found to practice the asserted
 10   claims of the ‘949 Patent and ‘896 Patent in the ITC investigation. In this way,
 11   Google continued to deliberately infringe these patents even after the ITC had just
 12   adjudged Google as an infringer.
 13         65.    And despite commercially releasing “redesigned” versions for some
 14   products, Google decided to keep the infringing features in its other products
 15   because they are superior features and drive consumer demand. In fact, when
 16   Google removed the features found to infringe the ‘949 Patent from some of its
 17   products, consumers instantly complained that these products were now inferior.
 18         66.    Worse, Google completely ignored the fact that the “redesigned”
 19   versions of its products infringe other Sonos patents, including the additional
 20   patents asserted by way of this First Amended Complaint, which Sonos put
 21   Google on notice of prior to Google’s release of those “redesigned” versions. In
 22   this way, Google plowed forward with its “redesigned” products knowing they
 23   still infringe many of Sonos’s patents that Sonos already brought to Google’s
 24   attention, including the ‘014 Patent, ‘715 Patent, and ‘001 Patent, which are now
 25   asserted in this case.
 26         67.    Still further, as soon as the ‘949 Patent expired, Google added back
 27   the features that were found to practice the asserted claims of the ‘949 Patent.
 28   This included adding back group volume control features to Google’s Nest Hub

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  1   displays and to Android versions of the Google Home App designed to run on
  2   Google-manufactured phones, tablets, and computers, like Google’s Pixel
  3   products. But Google ignored the fact that these features still practice the non-
  4   expired ‘014 Patent, which Sonos put Google on notice of as far back as 2016.
  5            68.    The foregoing establishes that Google was, over at least an eight-year
  6   period, repeatedly put on notice of Sonos’s patents, including each of the eight
  7   patents now asserted in this case, as they relate to the specific products accused in
  8   this case. The following chart illustrates the notices Google has received from
  9   Sonos concerning the patents-in-suit.
 10              Notice   Notice     Notice     Notice    Notice    Notice    Notice    Notice   Notice    Notice
        Pat.
                   1        2          3          4         5         6         7         8        9        10
 11
        ‘258
 12    Issued:   9/2/16   10/13/16   10/26/16             7/12/18   2/22/19   6/13/19   1/6/20   8/13/21   12/4/23
      11/24/15
 13     ‘949
       Issued:   9/2/16   10/13/16   10/26/16   1/31/18   7/12/18   2/22/19   6/13/19   1/6/20   8/13/21   12/4/23
 14   11/19/13
        ‘014
 15    Issued:   9/2/16   10/13/16   10/26/16             7/12/18   2/22/19                      8/13/21   12/4/23
       8/4/09
 16     ‘959
       Issued:   9/2/16   10/13/16   10/26/16   1/31/18   7/12/18   2/22/19             1/6/20   8/13/21   12/4/23
 17   12/22/15
        ‘715
 18    Issued:                                                      2/22/19                      8/13/21   12/4/23
       7/24/18
 19     ‘896
       Issued:                                                                          1/6/20   8/13/21   12/4/23
 20    10/8/19
        ‘953
 21    Issued:                                                      2/22/19             1/6/20   8/13/21   12/4/23
       2/19/19
 22     ‘001
       Issued:                                                                                   8/13/21   12/4/23
 23    8/3/21

 24            69.    At a minimum, Google’s knowledge and Sonos’s repeated and

 25   persistent disclosure establishes that Google was, for some time periods, at least

 26   willfully blind to the fact that the asserted patents existed and, for other time

 27   periods, had years of actual knowledge of the asserted patents and of Google’s

 28   infringement thereof. Further, this knowledge and repeated and persistent

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  1   disclosure establishes that Google, for some time periods, had at least failed to
  2   investigate whether it infringed the asserted patents despite the existence of a high
  3   risk of infringement and, for other time periods, had actual knowledge of a
  4   credible and specific allegation of infringement of the asserted patents. In this
  5   way, Google was, or at least should have been, aware of each of the asserted
  6   patents starting from at least their respective dates of issuance and of its
  7   infringement thereof.
  8         70.    Moreover, Google has been aware of (or, at a minimum, was
  9   willfully blind to) Sonos’s patents well before August 2016 in view of Sonos’s
 10   previously-filed patent litigation against D&M (another direct competitor of
 11   Sonos and Google) and its infringing Denon HEOS system – Sonos Inc. v. D&M
 12   Holdings, Inc., C.A. No. 14-1330-RGA (D. Del.) (“the D&M Litigation”). See
 13   Ex. 47. This prior litigation, initiated in 2014, lasted more than three years,
 14   garnered media attention across the industry, and resulted in a jury verdict for
 15   Sonos on all counts, including, inter alia, willful infringement of two of the
 16   patents-in-suit asserted here against Google – United States Patent Nos. 8,588,949
 17   and 9,195,258. See, e.g., Ex. 48 (2014 VentureBeat article entitled “Sonos sues
 18   Denon, alleging wireless speaker patent infringement”); Ex. 49 (2014 CNET
 19   article entitled “Sonos sues Denon for ‘copying’ its wireless products”); Ex. 50
 20   (Sonos v D&M jury Verdict Form finding for Sonos on all counts).
 21         71.    Further, Google has also been aware of (or, at a minimum, was
 22   willfully blind to) Sonos’s patents well before Sonos provided Google notice of
 23   infringement because Google’s development of competitive products since the
 24   launch of its Google Wireless Audio System in 2015 occurred against the
 25   backdrop of: 1) a decade in which Sonos was the recognized pioneer in the
 26   wireless audio industry; 2) Google’s partnership with Sonos dating to at least as
 27   early as 2013; and 3) Sonos’s prominent display of its patents on Sonos’s website,
 28

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  1   and Sonos’s inclusion of a notice of its patents in Sonos’s product
  2   inserts/manuals, as well as the Sonos app.
  3                        GOOGLE’S UNJUST ENRICHMENT
  4          72.    Google’s infringement of Sonos’s patented inventions has paved the
  5   way for Google to generate billions of dollars in revenue. A December 2018
  6   market report by Royal Bank of Canada, for example, concluded that Google has
  7   sold over 40 million Google Home devices in the U.S. and that Google generated
  8   $3.4 billion in Google Home revenue in 2018 alone. Ex. 44 at p. 1, 4, 14-15.
  9   Royal Bank of Canada also found that, as of August 2017, Google had sold more
 10   than 55 million Chromecast devices and that Google generated $998 million in
 11   Chromecast revenue in 2018. Id. at p. 4, 16. Further, Royal Bank of Canada
 12   estimated that, in 2018, Google generated $3.4 billion in Pixel device revenue. Id.
 13   at p. 4, 16, 18.
 14          73.    By 2021, RBC estimated that Google will be annually selling over
 15   100 million Google Home devices in the U.S. and generating over $8 billion in
 16   Google Home revenue. Id. at 4, 14-15. In addition, by 2021, RBC estimated that
 17   Google will annually generate $2.4 billion in Chromecast revenue and nearly $7
 18   billion in Pixel device revenue. Id. at 4, 8, 18. Today, Forbes estimates that
 19   Google is worth over $2 trillion dollars. See https://www.forbes.com/
 20   companies/google/.
 21          74.    Moreover, the revenue obtained from sale of Google’s hardware
 22   devices presents an incomplete picture of the full value to Google, as Google is
 23   selling the infringing products at a discount and/or as a “loss leader” to generate
 24   future revenue. For instance, on information and belief, Google’s copying of
 25   Sonos’s patented inventions has helped and/or will help Google generate
 26   significant revenue from the use of Google’s hardware devices including
 27   advertising, data collection, and search via the Google Wireless Audio Systems.
 28   As the New York Post explained, “Amazon and Google both discounted their

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  1   home speakers so deeply over the holidays that they likely lost a few dollars per
  2   unit . . . hoping to lock in customers and profit from later sales of goods and data
  3   about buying habits.” Ex. 45. Similarly, News Without Borders explained that
  4   companies like Google are using their “smart speaker” devices as “‘loss leader[s]’
  5   to support advertising . . . .” Ex. 28.
  6         75.    On information and belief, Google’s copying of Sonos’s patented
  7   inventions has also helped and/or will help Google generate significant revenue
  8   from driving its users to make follow-on purchases such as streaming music
  9   subscriptions and retail purchases via the Google Wireless Audio Systems. For
 10   example, an NPR “smart speaker” survey found that 28% of survey respondents
 11   agreed that “[g]etting a Smart Speaker led [them] to pay for a music subscription
 12   service,” and Google offered two such subscriptions – Google Play Music and
 13   YouTube Music. Ex. 46 at p. 20. Likewise, the NPR survey also found that 26%
 14   of respondents use their smart speakers “regularly” to “add [items] to shopping
 15   list.” Id. at p. 15; see also, e.g., Ex. 28 (stating that companies like Google are
 16   using their “smart speaker” devices as “‘loss leader[s]’ to support . . . e-
 17   commerce.”).
 18         76.    On information and belief, Google is willfully infringing Sonos’s
 19   patents as part of Google’s calculated strategy to vacuum up invaluable consumer
 20   data from users and, thus, further entrench the Google platform among its users
 21   and fuel its dominant advertising and search platforms.
 22                                      THE PARTIES
 23         77.    Plaintiff Sonos, Inc. is a Delaware corporation with its principal
 24   place of business at 301 Coromar Drive, Goleta, California, 93117. Sonos is the
 25   owner of the patents-in-suit.
 26         78.    Defendant Google LLC is a Delaware limited liability corporation
 27   with its principal place of business at 1600 Amphitheatre Parkway, Mountain
 28   View, CA 94043. Google LLC also maintains other established places of

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  1   business, including established places of business in this district at, for example,
  2   340 Main St, Venice, CA 90291 and 12422 W Bluff Creek, Playa Vista, CA
  3   90094.
  4         79.    Google LLC is one of the largest technology companies in the world
  5   and conducts product development, engineering, sales, and online retail, search,
  6   and advertising operations in this district.
  7         80.    Google LLC directly and/or indirectly develops, designs,
  8   manufactures, distributes, markets, offers to sell, sells, and/or imports the
  9   infringing Google Wireless Audio System at issue in this litigation in/into the
 10   United States, including in the Central District of California, and otherwise
 11   purposefully directs infringing activities to this District in connection with its
 12   Google Wireless Audio System.
 13                             JURISDICTION AND VENUE
 14         81.    As this is a civil action for patent infringement arising under the
 15   patent laws of the United States, 35 U.S.C. § 1 et seq., this Court has subject
 16   matter jurisdiction over the matters asserted herein under 28 U.S.C. §§ 1331 and
 17   1338(a).
 18         82.     This Court has personal jurisdiction over Google because, pursuant
 19   to Fed. R. Civ. P. 11(b)(3), Google has: (1) availed itself of the rights and benefits
 20   of the laws of the State of California, (2) transacted, conducted, and/or solicited
 21   business and engaged in a persistent course of conduct in the State of California
 22   (and in this District), (3) derived substantial revenue from the sales and/or use of
 23   products, such as the infringing Google Wireless Audio System, in the State of
 24   California (and in this District), (4) purposefully directed activities (directly and/or
 25   through intermediaries), such as shipping, distributing, offering for sale, selling,
 26   and/or advertising its infringing Google Wireless Audio System, at residents of the
 27   State of California (and residents in this District), (5) delivered its infringing
 28   Google Wireless Audio System into the stream of commerce with the expectation

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  1   that the Google Wireless Audio System will be used and/or purchased by
  2   consumers, and (6) committed acts of patent infringement in the State of California
  3   (and in this District).
  4          83.    This Court also has personal jurisdiction over Google because it is
  5   registered to do business in the State of California and has one or more regular
  6   and established places of business in the Central District of California.
  7          84.    Venue is proper in this District under the provisions of 28 U.S.C. §
  8   1400(b) because, as noted above, Google has committed acts of infringement in
  9   this district and has one or more regular and established place of business in this
 10   district.
 11                                  PATENTS-IN-SUIT
 12                                       Background
 13          85.    Sonos was founded to solve various shortcomings in existing
 14   conventional audio technology. At the time, a “conventional multi-zone audio
 15   system” was based on a “centralized” device that was “hard-wired” to “audio
 16   players” in different rooms with dedicated speaker wire. See, e.g., ‘949 Patent at
 17   1:41-47, 1:57-60; see also, e.g., ‘959 Patent at 6:54-61. These “audio players”
 18   were basic “speakers” that passively received and outputted audio signals but
 19   lacked processing capabilities. See, e.g., ‘949 Patent at 1:41-60.
 20          86.    In this conventional “hard-wired” configuration, each audio player
 21   relied on a “centralized” device that managed and controlled the multi-zone audio
 22   system. Under this approach, audio sources were either hard-wired to the
 23   “centralized” device, which made playing different audio sources at different
 24   audio players difficult (if not impossible), or hard-wired locally at a given audio
 25   player, which “[made] source sharing difficult.” See, e.g., ‘949 Patent at 1:45-56.
 26   For example, before an audio player could play audio from a source, a user had to
 27   configure the centralized device to route audio to the audio player from the
 28   common source. See, e.g., id. at 1:50-60.

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  1          87.     In these conventional “hard-wired” systems, it was difficult or
  2   impossible to play different audio sources on different audio players, “group” and
  3   control audio players, access and play network-based audio sources (e.g., Internet
  4   radio), and install and configure the system in the first instance, which required
  5   physically connecting every device to the “centralized” device. See, e.g., ‘949
  6   Patent at 1:34-2:13; ‘959 Patent at 6:52-61.
  7          88.     As recognized in 2005 when Sonos released its first products, Sonos
  8   developed a series of new technologies to solve the many shortcomings of
  9   conventional hard-wired audio systems, thereby revolutionizing the field. In turn,
 10   Sonos’s own introduction of paradigm-shifting technology created new
 11   technological opportunities and/or challenges that Sonos further solved.
 12          89.     For starters, Sonos provided an unconventional system architecture
 13   comprising “zone players” (also referred to as “playback devices”) on a computer
 14   data network that were controlled by physical “controller” devices. See, e.g., ‘949
 15   Patent at FIG. 1; ‘258 Patent at FIG 1. The following figure illustrates a
 16   simplified diagram of an exemplary Sonos audio system in accordance with this
 17   new system architecture, which comprises “zone players” 102, 104, and 106 and
 18   “controllers” 140 and 142 coupled to one another by a local data network 108 and
 19   two local audio sources 110 and 112 along with a connection to the Internet:
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      ‘949 Patent at FIG. 1; see also, e.g., ‘258 Patent at FIG. 1.
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  1         90.    Unlike audio players in conventional “centralized,” “hard-wired”
  2   multi-zone audio systems, Sonos’s “zone players” were “independent playback
  3   devices” with a data network interface and processing intelligence enabling each
  4   “zone player” to independently access and play back any audio source available
  5   on a local data network or another data network coupled thereto (e.g., the Internet)
  6   without a centralized device. See, e.g., ‘949 Patent at 4:60-64, 5:2-36, 9:50-52,
  7   Claims 1, 8, 15; ‘258 Patent at 1:33-44, 2:40-3:22, Claims 1, 11, 17.
  8         91.    The new, unconventional nature of Sonos’s “zone players”
  9   introduced additional technological challenges to Sonos’s system, which required
 10   Sonos’s “zone players” to have new intelligence enabling the “zone players” to
 11   “share information” with one another so that they could “reproduce audio
 12   information synchronously,” among other unconventional capabilities. See, e.g.,
 13   ‘258 Patent at 31:34-41. Thus, Sonos’s new system featured “zone players” that
 14   could simultaneously play different audio from different sources or be “grouped”
 15   together to play the same audio source in a synchronized manner. See, e.g., ‘258
 16   Patent at FIG. 1, 3:50-61, 4:22-50, 5:10-6:64, Claims 1, 11, 17; ‘949 Patent at
 17   2:28-48, 9:49-59, Claims 1, 8, 15. And while operating within a “group,” each
 18   “zone player” would be designated to take on certain roles or responsibilities
 19   within the “group” of “zone players.” See, e.g., ‘001 Patent at 6:58-7:3, 8:2-9:36,
 20   Claims 1, 12, 23.
 21         92.    Further, unlike the “pre-configured and pre-programmed
 22   controller[s]” used to control conventional “centralized,” “hard-wired” audio
 23   systems, Sonos’s “controller” devices were capable of remotely controlling any
 24   “zone player” in a Sonos audio system from anywhere in a user’s house or the like
 25   via a data network. See, e.g., ‘949 Patent at 6:43-60; see also, e.g., ‘258 Patent at
 26   5:27-29, 5:38-40, 6:37-46. Building on the intelligence of Sonos’s new “zone
 27   players,” Sonos’s “controllers” had new capabilities, including dynamically
 28   “grouping the zone players” and “control[ling] the volume of each of the zone

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  1   players in a zone group individually or together.” ‘949 Patent at 6:43-60; see
  2   also, e.g., ‘258 Patent at FIG. 1, 3:50-61, 4:22-50, 5:10-6:64, 9:17-26, Claims 1,
  3   11, 17.
  4         93.    Thus, Sonos’s audio system comprising networked “zone players”
  5   controlled by physical “controllers” over a data network provided an entirely new
  6   paradigm in home audio that overcame the technological deficiencies of
  7   conventional audio systems. Moreover, Sonos’s unconventional system
  8   architecture created new technological challenges that needed to be solved and
  9   provided a new platform for further innovation. As discussed in further detail
 10   below, the Sonos patents-in-suit are directed to overcoming these technological
 11   challenges and building on this new platform.
 12                               U.S. Patent No. 7,571,014
 13         94.    Sonos is the owner of U.S. Patent No. 7,571,014 (the “‘014 Patent”),
 14   entitled “Method and Apparatus for Controller Multimedia Players in a Multi-
 15   Zone System,” which was duly and legally issued by the United States Patent and
 16   Trademark Office (“USPTO”) on August 4, 2009. A Reexamination Certificate
 17   for the ‘014 Patent was duly and legally issued by the USPTO on September 1,
 18   2017. A copy of the ‘014 Patent, including the Reexamination Certificate, is
 19   attached hereto as Exhibit 108.
 20         95.    The ‘014 Patent relates generally to devices, computer-readable
 21   media, and methods for controlling a plurality of playback devices on a local area
 22   network.
 23         96.    The ‘014 Patent recognized problems with conventional multi-zone
 24   audio systems. For instance, the ‘014 Patent recognized that “conventional multi-
 25   zone audio system[s]” were undesirably based on a “centralized” device that was
 26   “hard-wired” to “audio players” in different rooms with dedicated speaker wire.
 27   See, e.g., ‘014 Patent at 1:34-40, 1:50-53. Moreover, because these “conventional
 28   multi-zone audio system[s]” were “either hard-wired or controlled by a pre-

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  1   configured and pre-programmed controller,” it was “difficult for [a conventional]
  2   system to accommodate the requirement of dynamically managing the ad hoc
  3   creation and deletion of groups,” among other disadvantages of conventional
  4   multi-zone audio systems. See, e.g., id. at 1:50-2:4.
  5          97.    In this regard, the ‘014 Patent recognized a need for solutions that
  6   addressed “the control of [ ] audio players as a group ….” See, e.g., id. at 2:5-10.
  7   In particular, the ‘014 Patent recognized “a need for solutions in a multi-zone
  8   audio system to control a plurality of audio players and their audio characteristics
  9   from one controlling device” See, e.g., id. at 2:11-13. The claimed inventions of
 10   the ‘014 Patent are directed to technology that provides a solution to such needs.
 11   See, e.g., id. at 2:28-3:34.
 12    The Inventions Claimed in U.S. Patent No. 7,571,014 Improved Technology
 13                & Were Not Well-Understood, Routine, or Conventional
 14          98.    Given the state of the art at the time of the inventions of the ‘014
 15   Patent, including the deficiencies in “centralized,” “hard-wired” multi-zone audio
 16   systems of the time, the inventive concepts of the ‘014 Patent cannot be
 17   considered to be conventional, well-understood, or routine. See, e.g., ‘014 Patent
 18   at 1:34-2:10. The ‘014 Patent provides an unconventional solution to problems
 19   that arose in the context of “centralized,” “hard-wired” multi-zone audio systems
 20   – namely, that such systems made it difficult (or impossible) to dynamically group
 21   audio players for synchronous playback and dynamically control such grouped
 22   audio players. See, e.g., id.
 23          99.    At the core of the ‘014 Patent are aspects of Sonos’s unconventional
 24   system architecture – a “controller” and a plurality of “players” (e.g., “zone
 25   players”) communicating over a “local area network” (LAN). Further, unlike the
 26   “pre-configured and pre-programmed controller[s]” used to control conventional
 27   “centralized,” “hard-wired” multi-zone audio systems, the ‘014 Patent’s
 28   “controller” devices were unconventionally capable of controlling any “zone

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  1   player” in the system from anywhere in a user’s house or business via the LAN,
  2   such as by dynamically “grouping the zone players” and “control[ling] the volume
  3   of each of the zone players in a zone group individually or together.” See, e.g., id.
  4   at 7:25-43.
  5         100. In this respect, it was not well-understood, routine, or conventional at
  6   the time of the inventions of the ‘014 Patent to have a “controller” configured to
  7   (i) form a “zone group” that includes a plurality of “players,” where one of the
  8   players serves as a “zone group head,” and (ii) “synchroniz[e] all players in the
  9   zone group in accordance with the zone group head.” See, e.g., id. at Claims 1,
 10   25; see also, e.g., Ex. 8 (2005 PC Mag: “[Sonos’s ZonePlayers] can play the same
 11   music throughout the house, perfectly synchronized. Even though that may seem
 12   drop-dead simple, other hubs don’t do it. And you can join multiple rooms to play
 13   the same music … on the fly.”).
 14         101. Furthermore, it was not well-understood, routine, or conventional at
 15   the time of the inventions of the ‘014 Patent to have a “controller” configured to
 16   (i) display a “zone group” that includes a plurality of “players” and (ii) adjust a
 17   “volume meter” for the group of players that is “represented by an averaged value
 18   of audio volumes of the players in the group,” which includes “changing a volume
 19   of each of the group of players synchronously in accordance with an adjustment
 20   made by a user.” See, e.g., ‘014 Patent at Claims 1, 16, 25, 38; see also, e.g., Ex.
 21   8 (2005 PC Mag: “Press the volume-down button, then slide the scroll wheel to
 22   select each room and set the volume for it. Once you’re back to using the master
 23   volume control, the volume rises or falls relative to each room’s existing setting.
 24   These are [] brilliant touches ….”).
 25         102. These are just exemplary reasons why the inventions claimed in the
 26   ‘014 Patent were not well-understood, routine, or conventional at the time of their
 27   invention.
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  1         103. The unconventional nature of the ‘014 Patent has also been
  2   confirmed by wide-spread industry praise for the patented technology of the ‘014
  3   Patent as an advancement in the field of home audio, as set forth below.
  4         104. Notably, the District Court of Delaware held that the claimed
  5   inventions of the ‘014 Patent are “patent-eligible subject matter under § 101.” See
  6   Ex. 51 at p. 13. In particular, the district court recognized that the claimed
  7   inventions of the ‘014 Patent “represent[] a substantial improvement over the
  8   existing technology” that “provides for capabilities far beyond what a traditional
  9   hardwired system offers.” Id. at p. 12.
 10         105. The district court also recognized that the ‘014 Patent’s solutions
 11   cannot be performed solely by a human. See, e.g., id. at p. 11 (“Defendants do not
 12   explain how a human could manually accomplish this feat. Nor could they.”).
 13   Indeed, the ‘014 Patent’s claimed solutions are not merely drawn to longstanding
 14   human activities at least because they address problems rooted in multi-zone
 15   audio systems. See, e.g., id. at p. 12 (“This is not simply a ‘more efficient’
 16   method of doing something already done by humans.”).
 17         106. Moreover, the innovative and unconventional nature of the ‘014
 18   Patent was confirmed by the validity findings in the D&M Litigation (see Ex. 50)
 19   and the ‘014 Patent reexamination proceeding (see Ex. 108).
 20      The Inventions Claimed in U.S. Patent No. 7,571,014 Provide Important
 21                      Advantages to Multi-Room Audio Systems
 22         107. The group volume control technology of the ‘014 Patent provides
 23   significant advantages that are important to multi-room audio systems. The
 24   advantages of Sonos’s group volume control technology are reflected in the
 25   recognition and praise it has received from the press. For example, shortly after
 26   Sonos launched its first commercial product in 2005, PC Magazine exclaimed:
 27   “[Sonos] is the first digital audio hub we can recommend without reservation ….
 28   Once you’re back to using the master volume control, the volume rises or falls

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  1   relative to each room’s existing setting. These are the brilliant touches ….” See
  2   Ex. 8. As another example, in 2005, Playlist lauded Sonos’s “Controller” for its
  3   “stand[] out” interface that enables dynamic grouping of Sonos players and
  4   volume control. See Ex. 52. Likewise, in 2008, Gizmodo praised Sonos for the
  5   ability to “[c]hange the volume in a single room, or in all your rooms at once, all
  6   from the Sonos Controller.” See Ex. 53. A few years later, in 2012, Pocket-lint
  7   touted Sonos’s patented group volume technology as “simple but clever.” See Ex.
  8   54.
  9         108. Recognizing the advantages of Sonos’s patented group volume
 10   control technology, competitors in the industry, including Google, have
 11   incorporated Sonos’s technology into their products and marketed to their
 12   customers the features that the technology enables. For example, Google’s
 13   website included a webpage entitled “How to change the volume of an audio
 14   group,” which touts the ability “[t]o adjust the volume of all speakers in a
 15   group” and “[t]o adjust a single speaker’s volume when it’s part of a group” in a
 16   Google Wireless Audio System. See Ex. 55 (emphasis in original). As explained
 17   by Google, “[c]hanging the group volume . . . will change the volume of all
 18   speakers within the group.” Id. (emphasis in original). In contrast, Google
 19   explained that “[c]hanging a single speaker’s volume when it’s part of a
 20   group . . . will only change that individual speaker.” Id. (emphasis in original).
 21   As another example, Google’s website also includes a webpage entitled “Create
 22   and manage speaker groups,” which touts the ability to “control group members
 23   volume” in a Google Wireless Audio System. See Ex. 29.
 24         109. The media has also recognized the importance of Sonos’s patented
 25   group volume control technology to Google and its customers. For example, in
 26   explaining that “[o]ne of the great advantages of having several Google Home
 27   speakers is the ability to play the same music throughout your house,” the Verge
 28   also touted Google’s group and individual volume features. See Ex 56.

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  1   Specifically, the Verge explained that you can control group volume if you “go to
  2   your Home app and tap on the name of your group,” and that “[i]f you want to
  3   raise or lower the volume on a specific speaker in the group, just tap on the icon
  4   for that speaker on the main screen on the Home app.” Id.
  5                               U.S. Patent No. 8,588,949
  6         110. Sonos is the owner of U.S. Patent No. 8,588,949 (the “‘949 Patent”),
  7   entitled “Method and Apparatus for Adjusting Volume Levels in a Multi-Zone
  8   System,” which was duly and legally issued by the USPTO on November 19,
  9   2013. A Reexamination Certificate for the ‘949 Patent was duly and legally
 10   issued by the USPTO on November 5, 2015. A copy of the ‘949 Patent, including
 11   the Reexamination Certificate, is attached hereto as Exhibit 1.
 12         111. The ‘949 Patent relates generally to devices, computer-readable
 13   media, and methods for controlling a plurality of playback devices on a local area
 14   network.
 15         112. The ‘949 Patent recognized problems with conventional multi-zone
 16   audio systems. For instance, the ‘949 Patent recognized that “conventional multi-
 17   zone audio system[s]” were undesirably based on a “centralized” device that was
 18   “hard-wired” to “audio players” in different rooms with dedicated speaker wire.
 19   See, e.g., ‘949 Patent at 1:41-47, 1:57-60. Moreover, because these “conventional
 20   multi-zone audio system[s]” were “either hard-wired or controlled by a pre-
 21   configured and pre-programmed controller,” it was “difficult for [a conventional]
 22   system to accommodate the requirement of dynamically managing the ad hoc
 23   creation and deletion of groups,” among other disadvantages of conventional
 24   multi-zone audio systems. See, e.g., id. at 1:57-2:12.
 25         113. In this regard, the ‘949 Patent recognized “a need for dynamic
 26   control of [] audio players as a group” and a solution that allowed “audio players
 27   [to] be readily grouped” with “minimum manipulation.” See, e.g., id. at 2:13-15.
 28   In particular, the ‘949 Patent recognized “a need for user interfaces that may be

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  1   readily utilized to group and control [] audio players.” See, e.g., id. at 1:15-18.
  2   The claimed inventions of the ‘949 Patent are directed to technology that provides
  3   a solution to such needs. See, e.g., id. at 2:65-3:3.
  4    The Inventions Claimed in U.S. Patent No. 8,588,949 Improved Technology
  5              & Were Not Well-Understood, Routine, or Conventional
  6         114. Given the state of the art at the time of the inventions of the ‘949
  7   Patent, including the deficiencies in “centralized,” “hard-wired” multi-zone audio
  8   systems of the time, the inventive concepts of the ‘949 Patent cannot be
  9   considered to be conventional, well-understood, or routine. See, e.g., ‘949 Patent
 10   at 1:26-2:12. The ‘949 Patent provides an unconventional solution to problems
 11   that arose in the context of “centralized,” “hard-wired” multi-zone audio systems
 12   – namely, that such systems made it difficult (or impossible) to dynamically group
 13   audio players for synchronous playback and dynamically control such grouped
 14   audio players. See, e.g., id. at 1:57-2:12.
 15         115. At the core of the ‘949 Patent are aspects of Sonos’s unconventional
 16   system architecture – a “controller” and a plurality of “independent playback
 17   devices” (e.g., “zone players”) communicating over a “local area network”
 18   (LAN). Further, unlike the “pre-configured and pre-programmed controller[s]”
 19   used to control conventional “centralized,” “hard-wired” multi-zone audio
 20   systems, the ‘949 Patent’s “controller” devices were unconventionally capable of
 21   controlling any “zone player” in the system from anywhere in a user’s house or
 22   business via the LAN, such as by dynamically “grouping the zone players” and
 23   “control[ling] the volume of each of the zone players in a zone group individually
 24   or together.” See, e.g., ‘949 Patent at 6:43-60.
 25         116. In this respect, it was not well-understood, routine, or conventional at
 26   the time of the inventions of the ‘949 Patent to have a “controller” configured to
 27   (i) provide a user interface for a “player group” that includes a plurality of
 28   “players,” each being an “independent playback device,” and (ii) accept an input

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  1   to facilitate formation of the “player group” for “synchronized playback of a
  2   multimedia output from the same multimedia source.” See, e.g., ‘949 Patent at
  3   Claims 1, 8, 15; see also, e.g., Ex. 8 (2005 PC Mag: “[Sonos’s ZonePlayers] can
  4   play the same music throughout the house, perfectly synchronized. Even though
  5   that may seem drop-dead simple, other hubs don’t do it. And you can join
  6   multiple rooms to play the same music . . . on the fly.”).
  7         117. Furthermore, it was not well-understood, routine, or conventional at
  8   the time of the inventions of the ‘949 Patent to have a “controller” configured to
  9   (i) accept, for any individual “player” in a “player group,” a player-specific input
 10   to adjust the volume of that individual “player,” where the player-specific input
 11   causes that individual “player” to adjust its volume and (ii) accept a “group-level”
 12   input to adjust a volume associated with the “player group,” where the player-
 13   specific input causes each of the “players” in the “player group” to adjust its
 14   respective volume. See, e.g., ‘949 Patent at Claims 1, 8, 15; see also, e.g., Ex. 8
 15   (2005 PC Mag: “Press the volume-down button, then slide the scroll wheel to
 16   select each room and set the volume for it. Once you’re back to using the master
 17   volume control, the volume rises or falls relative to each room’s existing setting.
 18   These are [] brilliant touches ….”).
 19         118. These are just exemplary reasons why the inventions claimed in the
 20   ‘949 Patent were not well-understood, routine, or conventional at the time of their
 21   invention.
 22         119. The unconventional nature of the ‘949 Patent has also been
 23   confirmed by wide-spread industry praise for the patented technology of the ‘949
 24   Patent as an advancement in the field of home audio, as set forth below.
 25         120. Notably, the District Court of Delaware held that the claimed
 26   inventions of the ‘949 Patent are “patent-eligible subject matter under § 101.” See
 27   Ex. 51 at p. 13. In particular, the district court recognized that the claimed
 28   inventions of the ‘949 Patent “represent[] a substantial improvement over the

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  1   existing technology” that “provides for capabilities far beyond what a traditional
  2   hardwired system offers.” Id. at p. 12.
  3         121. The district court also recognized that the ‘949 Patent’s solutions
  4   cannot be performed solely by a human. See, e.g., id. at pp. 11-12 (“Defendants’
  5   arguments that a human could perform the actions the [controller] device is said to
  6   perform is at best illogical.”). Indeed, the ‘949 Patent’s claimed solutions are not
  7   merely drawn to longstanding human activities at least because they address
  8   problems rooted in multi-zone audio systems. See, e.g., id. at p. 12 (“This is not
  9   simply a ‘more efficient’ method of doing something already done by humans.”).
 10         122. Moreover, the innovative and unconventional nature of the ‘949
 11   Patent was confirmed by the validity findings in the D&M Litigation (see Ex. 50)
 12   and the ‘949 Patent reexamination proceeding (see Ex. 1).
 13      The Inventions Claimed in U.S. Patent No. 8,588,949 Provide Important
 14                        Advantages to Wireless Audio Systems
 15         123. The group volume control technology of the ‘949 Patent provides
 16   significant advantages that are important to wireless audio systems. The
 17   advantages of Sonos’s group volume control technology are reflected in the
 18   recognition and praise it has received from the press. For example, shortly after
 19   Sonos launched its first commercial product in 2005, PC Magazine exclaimed:
 20   “[Sonos] is the first digital audio hub we can recommend without reservation . . . .
 21   Once you’re back to using the master volume control, the volume rises or falls
 22   relative to each room’s existing setting. These are the brilliant touches . . . .” See
 23   Ex. 8. As another example, in 2005, Playlist lauded Sonos’s “Controller” for its
 24   “stand[] out” interface that enables dynamic grouping of Sonos players and
 25   volume control. See Ex. 52. Likewise, in 2008, Gizmodo praised Sonos for the
 26   ability to “[c]hange the volume in a single room, or in all your rooms at once, all
 27   from the Sonos Controller.” See Ex. 53. A few years later, in 2012, Pocket-lint
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  1   touted Sonos’s patented group volume technology as “simple but clever.” See
  2   Ex. 54.
  3         124. Recognizing the advantages of Sonos’s patented group volume
  4   control technology, competitors in the industry, including Google, have
  5   incorporated Sonos’s technology into their products and marketed to their
  6   customers the features that the technology enables. For example, Google’s
  7   website included a webpage entitled “How to change the volume of an audio
  8   group,” which touts the ability “[t]o adjust the volume of all speakers in a
  9   group” and “[t]o adjust a single speaker’s volume when it’s part of a group” in a
 10   Google Wireless Audio System. See Ex. 55 (emphasis in original). As explained
 11   by Google, “[c]hanging the group volume . . . will change the volume of all
 12   speakers within the group.” Id. (emphasis in original). In contrast, Google
 13   explained that “[c]hanging a single speaker’s volume when it’s part of a
 14   group . . . will only change that individual speaker.” Id. (emphasis in original).
 15   As another example, Google’s website also includes a webpage entitled “Create
 16   and manage speaker groups,” which touts the ability to “control group members
 17   volume” in a Google Wireless Audio System. See Ex. 29.
 18         125. The media has also recognized the importance of Sonos’s patented
 19   group volume control technology to Google and its customers. For example, in
 20   explaining that “[o]ne of the great advantages of having several Google Home
 21   speakers is the ability to play the same music throughout your house,” the Verge
 22   also touted Google’s group and individual volume features. See Ex 56.
 23   Specifically, the Verge explained that you can control group volume if you “go to
 24   your Home app and tap on the name of your group,” and that “[i]f you want to
 25   raise or lower the volume on a specific speaker in the group, just tap on the icon
 26   for that speaker on the main screen on the Home app.” Id.
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  1                               U.S. Patent No. 9,195,258
  2         126. Sonos is the owner U.S. Patent No. 9,195,258 (the “‘258 Patent”),
  3   entitled “System and Method for Synchronizing Operations Among a Plurality of
  4   Independently Clocked Digital Data Processing Devices,” which was duly and
  5   legally issued by the USPTO on November 24, 2015. A copy of the ‘258 Patent
  6   is attached hereto as Exhibit 2.
  7         127. The ‘258 Patent relates generally to devices, systems, and methods
  8   for synchronizing audio playback among a group of “zone players.”
  9         128. As discussed above, Sonos recognized problems with conventional
 10   multi-zone audio systems and introduced a paradigm-shifting system architecture
 11   comprising “zone players” that communicated over a data network. The
 12   unconventional nature of Sonos’s “zone players” introduced additional
 13   technological challenges to Sonos’s system. See, e.g., ‘258 Patent at 1:55-2:36.
 14         129. For instance, the ‘258 Patent recognized the technological challenge
 15   of “ensur[ing] that, if two or more audio playback devices are contemporaneously
 16   attempting to play back the same audio program, they do so simultaneously.” ‘258
 17   Patent at 2:17-36. In this respect, the ‘258 Patent recognized that “audio playback
 18   devices that are being developed have independent clocks, and, if they are not
 19   clocking at precisely the same rate, the audio playback provided by the various
 20   [playback] devices can get out of synchronization.” Id. at 2:32-36. Moreover, the
 21   ‘258 Patent recognized that “differences in the audio playback devices’ start times
 22   and/or playback speeds” “can arise . . . for a number of reasons, including delays
 23   in the transfer of audio information over the network,” and that “[s]uch delays can
 24   differ as among the various audio playback devices for a variety of reasons,
 25   including where they are connected into the network, message traffic, and other
 26   reasons . . . .” Id. at 2:20-27. Consequently, the ‘258 Patent recognized that
 27   “[s]mall differences in the audio playback devices’ start times and/or playback
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  1   speeds can be perceived by a listener as an echo effect, and larger differences can
  2   be very annoying.” Id. at 2:20-22.
  3         130. In this regard, the ‘258 Patent recognized a need for “a new and
  4   improved system and method for synchronizing operations among a number of
  5   digital data processing devices that are regulated by independent clocking
  6   devices.” See, e.g., ‘258 Patent at 2:40-43. The claimed inventions of the ‘258
  7   Patent are directed to technology that provides a solution to such needs. See, e.g.,
  8   id.
  9    The Inventions Claimed in U.S. Patent No. 9,195,258 Improved Technology
 10               & Were Not Well-Understood, Routine, or Conventional
 11         131. Given the state of the art at the time of the inventions of the ‘258
 12   Patent, including the deficiencies in centralized, hard-wired multi-zone audio
 13   systems of the time, the inventive concepts of the ‘258 Patent cannot be
 14   considered to be conventional, well-understood, or routine. See, e.g., ‘258 Patent
 15   at 1:26-2:12. The ‘258 Patent provides an unconventional solution to problems
 16   that arose in Sonos’s unconventional system architecture comprising “zone
 17   players” that communicated over a data network – namely, that such “zone
 18   players” have “independent clocks” which makes ensuring synchronized audio
 19   playback difficult. See, e.g., id. at 2:17-36.
 20         132. At the core of the ‘258 Patent are aspects of Sonos’s unconventional
 21   system architecture – “zone players” and at least one “controller” communicating
 22   over a “local area network.” Each “zone player” was unconventionally equipped
 23   with a data network interface and intelligence enabling the “zone player” to
 24   independently access and play back audio from a variety of network-accessible
 25   audio sources and dynamically enter a “group” with one or more other “zone
 26   players” for synchronized audio playback based on an instruction from a
 27   “controller.” See, e.g., ‘258 Patent at FIG. 1, 3:50-61, 4:22-50, 5:10-6:64,
 28   Claims 1, 11, 17. While “grouped,” the “zone players” were unconventionally

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  1   capable of sharing particular information over a data network to facilitate
  2   “reproduc[ing] audio information synchronously” despite the fact that the “zone
  3   players operate with independent clocks” and exchange packets over a data
  4   network with “differing delays.” ‘258 Patent at 31:34-41.
  5             133. In this respect, it was not well-understood, routine, or conventional at
  6   the time of the invention of the ‘258 Patent to have a “zone player” configured to
  7   interface with a LAN and receive from a “controller” over the LAN a direction for
  8   the “zone player” to enter into a synchrony group with at least one other “zone
  9   player.” See, e.g., ‘258 Patent at Claims 1, 11, 17; see also, e.g., Ex. 8 (2005 PC
 10   Mag: “[Sonos’s ZonePlayers] can play the same music throughout the house,
 11   perfectly synchronized. Even though that may seem drop-dead simple, other hubs
 12   don’t do it. And you can join multiple rooms to play the same music . . . on the
 13   fly.”).
 14             134. Moreover, it was not well-understood, routine, or conventional at the
 15   time of the inventions of the ‘258 Patent to have a “zone player” configured to
 16   enter into a synchrony group with another “zone player” in which the “zone
 17   players” are configured to playback audio in synchrony based at least on (i) audio
 18   content, (ii) playback timing information associated with the audio content, and
 19   (iii) clock time information for one of the “zone players.” See, e.g., ‘258 Patent at
 20   Claims 1, 11, 17; see also, e.g., Ex. 6 (2013 NBC News: “[Sonos] revolutionized
 21   the home audio world a decade ago . . . . If you wanted the same song in every
 22   room, no problem, the tracks would be perfectly in sync . . . . At the time, this was
 23   mind blowing. Never before could you get music in every room without drilling a
 24   bunch of holes for wires . . . .”).
 25             135. These are just exemplary reasons why the inventions claimed in the
 26   ‘258 Patent were not well-understood, routine, or conventional at the time of their
 27   invention.
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  1         136. The unconventional nature of the ‘258 Patent has also been
  2   confirmed by wide-spread industry praise for the patented technology of the ‘258
  3   Patent as an advancement in the field of home audio, as set forth below.
  4         137. Notably, the Patent Trial and Appeal Board recently confirmed that
  5   the ‘258 Patent is directed not just to unconventional implementations but to truly
  6   innovative audio technology. In this regard, the PTAB specifically found that
  7   inventions claimed in Sonos’s Patent No. 9,213,357 – which cover similar subject
  8   matter as the inventions claimed in the ‘258 Patent – would not have been obvious
  9   at the time of their invention. See Ex. 57 at pp. 6-7.
 10         138. Moreover, the innovative and unconventional nature of the ‘258
 11   Patent was confirmed by the validity findings in the D&M Litigation. See Ex. 50.
 12      The Inventions Claimed in U.S. Patent No. 9,195,258 Provide Important
 13                        Advantages to Wireless Audio Systems
 14         139. The grouping and synchronization technology of the ‘258 Patent
 15   provides significant advantages that are important to wireless audio systems. The
 16   advantages of Sonos’s patented grouping and synchronization technology are
 17   reflected in the recognition and praise it has received from the press. For
 18   example, in 2005, shortly after Sonos released its first commercial products, PC
 19   Magazine touted the Sonos system for its ability to “play the same music
 20   throughout the house, perfectly synchronized.” See Ex. 8. Similarly, in 2005, The
 21   Wall Street Journal praised Sonos’s system for the ability to “play . . . the same
 22   songs, in each room simultaneously.” See Ex. 58. As another example, in 2013,
 23   Macworld exclaimed: “Sonos is the gold standard when it comes to multi-room
 24   audio . . . you can drive the system from any computer or handheld device,
 25   playing music in sync throughout the house . . . .” See Ex. 59. Likewise, in 2013,
 26   NBC News praised Sonos’s patented synchronization technology as “mind
 27   blowing.” See Ex. 6 (“If you’re not familiar with Sonos, this company
 28   revolutionized the home audio world a decade ago when it launched the first

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  1   (rather expensive) Sonos kits . . . . If you wanted the same song in every room, no
  2   problem, the tracks would be perfectly in sync . . . . At the time, this was mind
  3   blowing. Never before could you get music in every room without drilling a
  4   bunch of holes for wires . . . .”).
  5          140. Recognizing the advantages of Sonos’s patented grouping and
  6   synchronization technology, competitors in the industry, including Google, have
  7   incorporated Sonos’s patented technology into their products and marketed the
  8   features that the technology enables to their customers. For example, as set forth
  9   above, when Google updated its first wireless audio product – the Chromecast
 10   Audio – to include multi-room audio functionality, Google proclaimed that
 11   “[n]ow you can easily fill every room in your home—bedroom, kitchen, living
 12   room, or wherever you have a Chromecast Audio connected—with synchronous
 13   music. Multi-room lets you group Chromecast Audio devices together so you can
 14   listen to the same song on multiple speakers.” See Ex. 20. And when Google
 15   later added multi-room audio to its original Chromecast for video, Google
 16   recognized the customer demand for Sonos’s synchronization: “We heard your
 17   feedback, and the Chromecast team is excited to you [sic] bring Multi-room audio
 18   support for Chromecast devices!” Ex. 60.
 19          141.   As another example, in advertising the “Multi-room audio”
 20   capability of its wireless audio products on its website, Google touts that you can
 21   “[g]roup any combination of Google Home, Chromecast Audio, or speakers with
 22   Chromecast together for synchronous music throughout the home.” See, e.g., Ex.
 23   61. Likewise, Google’s website includes a webpage entitled “Create and manage
 24   speaker groups,” which promotes grouping and synchronized audio playback in
 25   the very first sentence: “Group any combination of Google Nest or Google Home
 26   speakers and displays, Chromecast devices, and speakers with Chromecast built-
 27   in together for synchronous music throughout the home.” See, e.g., Ex. 29.
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  1         142. The media has also recognized the importance of Sonos’s patented
  2   grouping and synchronization technology to Google and its customers. For
  3   instance, Variety called Google’s 2015 multi-room software update for
  4   Chromecast Audio “a major feature update” that allows “[c]onsumers . . . to group
  5   multiple Chromecast audio adapters to stream their favorite music simultaneously
  6   in more than one room . . . .” Ex. 21. As another example, when Google released
  7   the Google Home in 2016, The Verge recognized its ability to play audio in
  8   synchrony with other Google devices as an important feature that provided
  9   Google with an advantage over Amazon: “You can also group multiple Home
 10   units together and play music though all of them simultaneously, similar to how
 11   Sonos works. Amazon doesn’t yet provide this feature with the Echo.” Ex. 24.
 12   Notably, however, Amazon added multi-room to its own products shortly
 13   thereafter in 2017. See Ex. 86 (2017 Amazon Press Release: “New multi-room
 14   music feature lets you group multiple Amazon Echo devices for synchronized
 15   music streaming in every room.”).
 16                               U.S. Patent No. 9,219,959
 17         143. Sonos is the owner of U.S. Patent No. 9,219,959, entitled “Multi
 18   Channel Pairing in a Media System,” which was duly and legally issued by the
 19   USPTO on December 22, 2015. A Reexamination Certificate for the ‘959 Patent
 20   was duly and legally issued by the USPTO on April 5, 2017. A copy of the ‘959
 21   Patent, including the Reexamination Certificate, is attached hereto as Exhibit 3.
 22         144. The ‘959 Patent relates generally to devices and methods for
 23   providing audio in a multi-channel listening environment.
 24         145. As with other of the patents-in-suit, the ‘959 Patent recognized
 25   problems with conventional multi-zone audio systems. For instance, the ‘959
 26   Patent recognized that conventional multi-zone audio systems were based on a
 27   centralized device hard-wired to “individual, discrete speakers” in different rooms
 28   that required “physically connecting and re-connecting speaker wire, for example,

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  1   to individual, discrete speakers to create different configurations.” See, e.g., ‘959
  2   Patent at 6:54-58. Because these conventional multi-zone audio systems were
  3   hard-wired to “individual, discrete speakers,” it was difficult (if not impossible) to
  4   “group, consolidate, and pair” the speakers into different “desired configurations”
  5   without “connecting and re-connecting speaker wire.” See, e.g., id.
  6         146. Thus, the ‘959 Patent recognized a need for technology that could
  7   “provide a more flexible and dynamic platform through which sound reproduction
  8   can be offered to the end-user.” ‘959 Patent at 6:58-61. The claimed inventions
  9   of the ‘959 Patent are directed to technology that provides a solution to such
 10   needs, thereby providing technology that helps “to achieve or enhance a multi-
 11   channel listening environment.” Id. at 2:17-19.
 12    The Inventions Claimed in U.S. Patent No. 9,219,959 Improved Technology
 13              & Were Not Well-Understood, Routine, or Conventional
 14         147. Given the state of the art at the time of the inventions of the ‘959
 15   Patent, including the deficiencies in centralized, hard-wired multi-zone audio
 16   systems of the time that required “physically connecting and re-connecting
 17   speaker wire . . . to create different configurations,” the inventive concepts of the
 18   ‘959 Patent cannot be considered to be conventional, well-understood, or routine.
 19   See, e.g., ‘959 Patent at 6:54-58. The ‘959 Patent provides an unconventional
 20   solution to problems that arose in the context of centralized, hard-wired multi-
 21   zone audio systems – namely, that the technology of such systems made it
 22   difficult (if not impossible) to “group, consolidate, and pair” “individual, discrete
 23   speakers” into different “desired configurations.” See, e.g., id. In this respect,
 24   unlike conventional hard-wired multi-zone audio systems, the ‘959 Patent
 25   provided unconventional technology including a “controller” with a “control
 26   interface” through which “actions of grouping, consolidation, and pairing [were]
 27   performed,” and a “playback device” with processing intelligence capable of
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  1   being dynamically “pair[ed]” with another playback device to simulate “a multi-
  2   channel listening environment.” See e.g., id. at 2:16-19, 6:54-58.
  3          148. In this respect, it was not well-understood, routine, or conventional at
  4   the time of the invention of the ‘959 Patent to have a “playback device”
  5   comprising a network interface and configured to operate in at least both a first
  6   and second “type of pairing.” See, e.g., ‘959 Patent at Claims 4-7, 9-11, 17-20;
  7   see also, e.g., id. at 6:54-58.
  8          149. Moreover, it was not well-understood, routine, or conventional at the
  9   time of the invention of the ‘959 Patent to have a “playback device” configured to
 10   (i) process audio data before the “playback device” outputs audio, (ii) determine
 11   that a type of pairing of the “playback device” comprises one of at least a first
 12   type of pairing or a second type of pairing, (iii) perform a first equalization of the
 13   audio data before outputting audio based on the audio data when the type of
 14   pairing is determined to comprise the first type of pairing, and (iv) perform a
 15   second equalization of the audio data before outputting audio when the type of
 16   pairing is determined to comprise the second type of pairing. See, e.g., ‘959
 17   Patent at Claims 4-7, 9-11, 17-20; see also, e.g., id. at 6:54-58. It was also not
 18   well-understood, routine, or conventional at the time of the invention of the ‘959
 19   Patent to have a “playback device” configured to perform the aforementioned
 20   functions as well as being configured to receive an instruction from a “controller”
 21   over a network for the “playback device” to “pair” with one or more other
 22   “playback devices.” See, e.g., id. at Claim 10; see also, e.g., id. at 6:54-58.
 23          150. These are just exemplary reasons why the inventions claimed in the
 24   ‘959 Patent were not well-understood, routine, or conventional at the time of their
 25   invention.
 26          151. The unconventional nature of the ‘959 Patent has also been
 27   confirmed by wide-spread industry praise for the patented technology of the ‘959
 28   Patent as an advancement in the field of home audio, as set forth below.

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  1         152. Notably, the District Court of Delaware held that the claimed
  2   inventions of the ‘959 Patent are “patent-eligible subject matter under § 101.” Ex.
  3   51 at p. 16. In particular, the district court recognized that the claimed inventions
  4   of the ‘959 Patent represent a “substantial improvement” over the existing
  5   technology. Id. at p. 15.
  6         153. The district court also recognized that the ‘959 Patent’s solutions
  7   cannot be performed solely by a human. See, e.g., id. at p. 15 (“In order to
  8   perform this method manually . . . a person would have to manually rewire the
  9   devices each time a new selection is made for which devices are to output which
 10   channels.”). Indeed, at least because the ‘959 Patent’s claimed solutions address
 11   problems rooted in multi-zone audio systems and facilitate a “pairing” process
 12   with functions not previously performed by humans, these solutions are not
 13   merely drawn to longstanding human activities. See, e.g., id. at p. 15 (“This
 14   simply is not the kind of method that could be performed manually and, even if it
 15   were, automating the method as claimed represents a substantial improvement to
 16   the functionality of a specific device.”).
 17         154. Moreover, the innovative and unconventional nature of the ‘959
 18   Patent was confirmed by the validity findings in the ‘959 Patent reexamination
 19   proceeding. See Ex. 3.
 20      The Inventions Claimed in U.S. Patent No. 9,219,959 Provide Important
 21                        Advantages to Wireless Audio Systems
 22         155. The multi-channel pairing technology of the ‘959 Patent provides
 23   significant advantages that are important to wireless audio systems. The
 24   advantages of Sonos’s multi-channel pairing technology are reflected in the
 25   recognition and praise it has received from the press. For example, in 2010,
 26   around the time that Sonos released its multi-channel pairing technology,
 27   SlashGear praised Sonos’s technology as “a slick way for users . . . to combine
 28   two speakers when they want better sound.” See Ex. 62. Similarly, in 2015,

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  1   Trusted Reviews described Sonos’s multi-channel pairing technology as “[o]ne
  2   particularly nifty feature,” and explained that it allows you to “[p]air up multiple
  3   speakers for better sound.” See Ex. 63; see also Ex. 64 (2014 Consumer Reports:
  4   praising Sonos’s multi-channel pairing technology as providing “a richer, more
  5   detailed sound with wider soundstage.”); Ex. 65 (2014 Businessweek: recognizing
  6   Sonos’s pairing technology as appealing to the “audiophile”); Ex. 66 (2013 What
  7   Hi-Fi: praising Sonos’s pairing technology because “performance is bolstered
  8   significantly. Bass is even more solid, instrument separation improves, smaller
  9   details are picked up with more confidence and sound can go noticeably louder
 10   without distortion.”).
 11         156. Recognizing the advantages of Sonos’s patented multi-channel
 12   pairing technology, competitors in the industry, including Google, have
 13   incorporated Sonos’s technology into their products and marketed the features
 14   that the technology enables to their customers. For example, to market the
 15   Google Home Max on its website, Google includes a product webpage touting
 16   that you can “[w]irelessly pair two for room-filling stereo separation” for “[a]n
 17   even wider stereo image.” Ex. 67. To illustrate this, Google provides the
 18   following image:
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 26         157. Id. Likewise, Google’s Home Max product webpage also notes the
 27   “[w]ireless stereo pairing” functionality in the “Tech Specs” section. Ex. 68.
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  1         158. As another example, Google’s website included a webpage entitled
  2   “Pair Google Home Max speakers,” which proclaims that “[y]ou can pair two
  3   Google Home Max speakers (devices) for stereo sound and an immersive
  4   experience for music and casting,” and explains how to “[p]air the speakers” and
  5   “[c]ontrol the speaker pair.” Ex. 69.
  6         159. And yet further, Google’s press release for the launch of the Google
  7   Home Max in 2017 announced that “[y]ou can even wirelessly pair two Maxes
  8   together for stereo sound.” Ex. 70.
  9         160. The media has also recognized the importance of Sonos’s patented
 10   multi-channel pairing technology to Google and its customers. For instance,
 11   when Google released the Home Max in 2017, Engadget cited the Home Max’s
 12   stereo pairing capability in comparing it to Sonos’s competing speakers and
 13   observed that “pairing two Home Max speakers in stereo . . . greatly extend[s] the
 14   soundstage.” Ex. 71. Engadget also observed that “[t]he Home Max provides a
 15   stellar music experience, particularly in a stereo pair.” Id. Similarly, Digital
 16   Trends observed that the Home Max is “impressive when you pair one Max with
 17   another for stereo audio.” Ex. 72; see also, e.g., Ex. 73 (2017 The Verge: “You
 18   can buy two [Google Home Max speakers] and set them up as a pair.”).
 19         161. In the same vein, when Google recently announced that it will be
 20   upgrading its Google Home and Home Mini to support stereo pairing, 9to5Google
 21   recognized that “Google is expanding stereo speaker pairing to the original
 22   Google Home and Google Home Mini” and called stereo pairing “[o]ne of the
 23   best features.” Ex. 74. Likewise, in response to Google’s recent announcement,
 24   Digital Trends published an article entitled “Finally, stereo speaker pairing comes
 25   to the Google Home and Home Mini,” which explained that stereo pairing is part
 26   of “[t]he beauty of having Google smart home devices.” Ex. 75.
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  1                               U.S. Patent No. 10,031,715
  2         162. Sonos is the owner of U.S. Patent No. 10,031,715, entitled “Method
  3   and Apparatus for Dynamic Master Device Switching in a Synchrony Group,”
  4   which was duly and legally issued by the USPTO on July 24, 2018. A copy of the
  5   ‘715 Patent is attached hereto as Exhibit 109.
  6         163. The ‘715 Patent is related to the ‘258 Patent and shares a common
  7   specification and ultimate priority claim.
  8         164. The ‘715 Patent is directed to devices, methods, and computer-
  9   readable media for dynamically delegating a “master” role within a synchrony
 10   group of “zone players.”
 11         165. Sonos incorporates by reference and re-alleges the foregoing
 12   paragraph numbers 126-30 of this First Amended Complaint as if fully set forth
 13   herein.
 14   The Inventions Claimed in U.S. Patent No. 10,031,715 Improved Technology
 15              & Were Not Well-Understood, Routine, or Conventional
 16         166. Sonos incorporates by reference and re-alleges the foregoing
 17   paragraph numbers 131-38 of this First Amended Complaint as if fully set forth
 18   herein.
 19         167. Like the inventions claimed in the ‘258 Patent, the inventions
 20   claimed in the ‘715 Patent improved technology and were not well-understood,
 21   routine, or conventional. In this respect, the ‘715 Patent provides an
 22   unconventional solution to problems that arose in Sonos’s unconventional system
 23   architecture comprising “zone players” that communicated over a data network –
 24   namely, that operating conditions affecting “zone players” in a “synchrony group”
 25   can inhibit performance of certain roles within the “synchrony group” and/or
 26   synchronous playback by the group. See, e.g., ‘715 Patent, 8:38-52, 10:60-11:4,
 27   13:32-36, 37:12-18.
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  1         168. At the core of the ‘715 Patent are unconventional system components
  2   – “zone players” and a “controller device” that operate on a data network. Each
  3   “zone player” was unconventionally equipped with intelligence enabling it to
  4   perform a “master device role” for the “synchrony group.” See, e.g., ‘715 Patent,
  5   6:58-7:3, 8:2-26, 8:31-38, Claims 1, 7, 13. While performing the “master device
  6   role,” the “zone player” was unconventionally capable of dynamically delegating
  7   the “master device role” to another “zone player” in the “synchrony group.” See,
  8   e.g., ‘715 Patent, 8:38-9:4, 10:60-11:4, 13:22-36, 16:3-18:15, Claims 1, 7, 13.
  9         169. Indeed, it was not well-understood, routine, or conventional at the
 10   time of the inventions of the ‘715 Patent to have a “zone player” programmed to
 11   perform a “master device role” for a “synchrony group” in which the “zone
 12   player” was configured to control synchronous playback of audio information by
 13   the group responsive to playback commands received from a “controller device.”
 14   See, e.g., ‘715 Patent, Claims 1, 7, 13.
 15         170. Moreover, it was not well-understood, routine, or conventional at the
 16   time of the inventions of the ‘715 Patent to have a “zone player” programmed
 17   such that, while performing the “master device role,” it would evaluate one or
 18   more “operational performance metrics” as a basis to delegate the “master device
 19   role” to another “zone player” in the “synchrony group” and thereafter, transition
 20   to performing a different role in the “synchrony group.” See, e.g., ‘715 Patent,
 21   Claims 1, 7, 13.
 22         171. These are just exemplary reasons why the inventions claimed in the
 23   ‘715 Patent were not well-understood, routine, or conventional at the time of their
 24   invention.
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  1     The Inventions Claimed in U.S. Patent No. 10,031,715 Provide Important
  2                        Advantages to Wireless Audio Systems
  3         172. Sonos incorporates by reference and re-alleges the foregoing
  4   paragraph numbers 139-42 of this First Amended Complaint as if fully set forth
  5   herein.
  6         173. Moreover, the dynamic master-delegation technology of the ‘715
  7   Patent provides advantages that are important to wireless audio systems. In fact,
  8   recognizing the advantages of Sonos’s patented dynamic master-delegation
  9   technology, competitors in the industry, including Google, have incorporated
 10   Sonos’s patented technology into their products and touted the benefits that the
 11   technology enables. For example, while publicly testifying, Google’s engineers
 12   touted the “adaptive,” “automatic” (“without user intervention”) and “resilient”
 13   characteristics of Google’s accused “leader election” feature that infringes the
 14   ‘715 Patent. See, e.g., Ex. 122, 1247:2-7, 1251:3-1252:9; id., 1300:16-1301:4.
 15                              U.S. Patent No. 10,209,953
 16         174. Sonos is the owner of U.S. Patent No. 10,209,953, entitled “Playback
 17   Device,” which was duly and legally issued by the USPTO on February 19, 2019.
 18   A copy of the ‘953 Patent is attached hereto as Exhibit 4.
 19         175. The ‘953 Patent is related to the ‘258 Patent and ‘715 Patent and
 20   shares a common specification and ultimate priority claim.
 21         176. The ‘953 Patent is directed to devices, methods, and computer-
 22   readable media for synchronizing audio playback.
 23         177. Sonos incorporates by reference and re-alleges the foregoing
 24   paragraph numbers 126-30 of this First Amended Complaint as if fully set forth
 25   herein.
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  1   The Inventions Claimed in U.S. Patent No. 10,209,953 Improved Technology
  2              & Were Not Well-Understood, Routine, or Conventional
  3         178. Sonos incorporates by reference and re-alleges the foregoing
  4   paragraph numbers 131-38 of this First Amended Complaint as if fully set forth
  5   herein.
  6         179. Like the inventions claimed in the ‘258 Patent, the inventions
  7   claimed in the ‘953 Patent improved technology and were not well-understood,
  8   routine, or conventional.
  9         180. Indeed, it was not well-understood, routine, or conventional at the
 10   time of the invention of the ‘953 Patent to have a “zone player” configured to
 11   receive a request for the “zone player” to enter into a synchrony group with at
 12   least one other “zone player” and in response to receiving such a request, enter
 13   into the synchrony group in which the “zone player” is selected to begin operating
 14   as a “slave” of the synchrony group. See, e.g., ‘953 Patent at Claims 1, 7, 25; see
 15   also, e.g., Ex. 8 (2005 PC Mag: “[Sonos’s ZonePlayers] can play the same music
 16   throughout the house, perfectly synchronized. Even though that may seem drop-
 17   dead simple, other hubs don’t do it. And you can join multiple rooms to play the
 18   same music . . . on the fly.”).
 19         181. Moreover, it was not well-understood, routine, or conventional at the
 20   time of the invention of the ‘953 Patent to have a “zone player” that, after
 21   beginning to operate as a “slave” of a synchrony group, functions to (i) receive,
 22   from another “zone player” operating as a “master” of the synchrony group over a
 23   local area network (LAN), clock timing information and (ii) based on the received
 24   clock timing information, determine a differential between the clock time of the
 25   “zone player” and the clock time of the “master” “zone player.” See, e.g., ‘953
 26   Patent at Claims 1, 7, 25; see also, e.g., Ex. 6 (2013 NBC News: “[Sonos]
 27   revolutionized the home audio world a decade ago . . . . If you wanted the same
 28   song in every room, no problem, the tracks would be perfectly in sync . . . . At the

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  1   time, this was mind blowing. Never before could you get music in every room
  2   without drilling a bunch of holes for wires . . . .”).
  3         182. Further yet, it was not well-understood, routine, or conventional at
  4   the time of the invention of the ‘953 Patent to have a “zone player” that, after
  5   beginning to operate as a “slave” of a synchrony group, functions to receive, from
  6   another “zone player” operating as a “master” of the synchrony group over a
  7   LAN, (a) audio information for an audio track and (b) playback timing
  8   information associated with the audio information for the audio track that
  9   comprises an indicator of a future time at which the “zone players” are to initiate
 10   synchronous playback of the audio information. See, e.g., ‘953 Patent at Claims
 11   1, 7, 25; see also, e.g., Ex. 6. It was also not well-understood, routine, or
 12   conventional at the time of the invention of the ‘953 Patent to have a “zone
 13   player” that, after beginning to operate as a “slave” of a synchrony group,
 14   functions to perform the aforementioned operations as well as functions to (i)
 15   update the future time to account for a determine differential between the clock
 16   time of the “zone player” and the clock time of the “master” “zone player” and
 17   (ii) initiate synchronous playback of the received audio information with the
 18   “master” “zone player” when the clock time of the “zone player” reaches the
 19   updated future time. See, e.g., ‘953 Patent at Claims 1, 7, 25; see also, e.g., Ex. 6.
 20         183. These are just exemplary reasons why the inventions claimed in the
 21   ‘953 Patent were not well-understood, routine, or conventional at the time of their
 22   invention.
 23         184. As with the ‘258 Patent, the unconventional nature of the ‘953 Patent
 24   has also been confirmed by wide-spread industry praise for the patented
 25   technology of the ‘953 Patent as an advancement in the field of home audio.
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  1     The Inventions Claimed in U.S. Patent No. 10,209,953 Provide Important
  2                        Advantages to Wireless Audio Systems
  3         185. Sonos incorporates by reference and re-alleges the foregoing
  4   paragraph numbers 139-42 of this First Amended Complaint as if fully set forth
  5   herein.
  6         186. As with the ‘258 Patent, the synchronization technology of the ‘953
  7   Patent provides significant advantages that are important to wireless audio
  8   systems, as reflected in the recognition and praise it has received from the
  9   press/media and competitors in the industry including Google.
 10                               U.S. Patent No. 10,439,896
 11         187. Sonos is the owner of U.S. Patent No. 10,439,896, entitled “Playback
 12   Device Connection,” which was duly and legally issued by the USPTO on
 13   October 8, 2019. A copy of the ‘896 Patent is attached hereto as Exhibit 5.
 14         188. The ‘896 Patent relates generally to devices, methods, and computer-
 15   readable media for connecting a “zone player” (or “playback device”) to a secure
 16   wireless local area network (WLAN), thereby setting up the zone player for use in
 17   a networked audio system.
 18         189. The ‘896 Patent recognized problems with conventional device-setup
 19   technology for connecting “consumer electronic devices” (e.g., “home
 20   entertainment products”) to a network. See, e.g., ‘896 Patent at 1:37-67. For
 21   instance, the ‘896 Patent recognized that “[c]onsumer electronic devices that
 22   operate using wireless or wired Ethernet standards are often subject to the same
 23   complicated set-up process as a wireless computer network.” Id. at 1:37-39.
 24         190. Indeed, a conventional setup process typically required “the person
 25   who sets up the wireless network [to] have at least some knowledge about IP
 26   (Internet Protocol) networking and Ethernet (e.g., 802.3, 802.11), such as
 27   addressing, security, broadcast, unicast, etc.” Id. at 1:40-43. At the time of the
 28   inventions of the ‘896 Patent, typically only “IT professionals” possessed such

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  1   knowledge. Id. at 1:43-46. In this respect, to connect a computer to a wireless
  2   network, “the user [had] to know what type of network the computer [was] going
  3   to be connected to,” which was a “difficult question [for] the average consumers”
  4   to answer. Id. at 1:57-63. Moreover, there were additional “questions or options
  5   related to [] security settings [] which evidently require[d] some good
  6   understanding about the network security over the wireless network.” Id. at 1:63-
  7   67. Thus, the ‘896 Patent recognized that it was “impractical to require average
  8   consumers to have such knowledge to hook up consumer electronic devices, such
  9   as home entertainment products that use wireless/wired Ethernet connectivity.”
 10   Id. at 1:46-49.
 11         191. The ‘896 Patent also recognized that a device that has yet to be setup
 12   on a network has “limited networking capability” and is not addressable by other
 13   devices, which presents technical challenges as to how that device can receive
 14   information that facilitates the device’s setup to operate on the network. See, e.g.,
 15   ‘896 Patent at 11:4-14.
 16         192. Consequently, the ‘896 Patent recognized that there was “a clear
 17   need to create simple methods of setting up and maintaining a secure
 18   wireless/wired in-home network with minimum human interventions.” Id. at 2:1-
 19   4. The claimed inventions of the ‘896 Patent are directed to technology that
 20   provides a solution to such needs.
 21   The Inventions Claimed in U.S. Patent No. 10,439,896 Improved Technology
 22              & Were Not Well-Understood, Routine, or Conventional
 23         193. Given the state of the art at the time of the inventions of the ‘896
 24   Patent, including the deficiencies in conventional device-setup technology of the
 25   time, the inventive concepts of the ‘896 Patent cannot be considered to be
 26   conventional, well-understood, or routine. See, e.g., ‘896 Patent at 1:37-2:4. The
 27   ‘896 Patent provides an unconventional solution to problems arising in the context
 28   of connecting “consumer electronic devices” (e.g., “home entertainment

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  1   products”) to a network – namely, that such devices, prior to being setup, had
  2   limited networking capabilities and were not network addressable by other
  3   devices and typically operated “using wireless or wired Ethernet standards [that
  4   were] often subject to the same complicated set-up process as a wireless computer
  5   network.” Id. at 1:37-2:4, 11:4-14.
  6          194. In this respect, the ‘896 Patent provided a technological solution that
  7   addressed the limited-networking-capability and addressability problems with
  8   existing setup technologies. See, e.g., ‘896 Patent at 11:4-37. Moreover, unlike
  9   conventional device-setup technology whose complexity made it “impractical” for
 10   “average consumers to . . . hook up consumer electronic devices” to a requisite
 11   data network, the ‘896 Patent provided a technological solution that made it easier
 12   for consumers to connect a consumer electronic device to a data network. See,
 13   e.g., id. at 1:37-67.
 14          195. In this regard, it was not well-understood, routine, or conventional at
 15   the time of the inventions of the ‘896 Patent to have a “computing device”
 16   comprising a graphical user interface (GUI) associated with an application for
 17   controlling one or more “playback devices” and that is configured to facilitate
 18   setting up a “playback device” to operate on a secure wireless local area network
 19   (WLAN). See, e.g., ‘896 Patent at Claims 1, 13, 20.
 20          196. Moreover, it was not well-understood, routine, or conventional at the
 21   time of the inventions of the ‘896 Patent to have a “computing device” configured
 22   to (i) transmit a response to a first message that facilitates establishing with a
 23   “playback device” an “initial communication path” that does not traverse an
 24   access point defining a secure WLAN, (ii) transmit “network configuration
 25   parameters” for the secure WLAN to the “playback device” via the “initial
 26   communication path,” and (iii) transition from communicating with the given
 27   “playback device” via the “initial communication path” to communicating with
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  1   the given “playback device” via the secure WLAN. See, e.g., ‘896 Patent at
  2   Claims 1, 13, 20; see also, e.g., id. at 11:4-37.
  3         197. Additionally, it was not well-understood, routine, or conventional at
  4   the time of the inventions of the ‘896 Patent to have a “computing device”
  5   configured to perform the specific combination of (i) while operating on a secure
  6   WLAN defined by an access point, (a) receiving “user input indicating that a user
  7   wishes to set up a playback device” to operate on the secure WLAN and
  8   (b) receiving a first message indicating that a “given playback device is available
  9   for setup,” (ii) transmitting a response to the first message that facilitates
 10   establishing with the given playback device an “initial communication path” that
 11   does not traverse the access point, (iii) transmitting, to the given “playback
 12   device” via the “initial communication path,” a second message containing
 13   “network configuration parameters” for the secure WLAN, (iv) after detecting an
 14   indication that the given “playback device” has successfully received the
 15   “network configuration parameters,” transitioning from communicating with the
 16   given “playback device” via the “initial communication path” to communicating
 17   with the given “playback device” via the secure WLAN. See, e.g., ‘896 Patent at
 18   Claims 1, 13, 20; see also, e.g., id. at 11:4-37.
 19         198. These are just exemplary reasons why the inventions claimed in the
 20   ‘896 Patent were not well-understood, routine, or conventional at the time of their
 21   invention.
 22         199. The unconventional nature of the ‘896 Patent has also been
 23   confirmed by wide-spread industry praise for the patented technology of the ‘896
 24   Patent as an advancement in the field of home audio, as set forth below.
 25         200. Moreover, the ‘896 Patent’s solutions are naturally rooted in
 26   consumer device-setup technology and cannot be performed solely by a human.
 27   Indeed, the ‘896 Patent’s claimed solutions provide a device-setup process
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  1   comprising functions not previously performed by humans and therefore, are not
  2   merely drawn to longstanding human activities.
  3     The Inventions Claimed in U.S. Patent No. 10,439,896 Provide Important
  4                       Advantages to Wireless Audio Systems
  5         201. The playback-device-setup technology of the ‘896 Patent provides
  6   significant advantages that are important to wireless audio systems. The
  7   advantages of Sonos’s patented playback-device-setup technology are reflected in
  8   the recognition and praise it has received from the press. For example, in 2015,
  9   Ars Technica explained:
 10         There was no convoluted wireless setup, syncing issues, or complex
 11         software to decipher: I simply downloaded the Sonos app on the Google
 12         Play Store, pushed the sync button on the back of the speaker, and it
 13         did the rest. When you can describe the entire setup procedure in a
 14         single sentence, that’s special.
 15   Ex. 76.
 16         202. Likewise, Gizmodo touted Sonos’s patented playback-device-setup
 17   technology as “so easy that anybody can do it.” Ex. 77. And Consumer Reports
 18   explained that Sonos’s playback-device-setup technology is “pretty simple.” Ex.
 19   78.
 20         203. Recognizing the advantages of Sonos’s patented playback-device-
 21   setup technology, competitors in the industry, including Google, have
 22   incorporated Sonos’s patented technology into their products and marketed the
 23   features that the technology enables to their customers. For example, to market its
 24   Google Audio Players on its website, Google includes a dedicated “Setup” tab
 25   that touts how “[g]etting set up is simple.” See, e.g., Ex. 79. As another example,
 26   Google’s website includes a webpage entitled “Set up your Google Nest or
 27   Google Home speaker or display,” which explains that “[t]he Google Home app
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  1   will walk you through the steps to set up your Google Nest or Google Home
  2   speaker or display.” Ex. 80.
  3          204. The media has also recognized the importance of Sonos’s patented
  4   playback-device-setup technology to Google and its customers. For instance,
  5   Android Central published an article entitled “How to set up Google Home and
  6   other Google Assistant speakers,” which touted Google’s setup as a “simple
  7   process.” Ex. 81. Similarly, Tom’s Guide exclaimed that the Google Home Mini
  8   is a “cinch to set up” and further described the setup procedure as “pretty
  9   straightforward.” Ex. 82; see also, e.g., Ex. 83 (2019 CNET article explaining
 10   that “[i]t’s easy to set up your Google Home . . . speaker for the first time”).
 11                                   U.S. Patent No. 11,080,001
 12          205. Sonos is the owner of U.S. Patent No. 11,080,001, entitled
 13   “Concurrent Transmission and Playback of Audio Information,” which was duly
 14   and legally issued by the USPTO on August 3, 2021. A copy of the ‘001 Patent is
 15   attached hereto as Exhibit 110.
 16          206. The ‘001 Patent is related to the ‘258, ‘715, and ‘953 Patents and
 17   shares a common specification and ultimate priority claim.
 18          207. The ‘001 Patent is directed to devices, methods, and computer-
 19   readable media for operating in a synchrony group according to particular master
 20   and/or slave modes.
 21          208. Sonos incorporates by reference and re-alleges the foregoing
 22   paragraph numbers 126-30 of this First Amended Complaint as if fully set forth
 23   herein.
 24   The Inventions Claimed in U.S. Patent No. 11,080,001 Improved Technology
 25               & Were Not Well-Understood, Routine, or Conventional
 26          209. Sonos incorporates by reference and re-alleges the foregoing
 27   paragraph numbers 131-38, 166-71, and 178-84 of this First Amended Complaint
 28   as if fully set forth herein.

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  1         210. Like the inventions claimed in the ‘258, ‘715, and ‘953 Patents, the
  2   inventions claimed in the ‘001 Patent improved technology and were not well-
  3   understood, routine, or conventional. In this respect, the ‘001 Patent provides an
  4   unconventional solution to problems that arose in Sonos’s unconventional system
  5   architecture comprising “zone players” that communicated over a data network –
  6   namely, that there were various responsibilities to be performed in a “synchrony
  7   group” of such “zone players.” See, e.g., ‘001 Patent, 6:58-7:3, 8:2-9:36.
  8         211. As with the ‘258, ‘715, and ‘953 Patents, at the core of the ‘001
  9   Patent are aspects of Sonos’s unconventional system architecture – “zone players”
 10   and a “network device” (e.g., controller) that operate on a data network. Each
 11   “zone player” was unconventionally equipped with intelligence enabling it to
 12   operate in a “synchrony group” in either a “control-master mode” or “control-
 13   slave mode” and in either an “audio-master mode” or “audio-slave mode.” See,
 14   e.g., ‘001 Patent at 6:58-7:3, 8:2-9:36, Claims 1, 12, 23.
 15         212. In this respect, it was not well-understood, routine, or conventional at
 16   the time of the inventions of the ‘001 Patent to have a “zone player” configured to
 17   interface with a data network and receive a request to engage in synchronous
 18   playback of audio content as part of a synchrony group. See, e.g., ‘001 Patent at
 19   Claims 1, 12, 23.
 20         213. Moreover, it was not well-understood, routine, or conventional at the
 21   time of the inventions of the ‘001 Patent to have a “zone player” configured to,
 22   after receiving a request to engage in synchronous playback of audio content as
 23   part of a synchrony group, operate in the synchrony group in accordance with a
 24   detected indication that the “zone player” is to operate in either a “control-master
 25   mode” or “control-slave mode” for the synchrony group and in either an “audio-
 26   master mode” or “audio-slave mode” for the synchrony group. See, e.g., ‘001
 27   Patent at Claims 1, 12, 23.
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  1         214. It was also not well-understood, routine, or conventional at the time
  2   of the inventions of the ‘001 Patent to have a “zone player” programmed such
  3   that, while operating in the “control-master mode,” it functions to cause, via its
  4   network interface, at least one playback action to be applied in a synchrony group
  5   based on received control information for the synchrony group from a network
  6   device. See, e.g., ‘001 Patent at Claims 1, 12, 23.
  7         215. Additionally, it was not well-understood, routine, or conventional at
  8   the time of the inventions of the ‘001 Patent to have a “zone player” programmed
  9   such that, while operating in the “control-slave mode,” it functions to perform one
 10   or more playback actions in accordance with received control information from
 11   another “zone player.” See, e.g., ‘001 Patent at Claims 1, 12, 23.
 12         216. Furthermore, it was not well-understood, routine, or conventional at
 13   the time of the inventions of the ‘001 Patent to have a “zone player” programmed
 14   such that, while operating in the “audio-master mode,” it functions to (i) obtain
 15   audio information representative of audio content, (ii) generate playback timing
 16   information indicative of at least one future time relative to a reference clock time
 17   that denotes a time at which the “zone player” and at least one other “zone player”
 18   are to engage in synchronous playback of a corresponding portion of the obtained
 19   audio information, and (iii) transmit the audio information and the playback
 20   timing information to the other “zone player.” See, e.g., ‘001 Patent at Claims 1,
 21   12, 23.
 22         217. Further still, it was not well-understood, routine, or conventional at
 23   the time of the inventions of the ‘001 Patent to have a “zone player” programmed
 24   such that, while operating in the “audio-slave mode,” it functions to (i) receive
 25   audio information and associated playback timing information from another “zone
 26   player” and (ii) engage in synchronous playback of the received audio information
 27   with at least the other “zone player” based on the associated playback timing
 28   information. See, e.g., ‘001 Patent at Claims 1, 12, 23.

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  1         218. These are just exemplary reasons why the inventions claimed in the
  2   ‘001 Patent were not well-understood, routine, or conventional at the time of their
  3   invention.
  4     The Inventions Claimed in U.S. Patent No. 11,080,001 Provide Important
  5                          Advantages to Wireless Audio Systems
  6         219. Sonos incorporates by reference and re-alleges the foregoing
  7   paragraph numbers 139-42 and 173 of this First Amended Complaint as if fully
  8   set forth herein.
  9         220. As with the ‘258, ‘715, and ‘953 Patents, the synchrony-group
 10   operating-modes technology of the ‘001 Patent provides advantages that are
 11   important to wireless audio systems. In fact, recognizing the advantages of
 12   Sonos’s patented synchrony-group operating-modes technology, competitors in
 13   the industry, including Google, have incorporated Sonos’s patented technology
 14   into their products.
 15           COUNT I: INFRINGEMENT OF U.S. PATENT NO. 7,571,014
 16         221. Sonos incorporates by reference and re-alleges paragraphs 85-109 of
 17   this First Amended Complaint as if fully set forth herein.
 18         222. Google and/or users of the Google Wireless Audio System have
 19   directly infringed (either literally or under the doctrine of equivalents) and
 20   continue to directly infringe one or more of the claims of the ‘014 Patent, in
 21   violation of 35 U.S.C. § 271(a), by making, using, offering for sale, and/or selling
 22   the Google Wireless Audio System within the United States and/or importing the
 23   Google Wireless Audio System into the United States without authority or
 24   license.
 25         223. As just one non-limiting example, set forth below is an exemplary
 26   infringement claim chart for claim 25 of the ‘014 Patent in connection with the
 27   Google Wireless Audio System. This claim chart is based on publicly available
 28   information. Sonos reserves the right to modify this claim chart, including, for

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  1   example, on the basis of information about the Google Wireless Audio System
  2   that it obtains during discovery.
  3
                     Claim 25                                    Google
  4       [25.0] An apparatus for         At least each smartphone, tablet, and computer
  5       controlling a plurality of      installed with the Google Home app, the YouTube
          players, the apparatus          Music app, and/or the Google Play Music app
  6       comprising:                     (where a computing device installed with at least
  7                                       one of these apps is referred to herein as a
                                          “Chromecast-enabled computing device”4
  8                                       comprises an “apparatus for controlling a plurality
  9                                       of players,” as recited in claim 25. See, e.g., Exs.
                                          40-43, 87-92. At least each Chromecast,
 10                                       Chromecast Ultra, Chromecast Audio, Chromecast
 11                                       with Google TV, Google TV Streamer (4K), Pixel
                                          Tablet with Charging Speaker Dock, Home Mini,
 12                                       Nest Mini, Home, Home Max, Home Hub, Nest
 13                                       Hub, Nest Hub Max,5 Nest Audio, and Nest Wifi
                                          Point comprises a “player,” as recited in claim 25.
 14       [25.1] a screen;                Each Chromecast-enabled computing device and
 15                                       Hub Audio Player comprises a screen. See, e.g.,
                                          Exs. 40-43, 87-92
 16       [25.2] a screen driver          Each Chromecast-enabled computing device and
 17       commanding the screen;          Hub Audio Player comprises a screen driver
 18
      4
 19     Each of the Pixel 3, Pixel 3 XL, Pixel 3a, Pixel 3a XL, Pixel 4, Pixel 4 XL, Pixel
      4a, Pixel 4a (5G), Pixel 5, Pixel 5a, Pixel 6, Pixel 6 Pro, Pixel 6a, Pixel 7, Pixel 7
 20   Pro, Pixel 7a, Pixel Fold, Pixel 8, Pixel 8 Pro, Pixel 8a, Pixel 9, Pixel 9 Pro, Pixel
      9 Pro XL, and Pixel 9 Pro Fold phones, the Pixel Slate and Pixel Tablet tablets, and
 21   the Pixelbook and Pixelbook Go laptops installed with an Android version of the
      Google Home app, the YouTube Music app, and/or the Google Play Music app is
 22   an example of a “Chromecast-enabled computing device.” Likewise, each other
 23   smartphone, tablet, and computer installed with an Android or iOS version of the
      Google Home app, the YouTube Music app, and/or the Google Play Music app is
 24   an example of a “Chromecast-enabled computing device,” including by way of
      example, Apple and Samsung phones and tablets.
 25   5
        In addition to being configured as a “player,” as recited in claim 25, each Home
 26   Hub, Nest Hub, and Nest Hub Max (referred to herein as a “Hub Audio Player”) is
      installed with Home/Nest Hub software such that the given Hub Audio Player is
 27   configured as an “apparatus for controlling a plurality of players,” as recited in
      claim 25, that is capable of facilitating forming and controlling one or more groups
 28   of two or more Google Audio Players.
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  1             Claim 25                                    Google
  2                                  commanding the screen. See, e.g., Exs. 40-43, 87-
                                     92.
  3   [25.3] an input interface;     Each Chromecast-enabled computing device and
  4                                  Hub Audio Player comprises an input interface,
                                     such as a touch screen, physical buttons, etc. See,
  5                                  e.g., Exs. 40-43, 87-92.
  6   [25.4] a network interface;    Each Chromecast-enabled computing device and
                                     Hub Audio Player comprises a network interface,
  7                                  such as a WiFi interface. See, e.g., Exs. 40-43, 87-
  8                                  92.
      [25.5] a memory for storing    Each Chromecast-enabled computing device and
  9
      code for an application        Hub Audio Player comprises a memory for storing
 10   module;                        code for an application module. See, e.g., Exs. 34-
                                     43, 87-92.
 11
      [25.6] a processor coupled to Each Chromecast-enabled computing device and
 12   the memory, the input          Hub Audio Player comprises a processor coupled
      interface, the screen driver   to the memory, the input interface, the screen
 13
      and the network interface, the driver and the network interface, the processor
 14   processor executing the code executing the code in the memory to cause the
      in the memory to cause the     application module and the screen driver to
 15
      application module and the     perform the operations identified below. See, e.g.,
 16   screen driver to perform       Exs. 40-43, 87-92.
      operations of:
 17
      [25.7] displaying on a screen Each Chromecast-enabled computing device and
 18   a first list showing at least  Hub Audio Player is programmed with the
 19   available players;             capability to display on a screen a first list showing
                                     at least available Google Audio Players.
 20
 21                                   As an example, each Chromecast-enabled
                                      computing device and Hub Audio Player is
 22                                   programmed with the capability to display on its
 23                                   screen a list showing at least available Google
                                      Audio Players in a Google Wireless Audio System.
 24
 25                                   This functionality is evidenced by the exemplary
                                      screenshots/images below:
 26
 27                                   Google Home app

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  1            Claim 25                                   Google
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  1            Claim 25                                   Google
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  1            Claim 25                                   Google
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 25                                YouTube Music app
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  1            Claim 25                                   Google
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 25                                Google Play Music app
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  1            Claim 25                                   Google
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 14                                Hub Audio Player

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  1            Claim 25                                   Google
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 11                                 See also, e.g., Exs. 93, 123, 124.
      [25.8] displaying a zone      Each Chromecast-enabled computing device and
 12   group including players from Hub Audio Player is programmed with the
 13   the available players when at capability to display a zone group including
      least two of the available    Google Audio Players from the available Google
 14   players are selected to form  Audio Players when at least two of the available
 15   the zone group, wherein any Google Audio Players are selected to form the
      one of the players in the     zone group, wherein any one of the Google Audio
 16   group serves as a zone group Players in the group serves as a zone group head.
 17   head;
                                    As an example, each Chromecast-enabled
 18                                 computing device and Hub Audio Player is
 19                                 programmed with the capability to facilitate the
                                    formation and control of a group of two or more
 20                                 Google Audio Players that are configured to play
 21                                 back audio in synchrony. See, e.g., Ex. 29 (“Group
                                    any combination of Google Nest or Google Home
 22                                 speakers and displays, Chromecast devices, and
 23                                 speakers with Chromecast built-in together for
                                    synchronous music throughout the home. Your
 24                                 favorite music and audio from Chromecast-enabled
 25                                 apps are instantly available to stream.”);
                                    125(“Group any combination of Google Nest or
 26                                 Home speakers and displays, Google streaming
 27                                 devices, and Google Pixel Tablets together for
                                    synchronous media throughout the home. You can
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  1            Claim 25                                   Google
  2                                create pre-set speaker groups you use often or use
                                   the mini-player to add, remove, or move speakers
  3                                when playing media.”); Exs. 20, 61, 84, 93-94,
  4                                104, 106, 123, 124.
  5                                In such a group, one of the Google Audio Players
  6                                will be designated to serve as the “master” of the
                                   group (sometimes referred to by Google as the
  7                                “leader” of the group), which constitutes a “zone
  8                                group head,” and every other Google Audio Player
                                   will be designated to serve as a “slave” of the
  9                                group (sometimes referred to by Google as a
 10                                “follower” of the group). See, e.g., Ex. 122,
                                   1277:10-13, 1278:1-6.
 11
 12                                In this regard, each Chromecast-enabled
                                   computing device and Hub Audio Player is
 13                                programmed such that, after two or more Google
 14                                Audio Players in a Chromecast-enabled audio
                                   system have been selected to form a group, the
 15                                Chromecast-enabled computing device or Hub
 16                                Audio Player functions to display a visual
                                   representation of the group on various app pages at
 17                                various times.
 18
                                   This functionality is evidenced by the exemplary
 19
                                   screenshots/images below:
 20
                                   Google Home app
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  1            Claim 25                                   Google
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  1            Claim 25                                   Google
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  1            Claim 25                                   Google
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 25                                YouTube Music app
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  1            Claim 25                                   Google
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 25                                Google Play Music app
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  1            Claim 25                                   Google
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 14                                Hub Audio Player

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  1             Claim 25                                   Google
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 10   [25.9] synchronizing all       Each Chromecast-enabled computing device and
 11   players in the zone group in   Hub Audio Player is programmed with the
      accordance with the zone       capability to synchronize all Google Audio players
 12   group head; and                in a zone group in accordance with the zone group
 13                                  head.
 14                                  As an example, each Chromecast-enabled
 15                                  computing device and Hub Audio Player is
                                     programmed with the capability to cause Google
 16                                  Audio players in a group to engage in synchronous
 17                                  playback of audio in accordance with the “master”
                                     Google Audio player of the group, which transmits
 18                                  information to each “slave” Google Audio player
 19                                  in the group that facilitates the synchronous
                                     playback of the audio. See, e.g., Ex. 29 (“Group
 20                                  any combination of Google Nest or Google Home
 21                                  speakers and displays, Chromecast devices, and
                                     speakers with Chromecast built-in together for
 22                                  synchronous music throughout the home. Your
 23                                  favorite music and audio from Chromecast-enabled
                                     apps are instantly available to stream.”); Ex. 125
 24                                  (“Group any combination of Google Nest or Home
 25                                  speakers and displays, Google streaming devices,
                                     and Google Pixel Tablets together for synchronous
 26                                  media throughout the home. You can create pre-
 27                                  set speaker groups you use often or use the mini-
                                     player to add, remove, or move speakers when
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  1            Claim 25                                    Google
  2                                 playing media.”); Exs. 20, 61, 84, 93-94, 104, 106,
                                    123, 124; Ex. 122, 1259:20-1260:5, 1268:23-
  3                                 1269:8, 1300:6-15, 1315:5-10.
  4   [25.10] adjusting a volume    Each Chromecast-enabled computing device and
      meter represented by an       Hub Audio Player is programmed with the
  5   averaged value of audio       capability to adjust a volume meter represented by
  6   volumes of the players in the an averaged value of audio volumes of Google
      group, wherein said adjusting Audio players in a group, wherein said adjusting of
  7   of the volume meter includes the volume meter includes changing a volume of
  8   changing a volume of each of each of the group of Google Audio players
      the group of players          synchronously in accordance with an adjustment
  9   synchronously in accordance made by a user.
 10   with an adjustment made by
      a user.                       As an example, each Chromecast-enabled
 11                                 computing device and Hub Audio Player is
 12                                 programmed with the capability to display a
                                    volume meter representing a “group volume” for
 13                                 the Google Audio players in the group, where the
 14                                 “group volume” meter is represented by an
                                    averaged value of the individual volumes of the
 15
                                    Google Audio players in the group. Each
 16                                 Chromecast-enabled computing device and Hub
                                    Audio Player is also programmed with the
 17
                                    capability to adjust the “group volume” meter for
 18                                 the Google Audio players in the group, which
                                    includes changing the individual volume of each
 19
                                    Google Audio player in the group synchronously
 20                                 in accordance with an adjustment made by a user.
                                    See, e.g., Ex. 55 (“When casting to a group, there
 21
                                    are two ways to change the volume: 1. Changing
 22                                 the group volume. This action will change the
                                    volume of all speakers within the group.”)
 23
                                    (emphasis in original); Ex. 126 [Google Cast for
 24                                 Audio Multi-room Certification Test Specification
                                    Version 6.3] (“The group volume level is a single
 25
                                    volume scale representing the group. In an active
 26                                 cast session it can be modified by the audio source,
                                    e.g. the content app, or in the Google Home app
 27
                                    (on Android). The group volume level is the
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  1            Claim 25                                Google
  2                                average of all member’s logical volume level.”);
                                   Exs. 84, 123-125.
  3
  4                                This functionality is evidenced by the exemplary
                                   screenshots/images below:
  5
  6                                Google Home app
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  1            Claim 25                                   Google
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  1            Claim 25                                   Google
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 25                                YouTube Music app
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  1            Claim 25                                   Google
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 25                                Google Play Music app
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  1            Claim 25                                   Google
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 13                                Hub Audio Player
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  1            Claim 25                                   Google
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  1              Claim 25                                     Google
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 11         224. Additionally and/or alternatively, Google has indirectly infringed and
 12   continues to indirectly infringe one or more claims of the ‘014 Patent, in violation
 13   of 35 U.S.C. § 271(b), by actively inducing users of the Google Wireless Audio
 14   System to directly infringe one or more claims of the ‘014 Patent. In particular,
 15   (a) Google had actual knowledge of the ‘014 Patent or was willfully blind to its
 16   existence prior to (at least as early as September 2016), and no later than, the
 17   filing of this First Amended Complaint (see ¶¶ 38-71 above), (b) Google
 18   intentionally causes, urges, or encourages users of the Google Wireless Audio
 19   System to directly infringe one or more claims of the ‘014 Patent by promoting,
 20   advertising, and instructing customers and potential customers about the Google
 21   Wireless Audio System and uses thereof, including infringing uses (see Exs. 29,
 22   34-39, 55), (c) Google knows (or should know) that its actions will induce users
 23   of the Google Wireless Audio System to directly infringe one or more claims the
 24   ‘014 Patent, and (d) users of the Google Wireless Audio System directly infringe
 25   one or more claims of the ‘014 Patent. For instance, at a minimum, Google has
 26   supplied and continues to supply the Google Apps to customers while knowing
 27   that installation and/or use of the Google Apps will infringe one or more claims of
 28

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  1   the ‘014 Patent and that Google’s customers then directly infringe one or more
  2   claims of the ‘014 Patent by installing and/or using the Google Apps in
  3   accordance with Google’s product literature. See, e.g., id.
  4         225. As another example, Google has supplied and continues to supply
  5   Hub Audio Players to customers while knowing that use of these products will
  6   infringe one or more claims of the ‘014 Patent and that Google’s customers then
  7   directly infringe one or more claims of the ‘014 Patent by using these Hub Audio
  8   Players in accordance with Google’s product literature. See, e.g., Exs. 29, 84.
  9         226. Additionally and/or alternatively, Google has indirectly infringed and
 10   continues to indirectly infringe one or more of the claims of the ‘014 Patent, in
 11   violation of 35 U.S.C. § 271(c), by offering to sell or selling within the United
 12   States, and/or importing into the United States, components in connection with the
 13   Google Wireless Audio System that contribute to the direct infringement of the
 14   ‘014 Patent by users of the Google Wireless Audio System. In particular, (a)
 15   Google had actual knowledge of the ‘014 Patent or was willfully blind to its
 16   existence prior to (at least as early as September 2016), and no later than, the
 17   filing of this First Amended Complaint (see ¶¶ 38-71 above), (b) Google offers
 18   for sale, sells, and/or imports, in connection with the Google Wireless Audio
 19   System, one or more material components of the invention of the ‘014 Patent that
 20   are not staple articles of commerce suitable for substantial noninfringing use, (c)
 21   Google knows (or should know) that such component(s) were especially made or
 22   especially adapted for use in an infringement of the ‘014 Patent, and (d) users of
 23   devices that comprise such material component(s) directly infringe one or more
 24   claims of the ‘014 Patent. For instance, at a minimum, Google offers for sale,
 25   sells, and/or imports the Google Apps for installation on devices (e.g.,
 26   smartphones, tablets, and computers) that meet one or more claims of the ‘014
 27   Patent. See, e.g., Exs. 29, 34-39, 55. The Google Apps are material components
 28   of the devices that meet the one or more claims of the ‘014 Patent. Further,

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  1   Google especially made and/or adapted the Google Apps for use in devices that
  2   meet the one or more claims of the ‘014 Patent, and the Google Apps are not a
  3   staple article of commerce suitable for substantial noninfringing use. Google’s
  4   customers then directly infringe the one or more claims of the ‘014 Patent by
  5   installing and/or using the Google Apps on the customers’ devices.
  6         227. As another example, Google offers for sale, sells, and/or imports
  7   software updates for Hub Audio Players that meet one or more claims of the ‘014
  8   Patent. See, e.g., Exs. 29, 84, 85. These software updates are material
  9   components of the Hub Audio Players that meet the one or more claims of the
 10   ‘014 Patent. Further, Google especially made and/or adapted these software
 11   updates for use in the Hub Audio Players that meet the one or more claims of the
 12   ‘014 Patent, and these software updates are not staple articles of commerce
 13   suitable for substantial noninfringing use. Google’s customers then directly
 14   infringe the one or more claims of the ‘014 Patent by installing and using software
 15   updates on the Hub Audio Players.
 16         228. Google’s infringement of the ‘014 Patent is also willful because
 17   Google (a) had actual knowledge of the ‘014 Patent or was willfully blind to its
 18   existence prior to (at least as early as September 2016), and no later than, the
 19   filing of this First Amended Complaint (see ¶¶ 38-71 above), (b) engaged in the
 20   aforementioned activity despite an objectively high likelihood that Google’s
 21   actions constituted infringement of the ‘014 Patent, and (c) this
 22   objectively-defined risk was either known or so obvious that it should have been
 23   known to Google.
 24         229. Additional allegations regarding Google’s pre-suit knowledge of the
 25   ‘014 Patent and willful infringement will likely have evidentiary support after a
 26   reasonable opportunity for discovery.
 27         230. Sonos is in compliance with any applicable marking and/or notice
 28   provisions of 35 U.S.C. § 287 with respect to the ‘014 Patent.

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  1         231. Sonos is entitled to recover from Google all damages that Sonos has
  2   sustained as a result of Google’s infringement of the ‘014 Patent, including,
  3   without limitation, a reasonable royalty and lost profits.
  4         232. Google’s infringement of the ‘014 Patent was and continues to be
  5   willful and deliberate, entitling Sonos to enhanced damages.
  6         233. Google’s infringement of the ‘014 Patent is exceptional and entitles
  7   Sonos to attorneys’ fees and costs incurred in prosecuting this action under 35
  8   U.S.C. § 285.
  9         234. Google’s infringement of the ‘014 Patent has caused irreparable
 10   harm (including the loss of market share) to Sonos and will continue to do so
 11   unless enjoined by this Court.
 12          COUNT II: INFRINGEMENT OF U.S. PATENT NO. 8,588,949
 13         235. Sonos incorporates by reference and re-alleges paragraphs 85-93 and
 14   110-25 of this First Amended Complaint as if fully set forth herein.
 15         236. Google and/or users of the Google Wireless Audio System have
 16   directly infringed (either literally or under the doctrine of equivalents) and have
 17   continued to directly infringe up to the date of expiration of the ‘949 Patent one or
 18   more of the claims of the ‘949 Patent, in violation of 35 U.S.C. § 271(a), by
 19   making, using, offering for sale, and/or selling the Google Wireless Audio System
 20   within the United States and/or importing the Google Wireless Audio System into
 21   the United States without authority or license.
 22         237. As just one non-limiting example, set forth below is an exemplary
 23   infringement claim chart for claim 1 of the ‘949 Patent in connection with the
 24   Google Wireless Audio System. This claim chart is based on publicly available
 25   information. Sonos reserves the right to modify this claim chart, including, for
 26   example, on the basis of information about the Google Wireless Audio System
 27   that it obtains during discovery.
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  1            Claim 1                                   Google
  2       A multimedia       At least each smartphone, tablet, and computer installed
          controller         with the Google Home app, the YouTube Music app, and/or
  3       including a        the Google Play Music app (where a computing device
  4       processor, the     installed with at least one of these apps is referred to herein
          controller         as a “Chromecast-enabled computing device”6) comprises a
  5       configured to:     “multimedia controller including a processor,” as recited in
  6                          claim 1. See, e.g., Exs. 40-43, 87-92. At least each
                             Chromecast, Chromecast Ultra, Chromecast Audio,
  7                          Chromecast with Google TV, Google TV Streamer (4K),
  8                          Pixel Tablet with Charging Speaker Dock, Home Mini, Nest
                             Mini, Home, Home Max, Home Hub, Nest Hub, Nest Hub
  9                          Max,7 Nest Audio, and Nest Wifi Point comprises an
 10                          “independent playback device,” as recited in claim 1.
          provide a user     Each Chromecast-enabled computing device and Hub Audio
 11       interface for a    Player is configured to provide a user interface for a player
 12       player group,      group that includes a plurality of Google Audio Players in a
          wherein the player local area network (LAN), where each Google Audio Player
 13       group includes a   is an independent playback device configured to playback a
 14       plurality of       multimedia output from a multimedia source.
          players in a local
 15
          area network, and For instance, each Chromecast-enabled computing device
 16       wherein each       and Hub Audio Player is programmed with the capability to
          player is an       provide a user interface that facilitates forming and/or
 17
          independent        controlling one or more groups of Google Audio Players
 18
      6
 19     Each of the Pixel 3, Pixel 3 XL, Pixel 3a, Pixel 3a XL, Pixel 4, Pixel 4 XL, Pixel
      4a, Pixel 4a (5G), Pixel 5, Pixel 5a, Pixel 6, Pixel 6 Pro, Pixel 6a, Pixel 7, Pixel 7
 20   Pro, Pixel 7a, Pixel Fold, Pixel 8, Pixel 8 Pro, Pixel 8a, Pixel 9, Pixel 9 Pro, Pixel
      9 Pro XL, and Pixel 9 Pro Fold phones, the Pixel Slate and Pixel Tablet tablets, and
 21   the Pixelbook and Pixelbook Go laptops installed with an Android version of the
      Google Home app, the YouTube Music app, and/or the Google Play Music app is
 22   an example of a “Chromecast-enabled computing device.” Likewise, each other
 23   smartphone, tablet, and computer installed with an Android or iOS version of the
      Google Home app, the YouTube Music app, and/or the Google Play Music app is
 24   an example of a “Chromecast-enabled computing device,” including by way of
      example, Apple and Samsung phones and tablets.
 25   7
        In addition to being configured as an “independent playback device,” as recited in
 26   claim 1, each Home Hub, Nest Hub, and Nest Hub Max (referred to herein as a
      “Hub Audio Player”) is installed with Home/Nest Hub software such that the given
 27   Hub Audio Player is configured as a “multimedia controller,” as recited in claim 1,
      that is capable of facilitating forming and controlling one or more groups of two or
 28   more Google Audio Players.
                                                 92
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  1        Claim 1                                     Google
  2   playback device      (e.g.,via a Google Home, YouTube Music, Google Play
      configured to        Music, or Hub Audio Player user interface). See, e.g., Exs.
  3   playback a           29, 34, 36, 38, 93. Some exemplary screenshots of aspects
  4   multimedia output    of the user interface provided by a Chromecast-enabled
      from a multimedia    computing device or Hub Audio Player are illustrated
  5   source;              below.
  6
                           Each group includes two or more Google Audio Players in a
  7                        local Wi-Fi network (which is a LAN) that are configured to
  8                        play back audio in synchrony with one another, where each
                           Google Audio Player is an independent playback device
  9                        configured to playback at least an audio output from an
 10                        audio source (e.g., Google Play Music, Spotify, etc.). See
                           e.g., Ex. 29 (“Group any combination of Google Nest or
 11                        Google Home speakers and displays, Chromecast devices,
 12                        and speakers with Chromecast built-in together for
                           synchronous music throughout the home. Your favorite
 13                        music and audio from Chromecast-enabled apps are
 14                        instantly available to stream.”); Exs. 94, 106.
      accept via the user Each Chromecast-enabled computing device and Hub Audio
 15
      interface an input Player is configured to accept via the user interface an input
 16   to facilitate        to facilitate formation of the player group, where the input
      formation of the     to facilitate formation of the player group indicates that at
 17
      player group,        least two of the plurality of Google Audio Players in the
 18   wherein the input LAN are to be included in the player group for synchronized
      to facilitate        playback of a multimedia output from the same multimedia
 19
      formation of the     source.
 20   player group
      indicates that at    For instance, each Chromecast-enabled computing device
 21
      least two of the     and Hub Audio Player is programmed with the capability to
 22   plurality of         display a GUI view (e.g., via a Google Home, YouTube
      players in the local Music, Google Play Music, or Hub Audio Player user
 23
      area network are     interface) through which the Chromecast-enabled
 24   to be included in    computing device or Hub Audio Player receives user input
      the player group     that facilitates formation of a group of at least two Google
 25
      for synchronized     Audio Players in a local Wi-Fi network that are configured
 26   playback of a        to play back audio in synchrony. See, e.g., Ex. 29 (“Group
      multimedia output any combination of Google Nest or Google Home speakers
 27
      from the same        and displays, Chromecast devices, and speakers with
 28                        Chromecast built-in together for synchronous music

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  1        Claim 1                                    Google
  2   multimedia         throughout the home. Your favorite music and audio from
      source;            Chromecast-enabled apps are instantly available to
  3                      stream.”); Exs. 93-94, 106. Examples of this functionality
  4                      are illustrated in the following sequences of
                         screenshots/images.
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  6                      Google Home app
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  1        Claim 1                               Google
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  1        Claim 1                               Google
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  1        Claim 1                               Google
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 14                      YouTube Music App
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  1        Claim 1                               Google
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                         Google Play Music app
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  1         Claim 1                                 Google
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 27                          Hub Audio Player
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  1         Claim 1                               Google
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                                  ID #:2154


  1         Claim 1                               Google
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  1         Claim 1                               Google
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                                    ID #:2156


  1         Claim 1                                    Google
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 10    for any individual    Each Chromecast-enabled computing device and Hub Audio
 11    player in the         Player is configured to, for any individual Google Audio
       player group,         Player in the player group, accept via the user interface a
 12    accept via the user   player-specific input to adjust a volume of that individual
 13    interface a player-   Google Audio Player, where the player-specific input to
       specific input to     adjust the volume of that individual Google Audio Player
 14    adjust a volume of    causes that individual Google Audio Player to adjust its
 15    that individual       volume.
       player, wherein
 16    the player-specific   For instance, each Chromecast-enabled computing device
 17    input to adjust the   and Hub Audio Player is programmed with the capability to
       volume of that        display a GUI view (e.g., via a Google Home, YouTube
 18    individual player     Music, Google Play Music, or Hub Audio Player user
 19    causes that           interface) having a respective player-specific volume slider
       individual player     for each individual Google Audio Player in a group through
 20    to adjust its         which the Chromecast-enabled computing device or Hub
 21    volume; and           Audio Player accepts a player-specific input to adjust a
                             volume of an individual Google Audio Player, which in turn
 22                          causes the individual Google Audio Player to adjust its
 23                          volume. Examples of this functionality are illustrated in the
                             following sequences of screenshots.
 24
 25                          Google Home app

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                                  ID #:2157


  1         Claim 1                               Google
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                                    ID #:2158


  1         Claim 1                                  Google
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 14                          YouTube Music App

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 28                          Google Play Music app

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  1         Claim 1                                 Google
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                             Hub Audio Player
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                                  ID #:2160


  1         Claim 1                               Google
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  1         Claim 1                                   Google
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                           See also, e.g., Ex. 55 (“When casting to a group, there are
 10                        two ways to change the volume: . . . 2. Changing a single
                           speaker’s volume when it’s part of a group. This action
 11
                           will only change that individual speaker.”) (emphasis in
 12                        original); Exs. 29, 84, 106.
 13    accept via the user Each Chromecast-enabled computing device and Hub Audio
       interface a group- Player is configured to accept via the user interface a group-
 14    level input to      level input to adjust a volume associated with the player
 15    adjust a volume     group, where the group-level input to adjust the volume
       associated with     associated with the player group causes each of the Google
 16    the player group,   Audio Players in the player group to adjust its respective
 17    wherein the         volume.
       group-level input
 18    to adjust the       For instance, each Chromecast-enabled computing device
 19    volume associated and Hub Audio Player is programmed with the capability to
       with the player     display a GUI view (e.g., via a Google Home, YouTube
 20    group causes each Music, Google Play Music, or Hub Audio Player user
 21    of the players in   interface) having a “Group volume” slider for a group of
       the player group to Google Audio Players through which the Chromecast-
 22    adjust its          enabled computing device or Hub Audio Player accepts a
 23    respective          group-level input to adjust a volume associated with the
       volume.             group of Google Audio Players, which in turn causes each
 24                        Google Audio Player in the group to adjust its respective
 25                        volume. Examples of this functionality are illustrated in the
                           following sequences of screenshots.
 26
 27                          Google Home app

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                                  ID #:2162


  1         Claim 1                               Google
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                                    ID #:2163


  1         Claim 1                                 Google
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                             YouTube Music app
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                                    ID #:2164


  1         Claim 1                                  Google
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                             Google Play Music app
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                                    ID #:2165


  1         Claim 1                                 Google
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 15                          Hub Audio Player
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  1         Claim 1                               Google
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  1         Claim 1                                      Google
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 10                          See also, e.g., Ex. 55 (“When casting to a group, there are
                             two ways to change the volume: 1. Changing the group
 11
                             volume. This action will change the volume of all speakers
 12                          within the group.”) (emphasis in original); Ex. 84.
 13         238. Additionally and/or alternatively, Google has indirectly infringed and
 14   have continued to indirectly infringe up to the date of expiration of the ‘949
 15   Patent one or more claims of the ‘949 Patent, in violation of 35 U.S.C. § 271(b),
 16   by actively inducing users of the Google Wireless Audio System to directly
 17   infringe one or more claims of the ‘949 Patent. In particular, (a) Google had
 18   actual knowledge of the ‘949 Patent or was willfully blind to its existence prior to
 19   (at least as early as September 2016), and no later than, the filing of this action
 20   (see ¶¶ 38-71 above), (b) Google intentionally caused, urged, or encouraged users
 21   of the Google Wireless Audio System to directly infringe one or more claims of
 22   the ‘949 Patent by promoting, advertising, and instructing customers and potential
 23   customers about the Google Wireless Audio System and uses thereof, including
 24   infringing uses (see Exs. 29, 34-39, 55), (c) Google knew (or should have known)
 25   that its actions would induce users of the Google Wireless Audio System to
 26   directly infringe one or more claims the ‘949 Patent, and (d) users of the Google
 27   Wireless Audio System directly infringed one or more claims of the ‘949 Patent.
 28   For instance, at a minimum, Google has supplied the Google Apps to customers

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  1   while knowing that installation and/or use of the Google Apps would infringe one
  2   or more claims of the ‘949 Patent and that Google’s customers then directly
  3   infringed one or more claims of the ‘949 Patent by installing and/or using the
  4   Google Apps in accordance with Google’s product literature. See, e.g., id.
  5         239. As another example, Google has supplied Hub Audio Players to
  6   customers while knowing that use of these products would infringe one or more
  7   claims of the ‘949 Patent and that Google’s customers then directly infringed one
  8   or more claims of the ‘949 Patent by using these Hub Audio Players in
  9   accordance with Google’s product literature. See, e.g., Exs. 29, 84.
 10         240. Additionally and/or alternatively, Google has indirectly infringed and
 11   continued to indirectly infringe up to the date of expiration of the ‘949 Patent one
 12   or more of the claims of the ‘949 Patent, in violation of 35 U.S.C. § 271(c), by
 13   offering to sell or selling within the United States, and/or importing into the
 14   United States, components in connection with the Google Wireless Audio System
 15   that contributed to the direct infringement of the ‘949 Patent by users of the
 16   Google Wireless Audio System. In particular, (a) Google had actual knowledge
 17   of the ‘949 Patent or was willfully blind to its existence prior to (at least as early
 18   as September 2016), and no later than, the filing of this action (see ¶¶ 38-71
 19   above), (b) Google offered for sale, sold, and/or imported, in connection with the
 20   Google Wireless Audio System, one or more material components of the
 21   invention of the ‘949 Patent that are not staple articles of commerce suitable for
 22   substantial noninfringing use, (c) Google knew (or should have known) that such
 23   component(s) were especially made or especially adapted for use in an
 24   infringement of the ‘949 Patent, and (d) users of devices that comprise such
 25   material component(s) directly infringed one or more claims of the ‘949 Patent.
 26   For instance, at a minimum, Google offered for sale, sold, and/or imported the
 27   Google Apps for installation on devices (e.g., smartphones, tablets, and
 28   computers) that meet one or more claims of the ‘949 Patent. See, e.g., Exs. 29,

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  1   34-39, 55. The Google Apps are material components of the devices that meet the
  2   one or more claims of the ‘949 Patent. Further, Google especially made and/or
  3   adapted the Google Apps for use in devices that meet the one or more claims of
  4   the ‘949 Patent, and the Google Apps are not a staple article of commerce suitable
  5   for substantial noninfringing use. Google’s customers then directly infringed the
  6   one or more claims of the ‘949 Patent by installing and/or using the Google Apps
  7   on the customers’ devices.
  8         241. As another example, Google offered for sale, sold, and/or imported
  9   software updates for Hub Audio Players that meet one or more claims of the ‘949
 10   Patent. See, e.g., Exs. 29, 84, 85. These software updates are material
 11   components of the Hub Audio Players that meet the one or more claims of the
 12   ‘949 Patent. Further, Google especially made and/or adapted these software
 13   updates for use in the Hub Audio Players that meet the one or more claims of the
 14   ‘949 Patent, and these software updates are not staple articles of commerce
 15   suitable for substantial noninfringing use. Google’s customers then directly
 16   infringed the one or more claims of the ‘949 Patent by installing and using
 17   software updates on the Hub Audio Players.
 18         242. Google’s infringement of the ‘949 Patent was also willful because
 19   Google (a) had actual knowledge of the ‘949 Patent or was willfully blind to its
 20   existence prior to (at least as early as October 2016), and no later than, the filing
 21   of this action (see ¶¶ 38-71 above), (b) engaged in the aforementioned activity
 22   despite an objectively high likelihood that Google’s actions constituted
 23   infringement of the ‘949 Patent, and (c) this objectively-defined risk was either
 24   known or so obvious that it should have been known to Google.
 25         243. Additional allegations regarding Google’s pre-suit knowledge of the
 26   ‘949 Patent and willful infringement will likely have evidentiary support after a
 27   reasonable opportunity for discovery.
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  1         244. Sonos is in compliance with any applicable marking and/or notice
  2   provisions of 35 U.S.C. § 287 with respect to the ‘949 Patent.
  3         245. Sonos is entitled to recover from Google all damages that Sonos has
  4   sustained as a result of Google’s infringement of the ‘949 Patent, including,
  5   without limitation, a reasonable royalty and lost profits.
  6         246. Google’s infringement of the ‘949 Patent was willful and deliberate,
  7   entitling Sonos to enhanced damages.
  8         247. Google’s infringement of the ‘949 Patent was exceptional and
  9   entitles Sonos to attorneys’ fees and costs incurred in prosecuting this action
 10   under 35 U.S.C. § 285.
 11         COUNT III: INFRINGEMENT OF U.S. PATENT NO. 9,195,258
 12         248. Sonos incorporates by reference and re-alleges paragraphs 85-93 and
 13   126-42 of this First Amended Complaint as if fully set forth herein.
 14         249. Google and/or users of the Google Wireless Audio System have
 15   directly infringed (either literally or under the doctrine of equivalents) and have
 16   continued to directly infringe up to the date of expiration of the ‘258 Patent one or
 17   more of the claims of the ‘258 Patent, in violation of 35 U.S.C. § 271(a), by
 18   making, using, offering for sale, and/or selling the Google Wireless Audio System
 19   within the United States and/or importing the Google Wireless Audio System into
 20   the United States without authority or license.
 21         250. As just one non-limiting example, set forth below is an exemplary
 22   infringement claim chart for claim 17 of the ‘258 Patent in connection with the
 23   Google Wireless Audio System. This claim chart is based on publicly available
 24   information. Sonos reserves the right to modify this claim chart, including, for
 25   example, on the basis of information about the Google Wireless Audio System
 26   that it obtains during discovery.
 27
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  1           Claim 17                                      Google
  2    17. A first zone player    At least each Chromecast, Chromecast Ultra,
       comprising:                Chromecast Audio, Chromecast with Google TV,
  3                               Google TV Streamer (4K), Pixel Tablet with Charging
  4                               Speaker Dock, Home Mini, Nest Mini, Home, Home
                                  Max, Home Hub, Nest Hub, Nest Hub Max, Nest
  5                               Audio, and Nest Wifi Point comprises a “zone player,”
  6                               as recited in claim 17. At least each smartphone, tablet,
                                  and computer installed with the Google Home app, the
  7                               YouTube Music app, the Google Play Music app,
  8                               and/or other Chromecast-enabled apps (e.g., Spotify)
                                  (where a computing device installed with at least one of
  9                               these apps is referred to herein as a “Chromecast-
 10                               enabled computing device”) comprises a “controller,”
                                  as recited in claim 17.
 11    a network interface        Each of the foregoing Google Audio Players includes a
 12    configured to interface    network interface configured to interface the Google
       the first zone player      Audio Player with at least a LAN, such as a Wi-Fi
 13    with at least a local      interface. See, e.g., Exs. 68, 95-98, 111-113.
 14    area network (LAN);
       a device clock             Each of the foregoing Google Audio Players includes a
 15
       configured to generate     device clock configured to generate clock time
 16    clock time information     information for the Google Audio Player. See, e.g.,
       for the first zone         Exs. 68, 95-98, 111-113.
 17
       player;
 18    one or more                Each of the foregoing Google Audio Players includes
       processors; and            one or more processors. See, e.g., Exs. 68, 95-98, 111-
 19
                                  113.
 20    a tangible, non-           Each of the foregoing Google Audio Players includes a
 21    transitory computer-       tangible, non-transitory computer-readable memory
       readable memory            comprising executable program instructions that enable
 22    having instructions        a Google Audio Player to perform the functions
 23    stored thereon that,       identified below. See, e.g., Exs. 68, 85, 95-98, 111-113.
       when executed by the
 24    one or more
 25    processors, cause the
       first zone player to:
 26    receive control            Each of the foregoing Google Audio Players comprises
 27    information from any       program instructions that, when executed by a first
       one of a plurality of      Google Audio Player’s one or more processors, cause
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  1            Claim 17                                     Google
  2    controllers over the         that Google Audio Player to receive control
       LAN via the network          information from any one of a plurality of Chromecast-
  3    interface, wherein the       enabled computing devices over the LAN via the
  4    received control             network interface, where the received control
       information comprises        information comprises a direction for the first Google
  5    a direction for the first    Audio Player to enter into a synchrony group with at
  6    zone player to enter         least a second Google Audio Player.
       into a synchrony group
  7    with at least a second    For instance, each of the foregoing Google Audio
  8    zone player;              Players is programmed with the capability to receive
                                 over a local Wi-Fi network (which is a LAN), from any
  9                              of a plurality of Chromecast-enabled computing
 10                              devices, a direction to enter into a group of two or more
                                 Google Audio Players that are configured to play back
 11                              audio in synchrony with one another. See e.g., Ex. 29
 12                              (“Group any combination of Google Nest or Google
                                 Home speakers and displays, Chromecast devices, and
 13                              speakers with Chromecast built-in together for
 14                              synchronous music throughout the home. Your favorite
                                 music and audio from Chromecast-enabled apps are
 15                              instantly available to stream.”); Exs. 30, 69, 94, 99,
 16                              104, 106.
       in response to the        Each of the foregoing Google Audio Players comprises
 17
       direction, enter into the program instructions that, when executed by a first
 18    synchrony group with Google Audio Player’s one or more processors, cause
       the second zone player, that Google Audio Player to, in response to the
 19
                                 direction, enter into the synchrony group with the
 20                              second Google Audio Player.
 21
                                    For instance, each of the foregoing Google Audio
 22                                 Players is programmed such that, in response to
                                    receiving a direction to enter into a group of Google
 23
                                    Audio Players, the Google Audio Player functions to
 24                                 enter into the group with the one or more other Google
                                    Audio Players. See e.g., Exs. 29, 30, 69, 94, 99, 104.
 25
                                    In such a group, a first Google Audio Player is
 26                                 designated to serve as the “master” of the group
                                    (sometimes referred to by Google as the “leader” of the
 27
                                    group), and any other Google Audio Player in the
 28                                 group is designated to serve as a “slave” of the group.

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  1            Claim 17                                       Google
  2    wherein in the               Once grouped, the first and second Google Audio
       synchrony group, the         Players are configured to play back audio in synchrony
  3    first and second zone        based at least in part on (i) audio content, (ii) playback
  4    players are configured       timing information associated with the audio content
       to playback audio in         that is generated by the first Google Audio Player that
  5    synchrony based at           is designated to serve as the “master” of the group, and
  6    least in part on (i)         (iii) clock time information for the first Google Audio
       audio content, (ii)          Player, where the generated playback timing
  7    playback timing              information and the clock time information are
  8    information associated       transmitted from the first Google Audio Player to the
       with the audio content,      second Google Audio Player that is designated to serve
  9    wherein the playback         as a “slave” of the group, and where the Google Audio
 10    timing information is        Players in the group remain independently clocked
       generated by one of the      while playing back audio in synchrony.
 11    first or second zone
 12    players, and (iii) clock     For instance, Google states that once its Google Audio
       time information for         Players have been grouped, those audio players are
 13    the one of the first or      configured to play audio in synchrony. See, e.g., Ex.
 14    second zone players,         29 (“Group any combination of Google Nest or Google
       and wherein the              Home speakers and displays, Chromecast devices, and
 15    generated playback           speakers with Chromecast built-in together for
 16    timing information and       synchronous music throughout the home.”); see also,
       the clock time               e.g., Exs. 69, 99, 106.
 17    information are
 18    transmitted from the         Further, while in a group, a first Google Audio Player
       one of the first or          that is designated to serve as the “master”/“leader” of
 19
       second zone players to       the group receives audio content from an audio source
 20    the other of the first or    (e.g., an Internet-based audio source), and then the first
       second zone players,         Google Audio Player and a second Google Audio
 21
       wherein the first and        Player that is designated to serve as a “slave” of the
 22    second zone players          group are each configured play back audio in
       remain independently         synchrony based on the audio content, playback timing
 23
       clocked while playing        information associated with the audio content and
 24    back audio in                generated by the first Google Audio Player, and clock
       synchrony; and               time information for the first Google Audio Player, all
 25
                                    of which is sent from the first Google Audio Player to
 26                                 the second Google Audio Player via data packets –
                                    including but not limited to 62-byte UDP packets, 476-
 27
                                    byte UDP packets, and/or encrypted TCP packets sent
 28                                 via port 10001. Further yet, while playing back audio

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  1           Claim 17                                     Google
  2                              in synchrony, each of the first and second Google
                                 Audio Players in the group continues to operate in
  3                              accordance with its own respective clock.
  4    transmit status           Each of the foregoing Google Audio Players comprises
       information to at least   program instructions that, when executed by a first
  5    one of the plurality of   Google Audio Player’s one or more processors, cause
  6    controllers over the      that Google Audio Player to transmit status information
       LAN via the network       to at least one of the plurality of Chromecast-enabled
  7    interface, wherein the    computing devices over the LAN via the network
  8    status information        interface, where the status information comprises an
       comprises an              indication of a status of the synchrony group.
  9    indication of a status of
 10    the synchrony group.      For instance, while in a group, each Google Audio
                                 Player in the group (including the Google Audio Player
 11                              that is designated to serve as the “master” of the group)
 12                              functions to send status information to any Chromecast-
                                 enabled computing device on the same local Wi-Fi
 13                              network as the Google Audio Players in the group (e.g.,
 14                              via MDNS packets) that provides an indication of a
                                 status of the group, including but not limited to status
 15
                                 information that provides an identification of a name of
 16                              the group, an identification of an “elected leader” of the
                                 group, and/or an identification of the group members.
 17
                                 See also, e.g., Ex. 100 (“GCKMultizoneStatus Class”
 18                              providing “[t]he status of a multizone group” including
                                 “[t]he member devices of the multizone group.”).
 19
 20         251. Additionally and/or alternatively, Google has indirectly infringed and
 21   continued to indirectly infringe up to the date of expiration of the ‘258 Patent one
 22   or more of the claims of the ‘258 Patent, in violation of 35 U.S.C. § 271(b), by
 23   actively inducing users of the Google Wireless Audio System to directly infringe
 24   the one or more claims of the ‘258 Patent. In particular, (a) Google had actual
 25   knowledge of the ‘258 Patent or was willfully blind to its existence prior to (at
 26   least as early as September 2016), and no later than, the filing of this action (see
 27   ¶¶ 38-71 above), (b) Google intentionally causes, urges, or encourages users of
 28

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  1   the Google Wireless Audio System to directly infringe one or more claims of the
  2   ‘258 Patent by promoting, advertising, and instructing customers and potential
  3   customers about the Google Wireless Audio System and uses of the system,
  4   including infringing uses (see Exs. 20, 29, 60, 61), (c) Google knows (or should
  5   know) that its actions will induce users of the Google Wireless Audio System to
  6   directly infringe one or more claims the ‘258 Patent, and (d) users of the Google
  7   Wireless Audio System directly infringe one or more claims of the ‘258 Patent.
  8   For instance, at a minimum, Google has supplied and continues to supply Google
  9   Audio Players to customers while knowing that use of these products will infringe
 10   one or more claims of the ‘258 Patent and that Google’s customers then directly
 11   infringe one or more claims of the ‘258 Patent by using these Google Audio
 12   Players in accordance with Google’s product literature. See, e.g., id.
 13         252. Additionally and/or alternatively, Google has indirectly infringed and
 14   continued to indirectly infringe up to the date of expiration of the ‘258 Patent one
 15   or more of the claims of the ‘258 Patent, in violation of 35 U.S.C. § 271(c), by
 16   offering to sell or selling within the United States, and/or importing into the
 17   United States, components in connection with the Google Wireless Audio System
 18   that contribute to the direct infringement of the ‘258 Patent by users of the Google
 19   Wireless Audio System. In particular, (a) Google had actual knowledge of the
 20   ‘258 Patent or was willfully blind to its existence prior to (at least as early as
 21   October 2016), and no later than, the filing of this action (see ¶¶ 38-71 above), (b)
 22   Google offers for sale, sells, and/or imports, in connection with the Google
 23   Wireless Audio System, one or more material components of the invention of the
 24   ‘258 Patent that are not staple articles of commerce suitable for substantial
 25   noninfringing use, (c) Google knows (or should know) that such component(s)
 26   were especially made or especially adapted for use in an infringement of the ‘258
 27   Patent, and (d) users of devices that comprise such material component(s) directly
 28   infringe one or more claims of the ‘258 Patent. For instance, at a minimum,

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  1   Google offers for sale, sells, and/or imports software updates for Google Audio
  2   Players that meet one or more claims of the ‘258 Patent. See, e.g., Ex. 20, 29, 60,
  3   61, 85. These software updates are material components of the Google Audio
  4   Players that meet the one or more claims of the ‘258 Patent. Further, Google
  5   especially made and/or adapted these software updates for use in the Google
  6   Audio Players that meet the one or more claims of the ‘258 Patent, and these
  7   software updates are not staple articles of commerce suitable for substantial
  8   noninfringing use. Google’s customers then directly infringe the one or more
  9   claims of the ‘258 Patent by installing and using software updates on the Google
 10   Audio Players.
 11         253. Google’s infringement of the ‘258 Patent is also willful because
 12   Google (a) had actual knowledge of the ‘258 Patent or was willfully blind to its
 13   existence prior to (at least as early as October 2016), and no later than, the filing
 14   of this action (see ¶¶ 38-71 above), (b) engaged in the aforementioned activity
 15   despite an objectively high likelihood that Google’s actions constituted
 16   infringement of the ‘258 Patent, and (c) this objectively-defined risk was either
 17   known or so obvious that it should have been known to Google.
 18         254. Additional allegations regarding Google’s pre-suit knowledge of the
 19   ‘258 Patent and willful infringement will likely have evidentiary support after a
 20   reasonable opportunity for discovery.
 21         255. Sonos is in compliance with any applicable marking and/or notice
 22   provisions of 35 U.S.C. § 287 with respect to the ‘258 Patent.
 23         256. Sonos is entitled to recover from Google all damages that Sonos has
 24   sustained as a result of Google’s infringement of the ‘258 Patent, including,
 25   without limitation, a reasonable royalty and lost profits.
 26         257. Google’s infringement of the ‘258 Patent was and continued to be
 27   willful and deliberate, entitling Sonos to enhanced damages.
 28

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  1            258. Google’s infringement of the ‘258 Patent is exceptional and entitles
  2   Sonos to attorneys’ fees and costs incurred in prosecuting this action under 35
  3   U.S.C. § 285.
  4            COUNT IV: INFRINGEMENT OF U.S. PATENT NO. 9,219,9598
  5            259. Sonos incorporates by reference and re-alleges paragraphs 47-55 and
  6   89-106 of this Complaint as if fully set forth herein.
  7            260. Google and/or users of the Google Wireless Audio System have
  8   directly infringed (either literally or under the doctrine of equivalents) and
  9   continue to directly infringe one or more of the claims of the ‘959 Patent, in
 10   violation of 35 U.S.C. § 271(a), by making, using, offering for sale, and/or selling
 11   the Google Wireless Audio System (e.g., the Google Home Max) within the
 12   United States and/or importing the Google Wireless Audio System into the United
 13   States without authority or license.
 14            261. As just one non-limiting example, set forth below is an infringement
 15   claim chart of exemplary claim 10 of the ‘959 Patent in connection with the
 16   Google Wireless Audio System. This claim chart is based on publicly available
 17   information. Sonos reserves the right to modify this claim chart, including, for
 18   example, on the basis of information about the Google Wireless Audio System
 19   that it obtains during discovery.
 20
                Claim 10                                   Google
 21       10. A playback         At least each Google Home Max comprises a “playback
 22       device configured to   device configured to output audio in a multi-channel
          output audio in a      listening environment,” as recited in claim 10. At least
 23       multi-channel          each smartphone, tablet, and computer installed with the
 24       listening              Google Home app (where a computing device installed
          environment, the       with at least the Google Home app is referred to herein as
 25
      8
 26     Other than amending the Count number (i.e., from “Count III” to “Count IV”
      Sonos has not amended this Count because Sonos understands the case is stayed as
 27   to the non-expired originally asserted patents (i.e., the ‘959 Patent and the ‘896
      Patent). Sonos reserves the right to amend this Count when the stay is lifted as to
 28   these patents.
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  1          Claim 10                                   Google
  2    playback device      a “Chromecast-enabled computing device”) comprises a
       comprising:          “controller,” as recited in claim 10.
  3    a network interface  The foregoing Google Audio Player includes a network
  4    configured to        interface configured to receive audio data over a network,
       receive audio data   such as a Wi-Fi interface. See, e.g., Ex. 96
  5    over a network;      (“802.11b/g/n/ac (2.4GHz/5Ghz) Wi-Fi for high-
  6                         performance streaming”); Ex. 68 (same).
       a plurality of       The foregoing Google Audio Player includes a plurality of
  7    speaker drivers      speaker drivers configured to output audio based on the
  8    configured to output audio data. See, e.g., Ex. 68 (“Two 4.5 in (114 mm) high-
       audio based on the   excursion (+/- 11 mm) dual voice-coil woofers . . . Two
  9    audio data;          0.7 in (18 mm) custom tweeters”); Ex. 96 (same).
 10    one or more          The foregoing Google Audio Player includes one or more
       processors; and      processors. See, e.g., Ex. 68 (“Processor[:] 1.5GHz 64-bit
 11
                            quad-core ARM® Cortex™ A53”); Ex. 96 (same).
 12    tangible, non-       The foregoing Google Audio Player includes tangible,
       transitory, computer non-transitory, computer-readable memory comprising
 13
       readable memory      executable program instructions that enable the Google
 14    comprising           Audio Player to perform the functions identified below.
       instructions encoded See, e.g., Exs. 68, 96.
 15
       therein, wherein the
 16    instructions, when
       executed by the one
 17
       or more processors,
 18    cause the playback
 19    device to
       (i) receive a signal The foregoing Google Audio Player comprises program
 20    from a controller    instructions that, when executed by the Google Audio
 21    over the network,    Player’s one or more processors, cause the Google Audio
       wherein the signal   Player to receive a signal from a controller over a
 22    comprises an         network, where the signal comprises an instruction for the
 23    instruction for the  Google Audio Player to pair with one or more other
       playback device to   Google Audio Players.
 24    pair with one or
 25    more playback        For instance, each Google Home Max is programmed
       devices,             with the capability to receive, from a Chromecast-enabled
 26                         computing device over a Wi-Fi network that the Google
 27                         Home Max is connected to, an instruction to begin
                            operating as part of a “speaker pair” configuration for
 28

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  1         Claim 10                                      Google
  2                          “stereo sound” (also referred to by Google as a “stereo
                             pairing”) with another Google Home Max, which is a
  3                          configuration involving two or more Google Audio
  4                          Players having different playback roles. See, e.g., Ex. 69
                             (“Pair Google Home Max speakers[:] You can pair two
  5                          Google Home Max speakers (devices) for stereo sound
  6                          and an immersive experience for music and casting. . . .
                             Step 1. Place speakers in the best position in your room . .
  7                          . Step 2. Set up both Google Home Max speakers . . . Step
  8                          3. Pair the speakers . . . Step 4. Control the speaker pair.”);
                             Ex. 68 (“Wireless stereo pairing”). In a “speaker pair”
  9                          configuration, one Google Home Max has the role of
 10                          playing back the left audio channel, and the other Google
                             Home Max has the role of playing back the right audio
 11                          channel. See, e.g., Ex. 69 (“Tap Left or Right to match
 12                          the location of the blinking speaker . . . .”) (emphasis in
                             original).
 13
 14                          For example, at the time that a user inputs a request to
                             create a given “speaker pair” via a Chromecast-enabled
 15                          computing device, the Chromecast-enabled computing
 16                          device transmits control packets to at least a first Google
                             Home Max in the given “speaker pair.” On information
 17                          and belief, these control packets include an instruction for
 18                          the first Google Home Max to begin operating as part of
                             the given “speaker pair” with at least a second Google
 19
                             Home Max. See, e.g., Ex. 69 (“When two speakers are
 20                          paired, your Assistant lives and responds on the left
                             speaker. To use your Assistant on the right speaker,
 21
                             unpair the speakers using the steps below. Then you can
 22                          use your Assistant on both speakers.”) (emphasis in
                             original).
 23
       (ii) process the      The foregoing Google Audio Player comprises program
 24    audio data before     instructions that, when executed by the Google Audio
       the playback device   Player’s one or more processors, cause the Google Audio
 25
       outputs audio from    Player to process the audio data before the Google Audio
 26    the plurality of      Player outputs audio from the plurality of speaker drivers.
       speaker drivers,
 27
                             For instance, each Google Home Max is programmed
 28                          with the capability to perform various types of audio

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  1         Claim 10                                      Google
  2                           processing on received audio data before outputting audio
                              based on that audio data, examples of which may include
  3                           digital-to-analog conversion, decompression, decryption,
  4                           etc. See, e.g., Ex. 96 (listing various “[s]upported [a]udio
                              [f]ormats”); Ex. 107.
  5    (iii) determine that a The foregoing Google Audio Player comprises program
  6    type of pairing of     instructions that, when executed by the Google Audio
       the playback device Player’s one or more processors, cause the Google Audio
  7    comprises one of at Player to determine that a type of pairing of the Google
  8    least a first type of  Audio Player comprises one of at least a first type of
       pairing or a second pairing or a second type of pairing.
  9    type of pairing[,]
 10                           For instance, each Google Home Max is programmed
                              with the capability to operate in accordance with a
 11                           particular type of pairing, such as a “no pairing” type of
 12                           pairing or a “speaker pair” type of pairing. See, e.g., Ex.
                              69 (“Pair the speakers . . . Unpair speakers”); Ex. 68
 13                           (“Wireless stereo pairing”).
 14
                              Further, each Google Home Max is programmed with the
 15
                              capability to determine its type of pairing at various times,
 16                           including but not limited to when the Google Home Max
                              receives an instruction to begin or stop operating as part of
 17
                              a “speaker pair” with another Google Home Max, when
 18                           the Google Home Max is performing certain functions in
                              accordance with its current “pairing type,” and/or when
 19
                              the Google Home Max powers up. See, e.g., id.
 20
 21
 22
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 24
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 26
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 28

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  1          Claim 10                                    Google
  2    (iv) configure the     The foregoing Google Audio Player comprises program
       playback device to     instructions that, when executed by the Google Audio
  3    perform a first        Player’s one or more processors, cause the Google Audio
  4    equalization of the    Player to configure itself to (i) perform a first equalization
       audio data before      of the audio data before outputting audio based on the
  5    outputting audio       audio data from the plurality of speaker drivers when the
  6    based on the audio     type of pairing is determined to comprise the first type of
       data from the          pairing and (ii) perform a second equalization of the audio
  7    plurality of speaker   data before outputting audio based on the audio data from
  8    drivers when the       the plurality of speaker drivers when the type of pairing is
       type of pairing is     determined to comprise the second type of pairing.
  9    determined to
 10    comprise the first     For instance, each Google Home Max is programmed with
       type of pairing, and   the capability to change its equalization (including but not
 11                           limited to its channel and/or frequency output) when its
 12    (v) configure the      type of pairing changes from one of the aforementioned
       playback device to     types of pairing to another of the aforementioned types of
 13    perform a second       pairing. See, e.g., Ex. 69 (“Pair the speakers . . . Unpair
 14    equalization of the    speakers”).
       audio data before
 15    outputting audio       As one example to illustrate, as discussed above, each
 16    based on the audio     Google Home Max is programmed with the capability to
       data from the          operate in accordance with either a “no pairing” type of
 17    plurality of speaker   pairing or a “speaker pair” type of pairing. When
 18    drivers when the       operating in accordance with a “no pairing” type of
       type of pairing is     pairing, the Google Home Max is configured to perform a
 19
       determined to          first equalization of audio data that is specific to the “no
 20    comprise the second    pairing” type of pairing, which involves using one or more
       type of pairing.       parameters that affect at least the channel output of one or
 21
                              more of the Google Home Max’s speaker drivers such that
 22                           both the left channel and the right channel of audio
                              content are output via the Google Home Max’s speaker
 23
                              drivers (perhaps along with using a first set of gain,
 24                           frequency, phase, and/or time delay parameters that are
                              specific to a “no pairing” type of pairing). See, e.g., Ex.
 25
                              69 (“Pair Google Home Max speakers[:] You can pair two
 26                           Google Home Max speakers (devices) for stereo sound
                              and an immersive experience for music and casting. . . .
 27
                              Step 1. Place speakers in the best position in your room . .
 28                           . Step 2. Set up both Google Home Max speakers . . . Step

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  1         Claim 10                                        Google
  2                            3. Pair the speakers . . . Step 4. Control the speaker pair.”).
                               On the other hand, when operating in accordance with a
  3                            “speaker pair” type of pairing, the Google Home Max is
  4                            configured to perform a second equalization of audio data
                               that is specific to the “speaker pair” type of pairing, which
  5                            involves using one or more parameters that affect at least
  6                            the channel output of one or more of the Google Home
                               Max’s speaker drivers such that only a given one of the
  7                            left or right channel of audio content is output via the
  8                            Google Home Max’s speaker drivers (perhaps along with
                               using a second set of gain, frequency, phase, and/or time
  9                            delay parameters that are specific to a “stereo pairing”
 10                            type of pairing). See, e.g., id.
 11         262. Additionally and/or alternatively, Google has indirectly infringed and
 12   continues to indirectly infringe one or more of the claims of the ‘959 Patent, in
 13   violation of 35 U.S.C. § 271(b), by actively inducing users of the Google Wireless
 14   Audio System to directly infringe the one or more claims of the ‘959 Patent. In
 15   particular, (a) Google had actual knowledge of the ‘959 Patent or was willfully
 16   blind to its existence prior to (at least as early as October 2016), and no later than,
 17   the filing of this action (see ¶¶ 35-38 above), (b) Google intentionally causes,
 18   urges, or encourages users of the Google Wireless Audio System to directly
 19   infringe one or more claims of the ‘959 Patent by promoting, advertising, and
 20   instructing customers and potential customers about the Google Wireless Audio
 21   System and uses of the system, including infringing uses (see Exs. 67-70), (c)
 22   Google knows (or should know) that its actions will induce users of the Google
 23   Wireless Audio System to directly infringe one or more claims the ‘959 Patent,
 24   and (d) users of the Google Wireless Audio System directly infringe one or more
 25   claims of the ‘959 Patent. For instance, at a minimum, Google has supplied and
 26   continues to supply the Google Home Max to customers while knowing that use
 27   of this product will infringe one or more claims of the ‘959 Patent and that
 28   Google’s customers then directly infringe one or more claims of the ‘959 Patent

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  1   by using the Google Home Max in accordance with Google’s product literature.
  2   See, e.g., id.
  3          263. Additionally and/or alternatively, Google has indirectly infringed and
  4   continues to indirectly infringe one or more of the claims of the ‘959 Patent, in
  5   violation of 35 U.S.C. § 271(c), by offering to sell or selling within the United
  6   States, and/or importing into the United States, components in connection with the
  7   Google Wireless Audio System that contribute to the direct infringement of the
  8   ‘959 Patent by users of the Google Wireless Audio System. In particular, (a)
  9   Google had actual knowledge of the ‘959 Patent or was willfully blind to its
 10   existence prior to (at least as early as October 2016), and no later than, the filing
 11   of this action (see ¶¶ 35-38 above), (b) Google offers for sale, sells, and/or
 12   imports, in connection with the Google Wireless Audio System, one or more
 13   material components of the invention of the ‘959 Patent that are not staple articles
 14   of commerce suitable for substantial noninfringing use, (c) Google knows (or
 15   should know) that such component(s) were especially made or especially adapted
 16   for use in an infringement of the ‘959 Patent, and (d) users of devices that
 17   comprise such material component(s) directly infringe one or more claims of the
 18   ‘959 Patent. For instance, at a minimum, Google offers for sale, sells, and/or
 19   imports software updates for the Google Home Max that meets one or more
 20   claims of the ‘959 Patent. See, e.g., Exs. 67-70, 85. These software updates are
 21   material components of the Google Home Max that meets the one or more claims
 22   of the ‘959 Patent. Further, Google especially made and/or adapted these
 23   software updates for use in the Google Home Max that meets the one or more
 24   claims of the ‘959 Patent, and these software updates are not staple articles of
 25   commerce suitable for substantial noninfringing use. Google’s customers then
 26   directly infringe the one or more claims of the ‘959 Patent by installing and using
 27   software updates on the Google Home Max.
 28

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  1         264. Google’s infringement of the ‘959 Patent is also willful because
  2   Google (a) had actual knowledge of the ‘959 Patent or was willfully blind to its
  3   existence prior to (at least as early as October 2016), and no later than, the filing
  4   of this action (see ¶¶ 35-38 above), (b) engaged in the aforementioned activity
  5   despite an objectively high likelihood that Google’s actions constituted
  6   infringement of the ‘959 Patent, and (c) this objectively-defined risk was either
  7   known or so obvious that it should have been known to Google.
  8         265. Additional allegations regarding Google’s pre-suit knowledge of the
  9   ‘959 Patent and willful infringement will likely have evidentiary support after a
 10   reasonable opportunity for discovery.
 11         266. Sonos is in compliance with any applicable marking and/or notice
 12   provisions of 35 U.S.C. § 287 with respect to the ‘959 Patent.
 13         267. Sonos is entitled to recover from Google all damages that Sonos has
 14   sustained as a result of Google’s infringement of the ‘959 Patent, including,
 15   without limitation, a reasonable royalty and lost profits.
 16         268. Google’s infringement of the ‘959 Patent was and continues to be
 17   willful and deliberate, entitling Sonos to enhanced damages.
 18         269. Google’s infringement of the ‘959 Patent is exceptional and entitles
 19   Sonos to attorneys’ fees and costs incurred in prosecuting this action under 35
 20   U.S.C. § 285.
 21         270. Google’s infringement of the ‘959 Patent has caused irreparable
 22   harm (including the loss of market share) to Sonos and will continue to do so
 23   unless enjoined by this Court.
 24         COUNT V: INFRINGEMENT OF U.S. PATENT NO. 10,031,715
 25         271. Sonos incorporates by reference and re-alleges paragraphs 85-93 and
 26   162-73 of this First Amended Complaint as if fully set forth herein.
 27         272. Google and/or users of the Google Wireless Audio System have
 28   directly infringed (either literally or under the doctrine of equivalents) and

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  1   continue to directly infringe one or more of the claims of the ‘715 Patent, in
  2   violation of 35 U.S.C. § 271(a), by making, using, offering for sale, and/or selling
  3   the Google Wireless Audio System within the United States and/or importing the
  4   Google Wireless Audio System into the United States without authority or
  5   license.
  6         273. As just one non-limiting example, set forth below is an exemplary
  7   infringement claim chart for claim 7 of the ‘715 Patent in connection with the
  8   Google Wireless Audio System. This claim chart is based on publicly available
  9   information. Sonos reserves the right to modify this claim chart, including, for
 10   example, on the basis of information about the Google Wireless Audio System
 11   that it obtains during discovery.
 12
               Claim 7                                    Google
 13    7. A first zone player   At least each Chromecast, Chromecast Ultra,
 14    comprising:              Chromecast Audio, Chromecast with Google TV,
                                Google TV Streamer (4K), Pixel Tablet with Charging
 15                             Speaker Dock, Home Mini, Nest Mini, Home, Home
 16                             Max, Home Hub, Nest Hub, Nest Hub Max, Nest
                                Audio, and Nest Wifi Point comprises a “zone player,”
 17                             as recited in claim 7. At least each smartphone, tablet,
 18                             and computer installed with the Google Home app, the
                                YouTube Music app, the Google Play Music app,
 19                             and/or other Chromecast-enabled apps (e.g., Spotify)
 20                             (where a computing device installed with at least one of
                                these apps is referred to herein as a “Chromecast-
 21                             enabled computing device”) comprises a “controller
 22                             device,” as recited in claim 7.
       one or more              Each of the foregoing Google Audio Players includes
 23    processors;              one or more processors. See, e.g., Exs. 68, 95-98, 111-
 24                             113.
       at least one network     Each of the foregoing Google Audio Players includes at
 25    interface; and           least one network interface, such as a Wi-Fi interface.
 26                             See, e.g., Exs. 68, 95-98, 111-113.
       tangible, non-transitory Each of the foregoing Google Audio Players includes
 27    computer-readable        tangible, non-transitory computer-readable media
 28    media having             having executable instructions encoded therein that

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  1             Claim 7                                    Google
  2    instructions encoded       enable a Google Audio Player to perform the functions
       therein, wherein the       identified below. See, e.g., Exs. 68, 85, 95-98, 111-113.
  3    instructions, when
  4    executed by the first
       zone player, cause the
  5    first zone player to
  6    perform functions
       comprising:
  7    performing a master        Each of the foregoing Google Audio Players comprises
  8    device role for a          program instructions that, when executed by a first
       synchrony group            Google Audio Player, cause the first Google Audio
  9    comprising the first       Player to perform a master device role for a synchrony
 10    zone player and a          group comprising the first Google Audio Player and a
       second zone player,        second Google Audio Player, where in the master
 11    wherein in the master      device role, the first Google Audio Player is configured
 12    device role, the first     to control synchronous playback of audio information
       zone player is             by both the first Google Audio Player and the second
 13    configured to control      Google Audio Player in response to playback
 14    synchronous playback       commands received from a Chromecast-enabled
       of audio information       computing device via a network interface of the first
 15
       by both the first zone     Google Audio Player.
 16    player and the second
       zone player in response    For instance, each of the foregoing Google Audio
 17
       to playback commands       Players is programmed with the capability to enter into
 18    received from a            a group of two or more Google Audio Players that are
       controller device via a    configured to play back audio in synchrony. See, e.g.,
 19
       network interface of       Ex. 29 (“Group any combination of Google Nest or
 20    the first zone player;     Google Home speakers and displays, Chromecast
                                  devices, and speakers with Chromecast built-in together
 21
                                  for synchronous music throughout the home. Your
 22                               favorite music and audio from Chromecast-enabled
                                  apps are instantly available to stream.”); Exs. 30, 69,
 23
                                  94, 99, 104, 106.
 24
                                  In such a group, one of the Google Audio Players will
 25
                                  be designated to serve as the “master” of the group
 26                               (sometimes referred to by Google as the “leader” of the
                                  group) and every other Google Audio Player will be
 27
                                  designated to serve as a “slave” of the group
 28

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  1           Claim 7                                    Google
  2                             (sometimes referred to by Google as a “follower” of the
                                group). See, e.g., Ex. 122, 1277:10-13, 1278:1-6.
  3
  4                           Further, each of the foregoing Google Audio Players is
                              programmed such that, while operating as a “master” of
  5                           a group, the Google Audio Player is configured to
  6                           control synchronous audio playback by both the
                              “master” Google Audio Player and each “slave”
  7                           Google Audio Player in the group in response to
  8                           playback commands received from a Chromecast-
                              enabled computing device on the same LAN as the
  9                           Google Audio Player. See, e.g., Ex. 122, 1300:6-15
 10                           (“[S]o in order to play media onto a group, one of the
                              devices in the group has to be the leader. That will be
 11                           the device that actually will launch the application that
 12                           you would like to listen to, and that is what downloads
                              the media from the internet and then distributes the
 13                           audio to the rest of the devices.”); id., 1259:20-1260:5,
 14                           1268:23-1269:8, 1315:5-10.
       while performing the   Each of the foregoing Google Audio Players comprises
 15
       master device role,    program instructions that, when executed by a first
 16    evaluating one or more Google Audio Player, cause the first Google Audio
       operational            Player to, while performing a master device role,
 17
       performance metrics of evaluate one or more operational performance metrics
 18    the one or more        of the one or more processors or the at least one
       processors or the at   network interface indicating potential degradation in
 19
       least one network      performance of synchronous playback of audio
 20    interface indicating   information by both the first and second Google Audio
       potential degradation  Players, and based on the evaluation, determine that the
 21
       in performance of      second Google Audio Player should perform the master
 22    synchronous playback device role for the synchrony group instead of the first
       of audio information   Google Audio Player.
 23
       by both the first and
 24    second zone player,    For instance, each of the foregoing Google Audio
       and based on the       Players is programmed such that, while operating as a
 25
       evaluation,            “master”/“leader” of a group, the Google Audio Player
 26    determining that the   is configured to (i) evaluate one or more metrics related
       second zone player     to the performance of the synchronous audio playback
 27
       should perform the     by the Google Audio Players in the group, including
 28                           but not limited to one or more metrics related to the

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  1           Claim 7                                      Google
  2    master device role for     wireless signal quality detected by the Google Audio
       the synchrony group;       Players in the group (e.g., as reflected in “SRV (Server
  3                               Selection)” fields contained within MDNS packets
  4                               exchanged between the Google Audio Players in the
                                  group), and (ii) based on the evaluation, determine that
  5                               a different Google Audio Player in the group should
  6                               take over as the “master” of the group. See also RFC
                                  2782.
  7
  8                               Public testimony from Google’s engineers evidences
                                  this functionality. For example, as explained by
  9                               Google’s engineers, Google Audio Players
 10                               “continuously” engage in a “leader election process” in
                                  which each player (i) broadcasts a respective “leader
 11                               quality number” that “tells the other [players] in the
 12                               network how good that [player] would be as a leader
                                  for the group,” where the “quality is in part based on
 13                               the Wi-Fi signal strength of each device,” and (ii)
 14                               evaluates its own leader quality relative to the
                                  respective leader quality of each other player. See Ex.
 15                               122, 1247:14-24, 1248:3-1249:1, 1249:20-1250:9,
 16                               1251:3-1252:9, 1253:4-23, 1300:16-1301:4. In this
                                  way, “over time,” “the [player] that’s chosen as the
 17                               leader… may change at any time.” Id., 1253:19-23; see
 18                               also id., 1247:2-7, 1251:3-1252:9.
       in response to             Each of the foregoing Google Audio Players comprises
 19
       determining that the       program instructions that, when executed by a first
 20    second zone player         Google Audio Player, cause the first Google Audio
       should perform the         Player to, in response to a determination that a second
 21
       master device role for     Google Audio Player should perform the master device
 22    the synchrony group,       role for the synchrony group instead of the first Google
       initiating migration of    Audio Player, initiate migration of the master device
 23
       the master device role     role from the first Google Audio Player to the second
 24    from the first zone        Google Audio Player.
       player to the second
 25
       zone player; and           For instance, each of the foregoing Google Audio
 26                               Players is programmed such that, after determining that
                                  one of the “slave” Google Audio Players in the group
 27
                                  should take over the Google Audio Player’s role as the
 28                               “master”/“leader” of a group, the “master” Google

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  1           Claim 7                                     Google
  2                               Audio Player initiates migrating the “master” role to
                                  the one “slave” Google Audio Player.
  3
  4                               Public documentation from Google evidences this
                                  functionality. For example, one of Google’s patent
  5                               publications related to the Google Audio Players
  6                               explains that, when the “leader” role is to be migrated,
                                  the current “leader” performs a “deregistration” process
  7                               so that another player can take over the “leader” role.
  8                               See, e.g., US20180262792, ¶52; see also id., ¶51, 64.
                                  As another example, a technical document (TX6454)
  9                               Google published during a jury trial (Ex. 122, 1238:10-
 10                               24) states “[i]f a new, better group leader comes online,
                                  the old group leader should send a goodbye packet to
 11                               indicate to the SDK that it is no longer the leader.” Ex.
 12                               127, GOOG-SONOSWDTX-00048968.
       after migration of the     Each of the foregoing Google Audio Players comprises
 13    master device role         program instructions that, when executed by a first
 14    from the first zone        Google Audio Player, cause the first Google Audio
       player to the second       Player to, after migration of the master device role from
 15
       zone player, ceasing to    the first Google Audio Player to a second Google
 16    perform the master         Audio Player, cease to perform the master device role
       device role for the        for the synchrony group and play back audio
 17
       synchrony group, and       information in synchrony with the second Google
 18    playing back audio         Audio Player while the second Google Audio Player is
       information in             performing the master device role for the synchrony
 19
       synchrony with the         group.
 20    second zone player
       while the second zone      For instance, each of the foregoing Google Audio
 21
       player is performing       Players is programmed such that, after migration of the
 22    the master device role     “master”/“leader” role of a group, the former “master”
       for the synchrony          Google Audio Player begins operating as a
 23
       group.                     “slave”/“follower” of the group. In this respect, while
 24                               operating as a “slave” of the group, the Google Audio
                                  Player is configured to play back audio in synchrony
 25
                                  with the new “master” Google Audio Player in the
 26                               group.
 27
                                  Public testimony from Google’s engineers evidences
 28                               this functionality. For example, one of Google’s

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  1            Claim 7                                     Google
  2                               engineers described scenarios in which the “leader”
                                  role of a group was migrated to a “follower” of the
  3                               group and thereafter, the former “leader” transitioned to
  4                               operate as a “follower” of the group. See, e.g., Ex. 122,
                                  1247:13-1251:24.
  5
  6         274. Additionally and/or alternatively, Google has indirectly infringed and
  7   continues to indirectly infringe one or more of the claims of the ‘715 Patent, in
  8   violation of 35 U.S.C. § 271(b), by actively inducing users of the Google Wireless
  9   Audio System to directly infringe the one or more claims of the ‘715 Patent. In
 10   particular, (a) Google had actual knowledge of the ‘715 Patent or was willfully
 11   blind to its existence prior to (at least as early as February 2019), and no later
 12   than, the filing of this First Amended Complaint (see ¶¶ 38-71 above), (b) Google
 13   intentionally causes, urges, or encourages users of the Google Wireless Audio
 14   System to directly infringe one or more claims of the ‘715 Patent by promoting,
 15   advertising, and instructing customers and potential customers about the Google
 16   Wireless Audio System and uses of the system, including infringing uses (see
 17   Exs. 20, 29, 60, 61), (c) Google knows (or should know) that its actions will
 18   induce users of the Google Wireless Audio System to directly infringe one or
 19   more claims the ‘715 Patent, and (d) users of the Google Wireless Audio System
 20   directly infringe one or more claims of the ‘715 Patent. For instance, at a
 21   minimum, Google has supplied and continues to supply Google Audio Players to
 22   customers while knowing that use of these products will infringe one or more
 23   claims of the ‘715 Patent and that Google’s customers then directly infringe one
 24   or more claims of the ‘715 Patent by using these Google Audio Players in
 25   accordance with Google’s product literature. See, e.g., id.
 26         275. Additionally and/or alternatively, Google has indirectly infringed and
 27   continues to indirectly infringe one or more of the claims of the ‘715 Patent, in
 28

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  1   violation of 35 U.S.C. § 271(c), by offering to sell or selling within the United
  2   States, and/or importing into the United States, components in connection with the
  3   Google Wireless Audio System that contribute to the direct infringement of the
  4   ‘715 Patent by users of the Google Wireless Audio System. In particular, (a)
  5   Google had actual knowledge of the ‘715 Patent or was willfully blind to its
  6   existence prior to (at least as early as February 2019), and no later than, the filing
  7   of this First Amended Complaint (see ¶¶ 38-71 above), (b) Google offers for sale,
  8   sells, and/or imports, in connection with the Google Wireless Audio System, one
  9   or more material components of the invention of the ‘715 Patent that are not
 10   staple articles of commerce suitable for substantial noninfringing use, (c) Google
 11   knows (or should know) that such component(s) were especially made or
 12   especially adapted for use in an infringement of the ‘715 Patent, and (d) users of
 13   devices that comprise such material component(s) directly infringe one or more
 14   claims of the ‘715 Patent. For instance, at a minimum, Google offers for sale,
 15   sells, and/or imports software updates for Google Audio Players that meet one or
 16   more claims of the ‘715 Patent. See, e.g., Ex. 20, 29, 60, 61, 85. These software
 17   updates are material components of the Google Audio Players that meet the one or
 18   more claims of the ‘715 Patent. Further, Google especially made and/or adapted
 19   these software updates for use in the Google Audio Players that meet the one or
 20   more claims of the ‘715 Patent, and these software updates are not staple articles
 21   of commerce suitable for substantial noninfringing use. Google’s customers then
 22   directly infringe the one or more claims of the ‘715 Patent by installing and using
 23   software updates on the Google Audio Players.
 24         276. Google’s infringement of the ‘715 Patent is also willful because
 25   Google (a) had actual knowledge of the ‘715 Patent or was willfully blind to its
 26   existence prior to (at least as early as February 2019), and no later than, the filing
 27   of this First Amended Complaint (see ¶¶ 38-71 above), (b) engaged in the
 28   aforementioned activity despite an objectively high likelihood that Google’s

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  1   actions constituted infringement of the ‘715 Patent, and (c) this
  2   objectively-defined risk was either known or so obvious that it should have been
  3   known to Google.
  4         277. Additional allegations regarding Google’s pre-suit knowledge of the
  5   ‘715 Patent and willful infringement will likely have evidentiary support after a
  6   reasonable opportunity for discovery.
  7         278. Sonos is in compliance with any applicable marking and/or notice
  8   provisions of 35 U.S.C. § 287 with respect to the ‘715 Patent.
  9         279. Sonos is entitled to recover from Google all damages that Sonos has
 10   sustained as a result of Google’s infringement of the ‘715 Patent, including,
 11   without limitation, a reasonable royalty and lost profits.
 12         280. Google’s infringement of the ‘715 Patent was and continues to be
 13   willful and deliberate, entitling Sonos to enhanced damages.
 14         281. Google’s infringement of the ‘715 Patent is exceptional and entitles
 15   Sonos to attorneys’ fees and costs incurred in prosecuting this action under 35
 16   U.S.C. § 285.
 17         282. Google’s infringement of the ‘715 Patent has caused irreparable
 18   harm (including the loss of market share) to Sonos and will continue to do so
 19   unless enjoined by this Court.
 20         COUNT VI: INFRINGEMENT OF U.S. PATENT NO. 10,209,953
 21         283. Sonos incorporates by reference and re-alleges paragraphs 85-93 and
 22   174-86 of this First Amended Complaint as if fully set forth herein.
 23         284. Google and/or users of the Google Wireless Audio System have
 24   directly infringed (either literally or under the doctrine of equivalents) and
 25   continued to directly infringe up to the date of expiration of the ‘953 Patent one or
 26   more of the claims of the ‘953 Patent, in violation of 35 U.S.C. § 271(a), by
 27   making, using, offering for sale, and/or selling the Google Wireless Audio System
 28

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  1   within the United States and/or importing the Google Wireless Audio System into
  2   the United States without authority or license.
  3         285. As just one non-limiting example, set forth below is an exemplary
  4   infringement claim chart for claim 7 of the ‘953 Patent in connection with the
  5   Google Wireless Audio System. This claim chart is based on publicly available
  6   information. Sonos reserves the right to modify this claim chart, including, for
  7   example, on the basis of information about the Google Wireless Audio System
  8   that it obtains during discovery.
  9
              Claim 7                                      Google
 10    7. A first zone player   At least each Chromecast, Chromecast Ultra,
 11    comprising:              Chromecast Audio, Chromecast with Google TV,
                                Google TV Streamer (4K), Pixel Tablet with Charging
 12                             Speaker Dock, Home Mini, Nest Mini, Home, Home
 13                             Max, Home Hub, Nest Hub, Nest Hub Max, Nest Audio,
                                and Nest Wifi Point comprises a “zone player,” as
 14                             recited in claim 7. These Google Audio Players are
 15                             controlled by smartphones, tablets, and computers
                                installed with the Google Home app, the Google Play
 16                             Music app, the YouTube Music app, and/or other
 17                             Chromecast-enabled apps (e.g., Spotify) (where a
                                computing device installed with at least one of these apps
 18                             is referred to herein as a “Chromecast-enabled
 19                             computing device”).
       a network interface      Each of the foregoing Google Audio Players includes a
 20    that is configured to    network interface that is configured to provide an
 21    provide an               interconnection with at least one data network, such as a
       interconnection with     Wi-Fi interface. See, e.g., Exs. 68, 95-98, 111-113.
 22    at least one data
 23    network;
       a clock that is          Each of the foregoing Google Audio Players includes a
 24    configured to provide    clock that is configured to provide a clock time of the
 25    a clock time of the      Google Audio Player. See, e.g., Exs. 68, 95-98, 111-113.
       first zone player;
 26    at least one             Each of the foregoing Google Audio Players includes at
 27    processor;               least one processor. See, e.g., Exs. 68, 95-98, 111-113.
 28

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  1            Claim 7                                     Google
  2    a tangible, non-          Each of the foregoing Google Audio Players includes a
       transitory computer-      tangible, non-transitory computer-readable medium
  3    readable medium;          comprising executable program instructions that enable a
  4    and program               Google Audio Player to perform the functions identified
       instructions stored on    below. See, e.g., Exs. 68, 85, 95-98, 111-113.
  5    the tangible, non-
  6    transitory computer-
       readable medium that
  7    are executable by the
  8    at least one processor
       to cause the first zone
  9    player to perform
 10    functions comprising:
       receiving a request to    Each of the foregoing Google Audio Players comprises
 11    enter into a              program instructions that, when executed by a first
 12    synchrony group with      Google Audio Player’s at least one processor, cause that
       at least a second zone    Google Audio Player to receive a request to enter into a
 13    player that is            synchrony group with at least a second Google Audio
 14    communicatively           Player that is communicatively coupled with the first
       coupled with the first    Google Audio Player over a LAN.
 15
       zone player over a
 16    local area network        For instance, each of the foregoing Google Audio
       (LAN);                    Players is programmed with the capability to receive
 17
                                 over a local Wi-Fi network (which is a LAN) a request to
 18                              enter into a group of two or more Google Audio Players
                                 that are configured to play back audio in synchrony with
 19
                                 one another, where such a direction is from a
 20                              Chromecast-enabled computing device on the local Wi-
                                 Fi network or a Google voice-server that is
 21
                                 communicatively coupled to the local Wi-Fi network,
 22                              among other possibilities. See e.g., Ex. 29 (“Group any
                                 combination of Google Nest or Google Home speakers
 23
                                 and displays, Chromecast devices, and speakers with
 24                              Chromecast built-in together for synchronous music
                                 throughout the home. Your favorite music and audio
 25
                                 from Chromecast-enabled apps are instantly available to
 26                              stream.”); Exs. 30, 69, 94, 99, 104, 106.
 27    in response to            Each of the foregoing Google Audio Players comprises
       receiving the request     program instructions that, when executed by a first
 28

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  1            Claim 7                                    Google
  2    to enter into the       Google Audio Player’s at least one processor, cause that
       synchrony group,        Google Audio Player to, in response to receiving the
  3    entering into the       request to enter into the synchrony group, enter into the
  4    synchrony group with    synchrony group with the second Google Audio Player,
       the second zone         where the first Google Audio Player is selected to begin
  5    player, wherein the     operating as a slave of the synchrony group and the
  6    first zone player is    second Google Audio Player is selected to begin
       selected to begin       operating as a master of the synchrony group, and where
  7    operating as a slave    the clock time of the first Google Audio Player differs
  8    of the synchrony        from a clock time of the second Google Audio Player.
       group and the second
  9    zone player is          For instance, each of the foregoing Google Audio
 10    selected to begin       Players is programmed such that, in response to
       operating as a master   receiving a request to enter into a group of Google Audio
 11    of the synchrony        Players, the Google Audio Player functions to enter into
 12    group, and wherein      the group with the one or more other Google Audio
       the clock time of the   Players. See e.g., Exs. 29, 30, 69, 94, 99, 104, 106. In
 13    first zone player       such a group, a first Google Audio Player is designated
 14    differs from a clock    to operate as a “slave” of the group, and a second Google
       time of the second      Audio Player is designated to operate as the “master” of
 15    zone player;            the group (sometimes referred to by Google as the
 16                            “leader” of the group). Moreover, the respective clock
                               times of the first and second Google Audio Players
 17                            differ.
 18    after beginning to      Each of the foregoing Google Audio Players comprises
       operate as the slave    program instructions that, when executed by a first
 19
       of the synchrony        Google Audio Player’s at least one processor, cause that
 20    group:                  Google Audio Player to perform the following functions
                               after beginning to operate as the slave of the synchrony
 21
                               group.
 22    receiving, from the     Each of the foregoing Google Audio Players comprises
       second zone player      program instructions that, when executed by a first
 23
       over the LAN, clock     Google Audio Player’s at least one processor, cause that
 24    timing information      Google Audio Player to, after beginning to operate as the
       that comprises at       slave of the synchrony group, (i) receive, from the
 25
       least one reading of    second Google Audio Player over the LAN, clock timing
 26    the clock time of the   information that comprises at least one reading of the
 27    second zone player;     clock time of the second Google Audio Player and (ii)
                               based on the received clock timing information,
 28

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  1            Claim 7                                     Google
  2    based on the received     determine a differential between the clock time of the
       clock timing              first Google Audio Player and the clock time of the
  3    information,              second Google Audio Player.
  4    determining a
       differential between      For instance, each of the foregoing Google Audio
  5    the clock time of the     Players is programmed such that, after beginning to
  6    first zone player and     operate as a “slave” of a group, the Google Audio Player
       the clock time of the     is configured to (i) receive, from the “master” Google
  7    second zone player;       Audio Player of the group, clock timing information that
  8                              comprises at least one reading of the clock time of the
                                 “master” player via data packets, such as 62-byte UDP
  9                              packets, and (ii) based on the received clock timing
 10                              information, determine a differential between its own
                                 clock time and the clock time of the “master” Google
 11                              Audio Player.
 12    receiving, from the       Each of the foregoing Google Audio Players comprises
       second zone player        program instructions that, when executed by a first
 13    over the LAN, (a)         Google Audio Player’s at least one processor, cause that
 14    audio information for     Google Audio Player to, after beginning to operate as the
       at least a first audio    slave of the synchrony group, receive, from the second
 15
       track and (b)             Google Audio Player over the LAN, (a) audio
 16    playback timing           information for at least a first audio track and (b)
       information               playback timing information associated with the audio
 17
       associated with the       information for the first audio track that comprises an
 18    audio information for     indicator of a first future time, relative to the clock time
       the first audio track     of the second Google Audio Player, at which the first and
 19
       that comprises an         second Google Audio Players are to initiate synchronous
 20    indicator of a first      playback of the audio information for the first audio
       future time, relative     track.
 21
       to the clock time of
 22    the second zone           For instance, each of the foregoing Google Audio
       player, at which the      Players is programmed such that, after beginning to
 23
       first and second zone     operate as a “slave” of a group, the Google Audio Player
 24    players are to initiate   is configured to receive, from the “master” Google
       synchronous               Audio Player of the group, audio information for at least
 25
       playback of the audio     a first audio track and associated playback timing
 26    information for the       information that includes an indicator of a first future
       first audio track;        time, relative to the clock time of the “master” Google
 27
                                 Audio Player, at which the Google Audio Players of the
 28                              group are to initiate synchronous playback of the audio

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  1           Claim 7                                    Google
  2                           information for the first audio track, where such
                              information is received via various types of data packets
  3                           sent by the “master” Google Audio Player – including
  4                           but not limited to 476-byte UDP packets and/or
                              encrypted TCP packets sent via port 10001. See also,
  5                           e.g., Ex. 29; Ex. 69, 99, 106.
  6    updating the first     Each of the foregoing Google Audio Players comprises
       future time to account program instructions that, when executed by a first
  7    for the determined     Google Audio Player’s at least one processor, cause that
  8    differential between   Google Audio Player to, after beginning to operate as the
       the clock time of the slave of the synchrony group, (i) update the first future
  9    first zone player and time to account for the determined differential between
 10    the clock time of the the clock time of the first Google Audio Player and the
       second zone player;    clock time of the second Google Audio Player and (ii)
 11    and                    when the clock time of the first Google Audio Player
 12                           reaches the updated first future time, initiate synchronous
       when the clock time    playback of the received audio information with the
 13    of the first zone      second Google Audio Player.
 14    player reaches the
       updated first future   For instance, each of the foregoing Google Audio
 15
       time, initiating       Players is programmed such that, after beginning to
 16    synchronous            operate as a “slave” of a group, the Google Audio Player
       playback of the        is configured to (i) update a first future time of playback
 17
       received audio         timing information received from the “master” Google
 18    information with the Audio Player of the group to account for a determined
       second zone player.    differential between the “slave” Google Audio Player’s
 19
                              own clock time and clock time of the “master” Google
 20                           Audio Player and (ii) when the clock time of the “slave”
                              Google Audio Player reaches the updated first future
 21
                              time, initiate synchronous playback of the received audio
 22                           information with the “master” Google Audio Player.
                              See, e.g., Ex. 29; Ex. 69, 99, 106.
 23
 24         286. Additionally and/or alternatively, Google has indirectly infringed and
 25   continued to indirectly infringe up to the date of expiration of the ‘953 Patent one
 26   or more of the claims of the ‘953 Patent, in violation of 35 U.S.C. § 271(b), by
 27   actively inducing users of the Google Wireless Audio System to directly infringe
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  1   the one or more claims of the ‘953 Patent. In particular, (a) Google had actual
  2   knowledge of the ‘953 Patent or was willfully blind to its existence prior to (at
  3   least as early as February 2019), and no later than, the filing of this action (see ¶¶
  4   38-71 above), (b) Google intentionally causes, urges, or encourages users of the
  5   Google Wireless Audio System to directly infringe one or more claims of the ‘953
  6   Patent by promoting, advertising, and instructing customers and potential
  7   customers about the Google Wireless Audio System and uses of the system,
  8   including infringing uses (see Exs. 20, 29, 60, 61), (c) Google knows (or should
  9   know) that its actions will induce users of the Google Wireless Audio System to
 10   directly infringe one or more claims the ‘953 Patent, and (d) users of the Google
 11   Wireless Audio System directly infringe one or more claims of the ‘953 Patent.
 12   For instance, at a minimum, Google has supplied and continues to supply Google
 13   Audio Players to customers while knowing that use of these products will infringe
 14   one or more claims of the ‘953 Patent, and that Google’s customers then directly
 15   infringe one or more claims of the ‘953 Patent by using these Google Audio
 16   Players in accordance with Google’s product literature. See, e.g., id.
 17         287. Additionally and/or alternatively, Google has indirectly infringed and
 18   continued to indirectly infringe up to the date of expiration of the ‘953 Patent one
 19   or more of the claims of the ‘953 Patent, in violation of 35 U.S.C. § 271(c), by
 20   offering to sell or selling within the United States, and/or importing into the
 21   United States, components in connection with the Google Wireless Audio System
 22   that contribute to the direct infringement of the ‘953 Patent by users of the Google
 23   Wireless Audio System. In particular, (a) Google had actual knowledge of the
 24   ‘953 Patent or was willfully blind to its existence prior to (at least as early as
 25   February 2019), and no later than, the filing of this action (see ¶¶ 38-71 above),
 26   (b) Google offers for sale, sells, and/or imports, in connection with the Google
 27   Wireless Audio System, one or more material components of the invention of the
 28   ‘953 Patent that are not staple articles of commerce suitable for substantial

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  1   noninfringing use, (c) Google knows (or should know) that such component(s)
  2   were especially made or especially adapted for use in an infringement of the ‘953
  3   Patent, and (d) users of devices that comprise such material component(s) directly
  4   infringe one or more claims of the ‘953 Patent. For instance, at a minimum,
  5   Google offers for sale, sells, and/or imports software updates for Google Audio
  6   Players that meet one or more claims of the ‘953 Patent. See, e.g., Exs. 20, 29,
  7   60, 61, 85. These software updates are material components of the Google Audio
  8   Players that meet the one or more claims of the ‘953 Patent. Further, Google
  9   especially made and/or adapted these software updates for use in the Google
 10   Audio Players that meet the one or more claims of the ‘953 Patent, and these
 11   software updates are not staple articles of commerce suitable for substantial
 12   noninfringing use. Google’s customers then directly infringe the one or more
 13   claims of the ‘953 Patent by installing and using software updates on the Google
 14   Audio Players.
 15         288. Google’s infringement of the ‘953 Patent is also willful because
 16   Google (a) had actual knowledge of the ‘953 Patent or was willfully blind to its
 17   existence prior to (at least as early as February 2019), and no later than, the filing
 18   of this action (see ¶¶ 38-71 above), (b) engaged in the aforementioned activity
 19   despite an objectively high likelihood that Google’s actions constituted
 20   infringement of the ‘953 Patent, and (c) this objectively-defined risk was either
 21   known or so obvious that it should have been known to Google.
 22         289. Additional allegations regarding Google’s pre-suit knowledge of the
 23   ‘953 Patent and willful infringement will likely have evidentiary support after a
 24   reasonable opportunity for discovery.
 25         290. Sonos is in compliance with any applicable marking and/or notice
 26   provisions of 35 U.S.C. § 287 with respect to the ‘953 Patent.
 27
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  1         291. Sonos is entitled to recover from Google all damages that Sonos has
  2   sustained as a result of Google’s infringement of the ‘953 Patent, including,
  3   without limitation, a reasonable royalty and lost profits.
  4         292. Google’s infringement of the ‘953 Patent was and continued to be
  5   willful and deliberate, entitling Sonos to enhanced damages.
  6         293. Google’s infringement of the ‘953 Patent is exceptional and entitles
  7   Sonos to attorneys’ fees and costs incurred in prosecuting this action under 35
  8   U.S.C. § 285.
  9        COUNT VII: INFRINGEMENT OF U.S. PATENT NO. 10,439,8969
 10         294. Sonos incorporates by reference and re-alleges paragraphs 47-55 and
 11   120-136 of this Complaint as if fully set forth herein.
 12         295. Google and/or users of the Google Wireless Audio System have
 13   directly infringed (either literally or under the doctrine of equivalents) and
 14   continue to directly infringe one or more of the claims of the ‘896 Patent, in
 15   violation of 35 U.S.C. § 271(a), by making, using, offering for sale, and/or selling
 16   the Google Wireless Audio System within the United States and/or importing the
 17   Google Wireless Audio System into the United States without authority or
 18   license.
 19         296. As just one non-limiting example, set forth below is an exemplary
 20   infringement claim chart for claim 1 of the ‘896 Patent in connection with the
 21   Google Wireless Audio System. This claim chart is based on publicly available
 22   information. Sonos reserves the right to modify this claim chart, including, for
 23   example, on the basis of information about the Google Wireless Audio System
 24   that it obtains during discovery.
 25
      9
 26     Other than amending the Count number (i.e., from “Count V” to “Count VII”)
      Sonos has not amended this Count because Sonos understands the case is stayed as
 27   to the non-expired originally asserted patents (i.e., the ‘959 Patent and the ‘896
      Patent). Sonos reserves the right to amend this Count when the stay is lifted as to
 28   these patents.
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  1
  2          Claim 1                                      Google
       1. A computing         At least each smartphone, tablet, and computer installed
  3    device comprising:     with the Google Home app (where a computing device
  4                           installed with at least the Google Home app is referred to
                              herein as a “Chromecast-enabled computing device”10)
  5                           comprises a “computing device,” as recited in claim 1. At
  6                           least each Home Mini, Nest Mini, Home, Home Max,
                              Home Hub, Nest Hub, Nest Hub Max, Chromecast,
  7                           Chromecast Audio, and Chromecast Ultra comprises a
  8                           “playback device,” as recited in claim 1.
       a user interface;      Each Chromecast-enabled computing device includes a
  9                           user interface, such as a touchscreen and one or more
 10                           physical buttons. See, e.g., Exs. 40-43, 87-92.
 11    a network              Each Chromecast-enabled computing device includes a
 12    interface;             network interface, such as a Wi-Fi interface. See, e.g., Exs.
                              40-43, 87-92.
 13
 14    at least one           Each Chromecast-enabled computing device includes at
       processor;             least one processor. See, e.g., Exs. 40-43, 87-92.
 15
 16    a non-transitory       Each Chromecast-enabled computing device includes a
       computer-readable      non-transitory computer-readable medium comprising
 17
       medium; and            program instructions that enable a Chromecast-enabled
 18    program                computing device to perform the functions identified
 19    instructions stored    below. See, e.g., Exs. 34, 40-43, 87-92.
       on the non-
 20    transitory
 21    computer-readable
       medium that, when
 22    executed by the at
 23    least one processor,
       cause the
 24    computing device
 25    to perform

 26   10
        Each of the Pixel 3, Pixel 3 XL, Pixel 3a, Pixel 3a XL, Pixel 4, and Pixel 4 XL
 27   phones, the Pixel Slate tablet, and the Pixelbook and Pixelbook Go laptops installed
      with the Google Home app is an example of a “Chromecast-enabled computing
 28   device.”
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  1          Claim 1                                    Google
  2    functions
       comprising:
  3    while operating on     Each Chromecast-enabled computing device comprises
  4    a secure wireless      program instructions that, when executed by a Chromecast-
       local area network     enabled computing device’s at least one processor, cause
  5    (WLAN) that is         that Chromecast-enabled computing device to, while
  6    defined by an          operating on a secure WLAN that is defined by an access
       access point, (a)      point, (a) receive, via a GUI associated with an application
  7    receiving, via a       for controlling one or more Google Audio Players, user
  8    graphical user         input indicating that a user wishes to set up a Google Audio
       interface (GUI)        Player to operate on the secure WLAN and (b) receive a
  9    associated with an     first message indicating that a given Google Audio Player
 10    application for        is available for setup.
       controlling one or
 11    more playback          For instance, each Chromecast-enabled computing device
 12    devices, user input    is programmed with the capability to run the Google Home
       indicating that a      app to setup and control Google Audio Players on a secure
 13    user wishes to set     local Wi-Fi network (which is a WLAN) that is defined by
 14    up a playback          an access point (e.g., a router) to which the Chromecast-
       device to operate      enabled computing device is communicatively coupled.
 15
       on the secure          See, e.g., Ex. 101 (“The Google Home app will walk you
 16    WLAN and (b)           through the steps to set up Google Home. . . . Choose the
       receiving a first      Wi-Fi network you want to connect to your device. . . .
 17
       message indicating     Access your music and movie services.”); Exs. 80, 102,
 18    that a given           103.
       playback device is
 19
       available for setup;   In particular, while communicatively coupled to a secure
 20                           local Wi-Fi network, the Chromecast-enabled computing
                              device is capable of receiving, via a GUI presented by the
 21
                              Google Home app, user input indicating that a user wishes
 22                           to set up a Google Audio Player to operate on the secure
                              local Wi-Fi network. While that Google Audio Player is
 23
                              operating in a setup mode (e.g., after being plugged into a
 24                           wall socket for the first time out of the box), the
                              Chromecast-enabled computing device functions to receive
 25
                              a message indicating that the Google Audio Player is
 26                           available for setup (e.g., a message comprising an SSID for
                              an unsecure wireless network provided by the Google
 27
                              Audio Player). Examples of these functions are illustrated
 28                           in the following screenshots.

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  1         Claim 1                               Google
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  1          Claim 1                                     Google
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 14                            See also, e.g., Ex. 101 (“7. Scanning for Google Home
 15                            devices: The Google Home app scans for nearby devices
                               that are plugged in and ready to set up. Tap the home you
 16                            want to add the device to > Next.”).
 17
       after receiving the     Each Chromecast-enabled computing device comprises
 18    user input and          program instructions that, when executed by a Chromecast-
 19    receiving the first     enabled computing device’s at least one processor, cause
       message,                that Chromecast-enabled computing device to, after
 20    transmitting a          receiving the user input and receiving the first message,
 21    response to the first   transmit a response to the first message that facilitates
       message that            establishing an initial communication path with the given
 22    facilitates             Google Audio Player, where the initial communication path
 23    establishing an         with the given Google Audio Player does not traverse the
       initial                 access point.
 24    communication
 25    path with the given     For instance, each Chromecast-enabled computing device
       playback device,        is programmed such that, after receiving user input that
 26    wherein the initial     initiates setting up a Google Audio Player on a secure local
 27    communication           Wi-Fi network defined by an access point and a message
       path with the given     indicating that the Google Audio Player is available for
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  1          Claim 1                                     Google
  2    playback device       setup, the Chromecast-enabled computing device functions
       does not traverse     to transmit a response to the message that facilitates
  3    the access point;     establishing an initial communication path with the Google
  4                          Audio Player, where the initial communication path is
                             established directly between the Google Audio Player and
  5                          Chromecast-enabled computing device (e.g., via an
  6                          unsecure wireless network provided by the Google Audio
                             Player), as opposed to traversing the access point for the
  7                          secure local Wi-Fi network. See, e.g., Ex. 101 (“8.
  8                          Connecting to your new device: The app will now connect
                             your phone to your new Google Home so that you can
  9                          configure it. Note: You will be prompted with the
 10                          following notification during this step, ‘Your phone may
                             disconnect from Wi-Fi during setup’. 9. Making a
 11                          connection: We’ll play a sound on the device to make sure
 12                          you’re setting up the right device. When you hear the
                             sound, tap Yes.”). An example of this functionality is
 13                          illustrated in the screenshots below.
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  1         Claim 1                                    Google
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       transmitting, to the   Each Chromecast-enabled computing device comprises
 27    given playback         program instructions that, when executed by a Chromecast-
 28    device via the         enabled computing device’s at least one processor, cause

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  1           Claim 1                                 Google
  2    initial               that Chromecast-enabled computing device to transmit, to
       communication         the given Google Audio Player via the initial
  3    path, at least a      communication path, at least a second message containing
  4    second message        network configuration parameters, where the network
       containing network    configuration parameters comprise an identifier of the
  5    configuration         secure WLAN and a security key for the secure WLAN.
  6    parameters,
       wherein the           For instance, each Chromecast-enabled computing device
  7    network               is programmed such that, after establishing an initial
  8    configuration         communication path with a Google Audio Player that is
       parameters            being set up to operate on a secure local Wi-Fi network, the
  9    comprise an           Chromecast-enabled computing device functions to
 10    identifier of the     transmit, via the initial communication path, network
       secure WLAN and       configuration parameters for the secure local Wi-Fi
 11    a security key for    network to the Google Audio Player that include an
 12    the secure WLAN;      identifier of the secure local Wi-Fi network and a security
                             key for the local Wi-Fi network. An example of this
 13                          functionality is illustrated below.
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  1         Claim 1                                    Google
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 27                          See also, e.g., Ex. 101 (“13. Wi-Fi connection: Choose the
                             Wi-Fi network you want to connect to your device. . . . Tap
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  1          Claim 1                                     Google
  2                            OK to use the password you have saved in your phone [or]
                               [t]o manually enter the password, tap Enter manually >
  3                            type in password > Connect.”).
  4
       after transmitting at   Each Chromecast-enabled computing device comprises
  5    least the second        program instructions that, when executed by a Chromecast-
  6    message containing      enabled computing device’s at least one processor, cause
       the network             that Chromecast-enabled computing device to, after
  7    configuration           transmitting at least the second message containing the
  8    parameters,             network configuration parameters, detect an indication that
       detecting an            the given Google Audio Player has successfully received
  9    indication that the     the network configuration parameters.
 10    given playback
       device has              For instance, each Chromecast-enabled computing device
 11    successfully            is programmed such that, after transmitting to a Google
 12    received the            Audio Player a message containing network configuration
       network                 parameters for a secure local Wi-Fi network, the
 13    configuration           Chromecast-enabled computing device functions to detect
 14    parameters; and         an indication that the Google Audio Player successfully
                               received the network configuration parameters. An
 15
                               example of this functionality is illustrated in the following
 16                            screenshots.
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  1         Claim 1                               Google
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  1          Claim 1                                     Google
  2    after detecting the   Each Chromecast-enabled computing device comprises
       indication,           program instructions that, when executed by a Chromecast-
  3    transitioning from    enabled computing device’s at least one processor, cause
  4    communicating         that Chromecast-enabled computing device to, after
       with the given        detecting the indication, transition from communicating
  5    playback device       with the given Google Audio Player via the initial
  6    via the initial       communication path to communicating with the given
       communication         Google Audio Player via the secure WLAN that is defined
  7    path to               by the access point.
  8    communicating
       with the given        For instance, each Chromecast-enabled computing device
  9    playback device       is programmed such that, after detecting an indication that a
 10    via the secure        Google Audio Player successfully received network
       WLAN that is          configuration parameters for a secure local Wi-Fi network
 11    defined by the        defined by an access point, the Chromecast-enabled
 12    access point.         computing device functions to transition from
                             communicating with the Google Audio Player via the initial
 13                          communication path to communicating with the Google
 14                          Audio Player via the secure local Wi-Fi network. See, e.g.,
                             Ex. 101 (“13. Wi-Fi connection: Choose the Wi-Fi network
 15                          you want to connect to your device. . . . Tap OK to use the
 16                          password you have saved in your phone [or] [t]o manually
                             enter the password, tap Enter manually > type in password
 17                          > Connect.”).
 18
                             As one example to illustrate, after the Chromecast-enabled
 19
                             computing device transitions from communicating with the
 20                          Google Audio Player via the initial communication path to
                             communicating with the Google Audio Player via the
 21
                             secure local Wi-Fi network, the Chromecast-enabled
 22                          computing device is capable of transmitting commands
                             related to playback of audio content to the Google Audio
 23
                             Player via the secure local Wi-Fi network, such as a
 24                          command for the Google Audio Player to retrieve audio
                             content for playback from an Internet-based music service
 25
                             (e.g., YouTube Music, Spotify, Pandora, Google Play
 26                          Music, Deezer, TuneIn, iHeartRadio, etc.) that in turn
                             causes the Google Audio Player to retrieve the audio
 27
                             content from the Internet-based music service via a
 28                          communication path including the secure local Wi-Fi

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  1          Claim 1                                     Google
  2                           network and the Internet. See, e.g., Ex. 30 (“Other ways to
                              control music . . . From the Google Home app[:] 1. Make
  3                           sure your mobile device or tablet is connected to the same
  4                           Wi-Fi as your speaker or display. 2. Open the Google
                              Home app . 3.Tap Play music under the name of the
  5                           device that you want to use. Your device will play music
  6                           from your default music provider. You can pause, resume,
                              change volume and skip forward or backward in the song.”)
  7                           (emphasis in original); Ex. 101 (“Media services: Access
  8                           your music and movie services. . . . Default music service:
                              If you have more than one music service linked, you will be
  9                           asked to select a Default music service: Tap the service you
 10                           want to use as default > Next.”); Exs. 104, 105.
 11
 12         297. Additionally and/or alternatively, Google has indirectly infringed and
 13   continues to indirectly infringe one or more of the claims of the ‘896 Patent, in
 14   violation of 35 U.S.C. § 271(b), by actively inducing users of the Google Wireless
 15   Audio System to directly infringe the one or more claims of the ‘896 Patent. In
 16   particular, (a) Google had actual knowledge of the ‘896 Patent or was willfully
 17   blind to its existence prior to, and no later than, the filing of this action (see ¶¶ 35-
 18   38 above), (b) Google intentionally causes, urges, or encourages users of the
 19   Google Wireless Audio System to directly infringe one or more claims of the ‘896
 20   Patent by promoting, advertising, and instructing customers and potential
 21   customers about the Google Wireless Audio System and uses thereof, including
 22   infringing uses (see Exs. 34, 35, 79, 80), (c) Google knows (or should know) that
 23   its actions will induce users of the Google Wireless Audio System to directly
 24   infringe one or more claims the ‘896 Patent, and (d) users of the Google Wireless
 25   Audio System directly infringe one or more claims of the ‘896 Patent. For
 26   instance, at a minimum, Google has supplied and continues to supply the Google
 27   Home app to customers while knowing that installation and/or use of this app will
 28

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  1   infringe one or more claims of the ‘896 Patent, and that Google’s customers then
  2   directly infringe one or more claims of the ‘896 Patent by installing and/or using
  3   the Google Home app in accordance with Google’s product literature. See, e.g.,
  4   id.
  5         298. Additionally and/or alternatively, Google has indirectly infringed and
  6   continues to indirectly infringe one or more of the claims of the ‘896 Patent, in
  7   violation of 35 U.S.C. § 271(c), by offering to sell or selling within the United
  8   States, and/or importing into the United States, components in connection with the
  9   Google Wireless Audio System that contribute to the direct infringement of the
 10   ‘896 Patent by users of the Google Wireless Audio System. In particular, (a)
 11   Google had actual knowledge of the ‘896 Patent or was willfully blind to its
 12   existence prior to, and no later than, the filing of this action (see ¶¶ 35-38 above),
 13   (b) Google offers for sale, sells, and/or imports, in connection with the Google
 14   Wireless Audio System, one or more material components of the invention of the
 15   ‘896 Patent that are not staple articles of commerce suitable for substantial
 16   noninfringing use, (c) Google knows (or should know) that such component(s)
 17   were especially made or especially adapted for use in an infringement of the ‘896
 18   Patent, and (d) users of devices that comprise such material component(s) directly
 19   infringe one or more claims of the ‘896 Patent. For instance, at a minimum,
 20   Google offers for sale, sells, and/or imports the Google Home app for installation
 21   on devices (e.g., smartphones, tablets, and computers) that meet one or more
 22   claims of the ‘949 Patent. See, e.g., Ex. 34, 35, 79, 80. The Google Home app is
 23   a material component of the devices that meet the one or more claims of the ‘896
 24   Patent. Further, Google especially made and/or adapted the Google Home app for
 25   use in devices that meet the one or more claims of the ‘896 Patent, and this app is
 26   not a staple article of commerce suitable for substantial noninfringing use.
 27   Google’s customers then directly infringe the one or more claims of the ‘896
 28   Patent by installing and/or using the Google Home app on the customers’ devices.

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  1         299. Google’s infringement of the ‘896 Patent is also willful because
  2   Google (a) had actual knowledge of the ‘896 Patent or was willfully blind to its
  3   existence prior to, and no later than, the filing of this action (see ¶¶ 35-38 above),
  4   (b) engaged in the aforementioned activity despite an objectively high likelihood
  5   that Google’s actions constituted infringement of the ‘896 Patent, and (c) this
  6   objectively-defined risk was either known or so obvious that it should have been
  7   known to Google.
  8         300. Additional allegations regarding Google’s pre-suit knowledge of the
  9   ‘949 Patent and willful infringement will likely have evidentiary support after a
 10   reasonable opportunity for discovery.
 11         301. Sonos is in compliance with any applicable marking and/or notice
 12   provisions of 35 U.S.C. § 287 with respect to the ‘896 Patent.
 13         302. Sonos is entitled to recover from Google all damages that Sonos has
 14   sustained as a result of Google’s infringement of the ‘896 Patent, including,
 15   without limitation, a reasonable royalty and lost profits.
 16         303. Google’s infringement of the ‘896 Patent was and continues to be
 17   willful and deliberate, entitling Sonos to enhanced damages.
 18         304. Google’s infringement of the ‘896 Patent is exceptional and entitles
 19   Sonos to attorneys’ fees and costs incurred in prosecuting this action under 35
 20   U.S.C. § 285.
 21         305. Google’s infringement of the ‘896 Patent has caused irreparable
 22   harm (including the loss of market share) to Sonos and will continue to do so
 23   unless enjoined by this Court.
 24        COUNT VIII: INFRINGEMENT OF U.S. PATENT NO. 11,080,001
 25         306. Sonos incorporates by reference and re-alleges paragraphs 85-93 and
 26   205-220 of this First Amended Complaint as if fully set forth herein.
 27         307. Google and/or users of the Google Wireless Audio System have
 28   directly infringed (either literally or under the doctrine of equivalents) and

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  1   continue to directly infringe one or more of the claims of the ‘001 Patent, in
  2   violation of 35 U.S.C. § 271(a), by making, using, offering for sale, and/or selling
  3   the Google Wireless Audio System within the United States and/or importing the
  4   Google Wireless Audio System into the United States without authority or
  5   license.
  6         308. As just one non-limiting example, set forth below is an exemplary
  7   infringement claim chart for claim 12 of the ‘001 Patent in connection with the
  8   Google Wireless Audio System. This claim chart is based on publicly available
  9   information. Sonos reserves the right to modify this claim chart, including, for
 10   example, on the basis of information about the Google Wireless Audio System
 11   that it obtains during discovery.
 12
              Claim 12                                     Google
 13    12. A first zone player    At least each Chromecast, Chromecast Ultra,
 14    comprising:                Chromecast Audio, Chromecast with Google TV,
                                  Google TV Streamer (4K), Pixel Tablet with Charging
 15                               Speaker Dock, Home Mini, Nest Mini, Home, Home
 16                               Max, Home Hub, Nest Hub, Nest Hub Max, Nest
                                  Audio, and Nest Wifi Point comprises a “zone player,”
 17                               as recited in claim 12.
 18    a network interface        Each of the foregoing Google Audio Players includes a
       that is configured to      network interface that is configured to
 19    communicatively            communicatively couple a Google Audio Player to at
 20    couple the first zone      least one data network, such as a Wi-Fi interface
       player to at least one     configured to communicatively couple the Google
 21    data network;              Audio Player to a Wi-Fi network. See, e.g., Exs. 68,
 22                               95-98, 111-113.
       at least one processor;    Each of the foregoing Google Audio Players includes at
 23                               least one processor. See, e.g., Exs. 68, 95-98, 111-113.
 24    a tangible, non-           Each of the foregoing Google Audio Players includes a
       transitory computer-       tangible, non-transitory computer-readable medium
 25    readable medium; and       having executable program instructions that enable a
 26    program instructions       Google Audio Player to perform the functions
       stored on the tangible,    identified below. See, e.g., Exs. 68, 85, 95-98, 111-113.
 27    non-transitory
 28    computer-readable

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  1            Claim 12                                     Google
  2    medium that are
       executable by the at
  3    least one processor
  4    such that the first zone
       player is configured to
  5    perform functions
  6    comprising:
       receiving, via the          Each of the foregoing Google Audio Players comprises
  7    network interface, a        program instructions that, when executed by a first
  8    request to engage in        Google Audio Player, cause the first Google Audio
       synchronous playback        Player to receive, via its network interface, a request to
  9    of audio content as part    engage in synchronous playback of audio content as
 10    of a synchrony group        part of a synchrony group that includes at least a
       that includes at least a    second Google Audio Player that is communicatively
 11    second zone player that     coupled to the first Google Audio Player via the at least
 12    is communicatively          one data network.
       coupled to the first
 13    zone player via the at      For instance, each of the foregoing Google Audio
 14    least one data network;     Players is programmed with the capability to receive
                                   over a Wi-Fi network a request to engage in
 15
                                   synchronous playback of audio content as part of a
 16                                “group” that includes at least another Google Audio
                                   Player that is on the same Wi-Fi network as the Google
 17
                                   Audio Player, where the request is from a Chromecast-
 18                                enabled computing device on the Wi-Fi network or a
                                   Google cloud server that is communicatively coupled to
 19
                                   the Wi-Fi network, among other possibilities. See e.g.,
 20                                Ex. 29 (“Group any combination of Google Nest or
                                   Google Home speakers and displays, Chromecast
 21
                                   devices, and speakers with Chromecast built-in together
 22                                for synchronous music throughout the home. Your
                                   favorite music and audio from Chromecast-enabled
 23
                                   apps are instantly available to stream.”); Exs. 30, 69,
 24                                94, 99, 104, 106.
 25
                                   Public testimony from Google’s engineers evidences
 26                                this functionality. For example, as explained by
                                   Google’s engineers, Google Audio Players receive a
 27
                                   “JoinGroup” request from a user device running the
 28                                Google Home app after user input to “create a group[.]”

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  1           Claim 12                                    Google
  2                              See, e.g., Ex. 122, 1245:12-25.
       after receiving the       Each of the foregoing Google Audio Players comprises
  3    request to engage in      program instructions that, when executed by a first
  4    synchronous playback Google Audio Player, cause the first Google Audio
       of audio content as part Player to, after receiving the request to engage in
  5    of the synchrony          synchronous playback of audio content as part of the
  6    group:                    synchrony group: (i) detect an indication that the
           detecting an          Google Audio Player is to operate in (a) one of a
  7        indication that the   control-master mode or a control-slave mode for the
  8        first zone player is  synchrony group and (b) one of an audio-master mode
           to operate in (a) one or an audio-slave mode for the synchrony group and (ii)
  9        of a control-master begin to operate in the synchrony group in accordance
 10        mode or a control-    with the indication.
           slave mode for the
 11        synchrony group       For instance, as noted above, each of the foregoing
 12        and (b) one of an     Google Audio Players is programmed with the
           audio-master mode capability to receive a request to engage in synchronous
 13        or an audio-slave     playback of audio content as part of a “group.”
 14        mode for the
           synchrony group;      In such a group, one of the Google Audio Players will
 15
           and                   be designated to serve as the “master” of the group
 16        beginning to          (sometimes referred to by Google as the “leader” of the
           operate in the        group) and every other Google Audio Player will be
 17
           synchrony group in designated to serve as a “slave” of the group
 18        accordance with the (sometimes referred to by Google as a “follower” of the
           indication;           group). See, e.g., Ex. 122, 1277:10-13, 1278:1-6. Such
 19
                                 designations are the result of each Google Audio Player
 20                              of the group (i) evaluating one or more metrics related
                                 to the performance of the synchronous audio playback
 21
                                 by the Google Audio Players in the group, including
 22                              but not limited to one or more metrics related to the
                                 wireless signal quality detected by the Google Audio
 23
                                 Players in the group (e.g., as reflected in “SRV (Server
 24                              Selection)” fields contained within MDNS packets
                                 exchanged between the Google Audio Players in the
 25
                                 group) and (ii) based on the evaluation, determining
 26                              whether the Google Audio Player has the best metric(s)
                                 and should therefore operate as the “master”/“leader”
 27
                                 of the group or otherwise, should operate as a
 28                              “slave”/“follower” of the group.

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  1          Claim 12                                 Google
  2
                              As discussed below, the “master”/“leader” of a group
  3                           of Google Audio Players operates in the claimed
  4                           “control-master mode” and “audio-master mode” and
                              each “slave”/“follower” of the group of Google Audio
  5                           Players operates in the claimed “control-slave mode”
  6                           and “audio-slave mode.”
  7                           Each of the foregoing Google Audio Players is
  8                           programmed with the capability to (i) detect an
                              indication that the Google Audio Player is to operate as
  9                           either a “master”/“leader” or a “slave”/“follower” at
 10                           various times after receiving a request to engage in
                              synchronous playback of audio content as part of a
 11                           group of Google Audio Players and (ii) begin to operate
 12                           in the group in accordance with the detected indication.
 13                           Public testimony from Google’s engineers evidences
 14                           this functionality. For example, as explained by
                              Google’s engineers, Google Audio Players
 15                           “continuously” engage in a “leader election process” in
 16                           which each player (i) broadcasts a respective “leader
                              quality number” that “tells the other [players] in the
 17                           network how good that [player] would be as a leader
 18                           for the group,” where the “quality is in part based on
                              the Wi-Fi signal strength of each device,” and (ii)
 19
                              evaluates its own leader quality relative to the
 20                           respective leader quality of each other player. See Ex.
                              122, 1247:14-24, 1248:3-1249:1, 1249:20-1250:9,
 21
                              1251:3-1252:9, 1253:4-23, 1300:16-1301:4. In this
 22                           way, “over time,” “the [player] that’s chosen as the
                              leader… may change at any time.” Id., 1253:19-23; see
 23
                              also id., 1247:2-7, 1251:3-1252:9.
 24
 25
 26
 27
 28

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  1            Claim 12                                     Google
  2    wherein, while              While operating in the control-master mode for the
       operating in the            synchrony group, a first Google Audio Player is
  3    control-master mode         configured to: (i) receive, via its network interface, first
  4    for the synchrony           control information for the synchrony group from a
       group, the first zone       network device that is communicatively coupled to the
  5    player is configured to:    first Google Audio Player; and (ii) based on the first
  6       receive, via the         control information, cause, via its network interface, at
          network interface,       least one playback action to be applied in the synchrony
  7       first control            group.
  8       information for the
          synchrony group          Each of the foregoing Google Audio Players is
  9       from a network           programmed such that, while operating as the “master”
 10       device that is           of a group, a first Google Audio Player functions to (i)
          communicatively          receive from a Chromecast-enabled computing device
 11       coupled to the first     on the same Wi-Fi network as the first Google Audio
 12       zone player; and         Player or a Google cloud server that is
          based on the first       communicatively coupled to the Wi-Fi network, among
 13       control information,     other possibilities, control information for the group,
 14       cause, via the           such as control information indicating that the group
          network interface,       should initiate playing back media, and (ii) based on
 15       at least one             such control information, transmit one or more
 16       playback action to       messages to the “slave” Google Audio Player(s) via the
          be applied in the        “master” Google Audio Player’s network interface that
 17       synchrony group;         cause the “slave” Google Audio Player(s) to perform at
 18                                least one playback action. See, e.g., Ex. 122, 1259:20-
                                   1260:5, 1268:23-1269:8, 1300:6-15, 1315:5-10.
 19
       wherein, while              While operating in the control-slave mode for the
 20    operating in the            synchrony group, a first Google Audio Player is
       control-slave mode for      configured to: (i) receive, via it network interface,
 21
       the synchrony group,        second control information from another Google Audio
 22    the first zone player is    Player; and (ii) perform one or more playback actions
       configured to:              in accordance with the second control information.
 23
          receive, via the
 24       network interface,       Each of the foregoing Google Audio Players is
          second control           programmed such that, while operating as the “slave”
 25
          information from         of a group, a first Google Audio Player functions to
 26       another zone player;     receive via its network interface control information
          and                      from the group’s “master” Google Audio Player and
 27
          perform one or           perform one or more playback actions (e.g., initiating
 28       more playback            playback of media) in accordance with the control

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  1             Claim 12                                      Google
  2        actions in                information. See, e.g., Ex. 122, 1259:20-1260:5,
           accordance with the       1268:23-1269:8, 1300:6-15.
  3        second control
  4        information;
       wherein, while                While operating in the audio-master mode for the
  5    operating in the audio-       synchrony group, a first Google Audio Player is
  6    master mode for the           configured to: (i) obtain audio information that is
       synchrony group, the          representative of the audio content; (ii) generate
  7    first zone player is          playback timing information associated with the
  8    configured to:                obtained audio information that is indicative of at least
           obtain audio              one future time that is relative to a reference clock time
  9        information that is       and denotes a time at which at least the first and second
 10        representative of the     Google Audio Players are to engage in synchronous
           audio content;            playback of a corresponding portion of the obtained
 11        generate playback         audio information; and (iii) transmit, via its network
 12        timing information        interface, the obtained audio information and the
           associated with the       generated playback timing information to the second
 13        obtained audio            Google Audio Player.
 14        information that is
           indicative of at least    Each of the foregoing Google Audio Players is
 15
           one future time that      programmed such that, while operating as the “master”
 16        is relative to a          of a group, a first Google Audio Player functions to
           reference clock time      obtain audio information representative of the audio
 17
           and denotes a time        content from an audio source (e.g., an Internet-based
 18        at which at least the     audio source) and transmits to at least one “slave”
           first and second          Google Audio Player the audio information and
 19
           zone players are to       playback timing information that is (a) associated with
 20        engage in                 the audio information, (b) generated by the first Google
           synchronous               Audio Player, and (c) indicative of at least one future
 21
           playback of a             time that is relative to a reference clock time (e.g., the
 22        corresponding             first Google Audio Player’s clock time) and denotes a
           portion of the            time at which the Google Audio Players of the group
 23
           obtained audio            are to engage in synchronous playback of a
 24        information; and          corresponding portion of the audio information.
           transmit, via the
 25
           network interface,        Public testimony from Google’s engineers and public
 26        the obtained audio        documentation evidence this functionality. For
           information and the       example, as explained by Google’s engineers, “in order
 27
           generated playback        to play media onto a group, one of the devices in the
 28        timing information        group has to be the leader. That will be the device that

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  1           Claim 12                                     Google
  2       to the second zone    actually will launch the application that you would like
          player; and           to listen to, and that is what downloads the media from
  3                             the internet and then distributes the audio to the rest of
  4                             the devices.” Ex. 122, 1300:6-15. As another example,
                                a technical document (TX6454) Google published
  5                             during a jury trial (Ex. 122, 1238:10-24) states the
  6                             “leader” is responsible for “distributing the audio
                                stream to the follower devices,” where the “audio
  7                             stream would consist of audio frames with timestamps
  8                             from the leader’s monotonic system clock,” and “the
                                leader should designate a ‘synchronous start time’
  9                             where all followers that have good time sync start
 10                             playing.” Ex. 127, GOOG-SONOSWDTX-00048969;
                                see also id., GOOG-SONOSWDTX-00048970 (“Each
 11                             [audio] packet has an associated expiry time (ie, the
 12                             time that it should be played at).”).
       wherein, while           While operating in the audio-slave mode for the
 13    operating in the audio- synchrony group, a first Google Audio Player is
 14    slave mode for the       configured to (i) receive, via its network interface,
       synchrony group, the     audio information and playback timing information
 15
       first zone player is     associated with the received audio information from
 16    configured to:           another Google Audio Player; and (ii) engage in
           receive, via the     synchronous playback of the received audio
 17
           network interface,   information with at least the second Google Audio
 18        audio information    Player based on the received playback timing
           and playback timing information associated with the received audio
 19
           information          information while a local clock time of the first Google
 20        associated with the Audio Player differs from a local clock time of the
           received audio       second Google Audio Player.
 21
           information from
 22        another zone player; Each of the foregoing Google Audio Players is
           and                  programmed such that, while operating as the “slave”
 23
           engage in            of a group, a first Google Audio Player functions to (i)
 24        synchronous          receive from the “master” Google Audio Player, via its
           playback of the      network interface, audio information and associated
 25
           received audio       playback timing information and (ii) engage in
 26        information with at synchronous playback of the received audio
           least the second     information with at least the “master” Google Audio
 27
           zone player based    Player based on the received playback timing
 28        on the received      information associated with the received audio

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  1           Claim 12                                      Google
  2       playback timing          information while a local clock time of the “slave”
          information              Google Audio Player differs from a local clock time of
  3       associated with the      the “master” Google Audio Player. See, e.g., Ex. 127,
  4       received audio           GOOG-SONOSWDTX-00048969 (“On each follower,
          information while a      the time sync will track the offset between the leader’s
  5       local clock time of      monotonic clock and the follower’s monotonic clock;
  6       the first zone player    the follower can therefore adjust the timestamp for each
          differs from a local     incoming [audio] frame appropriately. Audio frames
  7       clock time of the        will then be output as usual….”).
  8       second zone player.
  9
 10
 11
 12
            309. Additionally and/or alternatively, Google has indirectly infringed and
 13
      continues to indirectly infringe one or more of the claims of the ‘001 Patent, in
 14
      violation of 35 U.S.C. § 271(b), by actively inducing users of the Google Wireless
 15
      Audio System to directly infringe the one or more claims of the ‘001 Patent. In
 16
      particular, (a) Google had actual knowledge of the ‘001 Patent or was willfully
 17
      blind to its existence prior to (at least as early as August 2021), and no later than,
 18
      the filing of this First Amended Complaint (see ¶¶ 38-71 above), (b) Google
 19
      intentionally causes, urges, or encourages users of the Google Wireless Audio
 20
      System to directly infringe one or more claims of the ‘001 Patent by promoting,
 21
      advertising, and instructing customers and potential customers about the Google
 22
      Wireless Audio System and uses of the system, including infringing uses (see
 23
      Exs. 20, 29, 60, 61), (c) Google knows (or should know) that its actions will
 24
      induce users of the Google Wireless Audio System to directly infringe one or
 25
      more claims the ‘001 Patent, and (d) users of the Google Wireless Audio System
 26
      directly infringe one or more claims of the ‘001 Patent. For instance, at a
 27
      minimum, Google has supplied and continues to supply Google Audio Players to
 28

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  1   customers while knowing that use of these products will infringe one or more
  2   claims of the ‘001 Patent and that Google’s customers then directly infringe one
  3   or more claims of the ‘001 Patent by using these Google Audio Players in
  4   accordance with Google’s product literature. See, e.g., id.
  5         310. Additionally and/or alternatively, Google has indirectly infringed and
  6   continues to indirectly infringe one or more of the claims of the ‘001 Patent, in
  7   violation of 35 U.S.C. § 271(c), by offering to sell or selling within the United
  8   States, and/or importing into the United States, components in connection with the
  9   Google Wireless Audio System that contribute to the direct infringement of the
 10   ‘001 Patent by users of the Google Wireless Audio System. In particular, (a)
 11   Google had actual knowledge of the ‘001 Patent or was willfully blind to its
 12   existence prior to (at least as early as August 2021), and no later than, the filing of
 13   this First Amended Complaint (see ¶¶ 38-71 above), (b) Google offers for sale,
 14   sells, and/or imports, in connection with the Google Wireless Audio System, one
 15   or more material components of the invention of the ‘001 Patent that are not
 16   staple articles of commerce suitable for substantial noninfringing use, (c) Google
 17   knows (or should know) that such component(s) were especially made or
 18   especially adapted for use in an infringement of the ‘001 Patent, and (d) users of
 19   devices that comprise such material component(s) directly infringe one or more
 20   claims of the ‘001 Patent. For instance, at a minimum, Google offers for sale,
 21   sells, and/or imports software updates for Google Audio Players that meet one or
 22   more claims of the ‘001 Patent. See, e.g., Ex. 20, 29, 60, 61, 85. These software
 23   updates are material components of the Google Audio Players that meet the one or
 24   more claims of the ‘001 Patent. Further, Google especially made and/or adapted
 25   these software updates for use in the Google Audio Players that meet the one or
 26   more claims of the ‘001 Patent, and these software updates are not staple articles
 27   of commerce suitable for substantial noninfringing use. Google’s customers then
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  1   directly infringe the one or more claims of the ‘001 Patent by installing and using
  2   software updates on the Google Audio Players.
  3         311. Google’s infringement of the ‘001 Patent is also willful because
  4   Google (a) had actual knowledge of the ‘001 Patent or was willfully blind to its
  5   existence prior to (at least as early as August 2021), and no later than, the filing of
  6   this First Amended Complaint (see ¶¶ 38-71 above), (b) engaged in the
  7   aforementioned activity despite an objectively high likelihood that Google’s
  8   actions constituted infringement of the ‘001 Patent, and (c) this
  9   objectively-defined risk was either known or so obvious that it should have been
 10   known to Google.
 11         312. Additional allegations regarding Google’s pre-suit knowledge of the
 12   ‘001 Patent and willful infringement will likely have evidentiary support after a
 13   reasonable opportunity for discovery.
 14         313. Sonos is in compliance with any applicable marking and/or notice
 15   provisions of 35 U.S.C. § 287 with respect to the ‘001 Patent.
 16         314. Sonos is entitled to recover from Google all damages that Sonos has
 17   sustained as a result of Google’s infringement of the ‘001 Patent, including,
 18   without limitation, a reasonable royalty and lost profits.
 19         315. Google’s infringement of the ‘001 Patent was and continues to be
 20   willful and deliberate, entitling Sonos to enhanced damages.
 21         316. Google’s infringement of the ‘001 Patent is exceptional and entitles
 22   Sonos to attorneys’ fees and costs incurred in prosecuting this action under 35
 23   U.S.C. § 285.
 24         317. Google’s infringement of the ‘001 Patent has caused irreparable
 25   harm (including the loss of market share) to Sonos and will continue to do so
 26   unless enjoined by this Court.
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  1                                  PRAYER FOR RELIEF
  2         318. WHEREFORE, Sonos respectfully requests:
  3         319. That Judgment be entered that Google has infringed at least one or
  4   more claims of the patents-in-suit, directly and/or indirectly, literally and/or under
  5   the doctrine of equivalents, and that such infringement is willful;
  6         320. An injunction enjoining Google, its officers, agents, servants,
  7   employees and attorneys, and other persons in active concert or participation with
  8   Google, and its parents, subsidiaries, divisions, successors and assigns, from
  9   further infringement of the ‘014 Patent, the ‘959 Patent, the ‘715 Patent, the ‘896
 10   Patent, and the ‘001 Patent.
 11         321. An award of damages sufficient to compensate Sonos for Google’s
 12   infringement under 35 U.S.C. § 284, including an enhancement of damages on
 13   account of Google’s willful infringement;
 14         322. That the case be found exceptional under 35 U.S.C. § 285 and that
 15   Sonos be awarded its reasonable attorneys’ fees;
 16         323. Costs and expenses in this action;
 17         324. An award of prejudgment and post-judgment interest; and
 18         325. Such other and further relief as the Court may deem just and proper.
 19                             DEMAND FOR JURY TRIAL
 20         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Sonos
 21   respectfully demands a trial by jury on all issues triable by jury.
 22    Dated: October 15, 2024       Respectfully submitted,
 23
                                     ORRICK HERRINGTON & SUTCLIFFE LLP
 24                                  and
 25                                  LEE SULLIVAN SHEA & SMITH LLP
 26                                  By: /s/ Alyssa Caridis
 27                                     ALYSSA CARIDIS
                                        Attorneys for Plaintiff Sonos, Inc.
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